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                           EXHIBIT 1
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                             Confidentiality and Non-Competition Agreement

               THIS AGREEMENT (AAgreement@) is made this _ _ day of
        2006, by and l 1etween AMERICAN FREIGHT MANAGEMENT COMP_A_NY               _ _an_O_hi_,·0
        corpo)Ftion      (hereinafter   referred . to       as      the      Company)      and
           /lf'V'A_          ti(,-,,/ l     (heremafter referred to as the Employee).

                                                Recitals

                  WHERJ
                    7
                        :AS, the Company CWTently employs Employee in the position of
             _ ~ ~_.5
        _ __=':a:                         ; and

               WHERl AS, the Company wishes to assure itself that Employee will keep in
        confidence an< not disclose any information disclosed to Employee by the Company
        during the tem of Employee's employment; and

             WHERI AS, the Company further wishes to assure itself that Employee will not
        compete with tl te Company after the termination of Employee's employment; and

                  WHERE AS, Employee is willing to agree not to so compete with Company.

              NOW THEREFORE, the premises set forth herein and intending to be legally
        bound, the part es hereto agree as follows:

        Section 1.     Acknowledgments. The Company is engaged in the business of the sale
        of furniture, cc rpet, mattresses and other related goods. The Employee acknowledges
        that the Compa 1y=s sales techniques, operating systems, client lists, and leads are unique
        and legitimate ·nterests of the Company which contribute in large part to the success of
        the Company a 1d its employees in the competitive field in which they are engaged. The
        Employee ack :iowledges that the Company;s business and services are highly
        specialized, the identity and particular needs of the Company=s customers and suppliers
        are not general y k:novro, and the documents and information regarding the Company;s
        customers, sup·:,liers, services, products, methods of operation, sales, pricing and costs
        are highly conf dential and constitute trade secrets. The Employee further acknowledges
        that the servicE s rendered to the Company by the Employee have been or will be of a
         special and um sual character which have a unique value to the Company such that: (a)
         the frequent contact with customers or customer iufonnation will result in close
         relationships a1 d the association of the Company-=s goodwill with the Employee and/or
         specialized k.nc wledge about the customer; and (b) the Employee has bad or will have
         access to trade :ecrets and confidential information belonging to the Company, the loss of
         which cannot a-lequately be compensated by damages in an action oflaw.




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      Section 2.     <:ovenant Against Competition.            During the term of the Employee=s
      employment , ,it.h the Company and for a period of two (2) years from either the
      voluntary teJnination of the Employee~s employment with the Company or the
      tennination of the Employee=s employment with the Company for Cause, the Employee
      will not, direc1ly or indirectly, own, manage, operate, control, be employed by, perfonn
      services for, cc nsult with, solicit business for, participate in, or be connected with in any
      manner the o Nnership, management, operation, or control of any business which
      competes dire< tly or indirectly with the Company in any existing market area of the
      Company at th~ time of the tennination (voluntary or involuntary) of employment of the
      Employee. F<,r purposes of this Agreement, A Cause@ shall include but shall not be
      limited to com ieting against the Company and/or criminal activity for which charges are
      brought agains· Employee.

      Section 3.      Covenant Against Disclosure of Confidential and Proprietary.
      Jnformation. The Employee shall, in accordance with the restrictions set forth in
      Section 2 abo· ;e, hold in strict confidence any and all confidential and proprietary
      infonnation co 1cerning the Company=s services, processes, sales, business systems,
      operations, and clients of the Company. Confidential and proprietary information shall
      include, but st all not be limited to, information related to the Company:s products,
      processing, ma mfacturing, selling, storage, application techniques, including customer
      lists, call lists, other confidential technical data, sketches, plans, drawings, chemical
      formulae, comJ osition of the Company=s products, and other research and development
      data. Confide, tial and proprietary information shall also include, in addition to those
      materials descr: bed above, sources of supply and material, operating and other cost data,
      information co·1tained in manuals or memoranda and other records of the Company
      identified as Confidential or Prop1ietary Info1mation or Trade Secrets. Such other
       infonnation wil I sometimes be identified as Aconfidential,@Aproprietary@ or as a Atrade
       secret,@ either ':>Y written or verbal designation, but shall also include that which is a
       trade secret under the Ohio Uniform Trade Secrets Act. However, nothing herein shall be
       construed to lin it the Company;;;S protections under the Ohio Uniform Trade Secrets Act.

       Section 4.   R ~cords to be Returned.               The Employee also shall not without
       permission, din ·ctly or indirectly, copy, take, or remove from the Company=s premises,
       any of the Com :>any=s books, records, customer lists, leads, computer disks, software, or
       any other docu nents, materials or equipment paid for by the Company or to which the
       Employee has c evoted efforts for its development while employed by the Company. Any
       su ch information, and any copies thereof, in the possession of the Employee at the end of
       employment st all be returned, along with any of the Company;;..s equipment. The
       Employee shall also disclose, if applicable, computer passwords for any and all of the
       Company-s coi nputers the Employee used while employed by the Company.



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      Section 5.    r: onsolicitation of Employees. . During the term of the Employee=s
      employment \\> lth the Company and for a penod of two (2) years from the voluntary or
      involuntary tei ruination of the Employee-=~ employment with the Company for any
      reason whatsoever, the Employee shall not, either directly or indirectly, absent the written
      consent of the 1 : ompan~; (a) solicit, interfere with, or endeavor to cause any employee of
      the Company t•, leave his or her employment; or (b) induce or attempt to induce any such
      employee tow< ,rk for any other entity.

      Section 6.     'r-i onsolicitation o.r Service of Customers.   During the term of the
      Employee=s enployment with the Company and for a period of two (2) years from the
      voluntary or in ;oluntary termination of the Employee=s employment with the Company
      for any reason Nhatsoever, the Employee shall not solicit, suggest, induce, or attempt to
      induce any past or-current customer of the Company; (a) to cease doing business in whole
      or in part with , >r through the Company; or (b) to do business with or purchase from any
      other person OJ busjness entity, goods or services, the nature of which are materially
      similar to those supplied by the Company.

      Section 7.     R ~medies. Employee acknowledges that Company would be greatly
      injured by, and have no adequate remedy at law for, Employee=s breach of Section 2-6
      of this Agreen tent. Employee therefore consents that if such breach occurs or is
      threatened, whether before or after the tennination of his/her relationship with Company,
      Company may, as appropriate and in addition to all other then available remedies, enjoin
      Employee, toge '.her with all persons acting in conceit with Employee, from such breach
      or threatened t reach. If it prevails, Company shall also be entitled to collect from
      Employee the <-Ourt costs, actual attorneys=- and experts= fees, and other expenses of
      enforcing Com·,any,::s rights under this Agreement. Employee submits to entry of a
      temporary res1l aining order to prevent such breach, and waives the right to require
      Company to pc st bond as a condition of injunctive relief. If such waiver is not then
      penn.itted, Emi: loyee agrees that a bond of $1,000.00 or less will be sufficient. The
      periods provide :d in Sections 2-6 shall, in the event that Company is granted an
       injunction, be e ctended so as to commence upon the date of entry of any such injunction.
      All of the ComJ ,any=s remedies for breach of this Agreement shall be cumulative and the
       pursuit of one remedy shall not be deemed to exclude any other remedies. In the event
       total actual dan 1ages are not possible to detennine, it is agreed that the Company may
       recover, in add tion to those damages which are detennined, liquidated damages in the
       amount of $50 .000.00 for a material breach of this Agreement in addition to other
       remedies proviC'ed by this Agreement.

       Section 8.   C 1oice of Law and Forum.         It is understood and agreed that the
       construction ar d interpretation of this Agreement shall be in accordance with and
       governed by thi laws of the State of Ohio, and any action related to this Agreement shall

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      be brought and maintained in the courts of the State of Ohio, in the County of Richland,
      unless otherwi~ e agree to by both parties.
      Section 9. ~ easonableness of Restrictions.         The Employee has carefully read and
      considered the ·Jrovisions hereof and, having done so and in consultation with a lawyer of
      his/her own ch )osing, agrees that the restrictions set forth in this Agreement (including,
      but not limiteci to, the time periods of restriction in each of such paragraphs and the
      geographical a; ea of restrictions set forth in this Agreement) are fair, reasonable, and
      needed to prate ct the Company=s intcresrs. The Employee also agrees, having read and
      considered the Jrovisions hereof, that the covenants set forth in this Agreement will not
      create an unrea~onable restraint on the Employee=s ability to earn a living.

      Section 10. B·uden and Benefit.            This Agreement shall be binding upon, and
      shall inure to tt e benefit of, the Company and Employee, and their respective successors
      and assigns. 1 he Company shall have the right to assign its rights hereunder to any
      successor in int,:rest, whether by merger, consolidation, sale of assets, or otherwise.

      Section 11. "hole Agreement. Notwithstanding the existence of any other
      Company pron< uncement, writing, or policy to the contrary or conflicting herewith, the
      conditions of tb is Agreement shall predominate and prevail. No change or modification
      hereof shall be valid or binding unless the same is in writing and signed by the paity
      against whom s11ch waiver is sought to be enforced.

       Section 12. Interpretation.        The parties acknowledge their mutual participation in
       the drafting of 1his Agreement and its tenns shall not be construed more strictly against
       one party or the other as the author of the document.

              IN WITlrESS WHEREOF, the Company and the Employee have duly executed
       this Agreement 1s of the day and year first written above.

       The Employee                                     The Company

                                                        AMERICAN FREIGHT OF OHIO, INC.,
                                                        an Ohio corporation



                                                        By:-- - - -- - - - -- -
                                                          STEVE BELFORD, President




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                           EXHIBIT 2
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                                 AMERICAN FREIGHT GROUP, INC.

                                       _____________________


                                 Non-Qualified Stock Option Agreement

                                        Option Agreement No. 2

                                       _____________________

          Subject to the terms and conditions set forth herein and the terms and conditions of the
  American Freight Group, Inc. 2015 Non-Qualified Stock Option Plan (the “Plan”) (with
  capitalized terms used but not defined herein having the meanings given to them in the Plan),
  American Freight Group, Inc., a Delaware corporation (the “Company” which term shall include,
  unless the context otherwise clearly requires, all Subsidiaries (as defined in the Plan) of the
  Company), hereby grants the following option to purchase shares of common stock, par value of
  $0.001 per share, of the Company (the “Stock”) to the Optionee, and the Optionee hereby
  accepts such grant and agrees to be bound by the terms and conditions hereinafter set forth:

  1.      Name of Person to Whom the Option is Granted (the “Optionee”): Separate Property Trust
          of David A. Belford, dated November 13, 2007

  2.      Date of Grant of Option: January 28, 2015

  3.      An Option to acquire 396.8750 shares of Stock.

  4.      Option Exercise Price (per share of Stock): $1,000 (the “Exercise Price”).

  5.          Term of Option:      Subject to earlier termination under Section 9 below, this Option
                                   expires at 5:00 p.m. local New York, New York time on
                                   January 28, 2025.

  6.          Vesting/Exercise     Subject to the provisions of Section 9 below, this Option shall
              Schedule:            vest and become exercisable with respect to the number of shares
                                   of Stock upon the passage of certain time, as shown on Schedule I
                                   attached hereto and incorporated herein.




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  7.      Grant. The Company hereby grants to the Optionee a stock option (the “Option”) to
  purchase from the Company the number of shares of Stock set forth in Section 3 on the first page
  of this Option, upon the terms and conditions set forth in the Plan and upon the additional terms
  and conditions contained herein. This Option is a non-qualified stock option and is not intended
  to qualify as an “incentive stock option” pursuant to Section 422 of the Internal Revenue Code of
  1986, as amended (the “Code”).

  8.      Option Price. To the extent vested, this Option may be exercised at the exercise price per
  share of Stock set forth in Section 4 on the first page hereof, subject to adjustment as provided
  herein and in the Plan.

  9.      Term and Exercisability of Option.

          (a)    This Option shall expire on the earlier of (a) the date determined pursuant to
  Section 5 on the first page of this Option and (b) the date determined pursuant to Sections 11 and
  15(d) of the Plan, and shall be exercisable in accordance with and subject to the terms and
  conditions set forth in the Plan (including but not limited to Section 11 of the Plan) and those
  terms and conditions, if any, set forth in Section 6 on the first page of this Option.
  Notwithstanding anything to the contrary contained herein, vesting shall cease immediately upon
  termination of employment or other engagement for any reason, and any portion of this Option
  that has not vested on or prior to the date of such termination is forfeited on such date. If the
  Optionee dies before this Option has been exercised in full, the personal representative of the
  Optionee may exercise this Option in accordance with the Plan.

          (b)     Notwithstanding anything contained in the Plan or this Option Agreement to the
  contrary (i) to the extent that any of the payments and benefits provided for under the Plan, this
  Option Agreement or any other agreement or arrangement (including payments contingent upon
  the occurrence of a Change in Control) between the Company or any of its Subsidiaries and
  Optionee (collectively, the “Payments”) would constitute a “parachute payment” within the
  meaning of Section 280G of the Code, then the Company and its Subsidiaries shall each use
  commercially reasonable efforts to obtain the stockholder consent required to approve of such
  Payment to preclude such Payment from being subject to the excise tax imposed pursuant to
  Section 4999 of the Code (the “Excise Tax”); provided, however, that in such event the Optionee
  shall reasonably cooperate with the Company and shall take all actions and execute such
  documents and instruments as shall be reasonably necessary to accomplish such preclusion of the
  Excise Tax. In the event that (a) the stockholder consent is not obtained or (b) the Optionee does
  not take the actions set forth in the proviso to the foregoing sentence, the amount of the
  Payments shall be reduced to the amount that would result in no portion of the Payments being
  subject to the Excise Tax.

  10.     Method of Exercise. To the extent that the right to purchase shares of Stock has vested
  hereunder, this Option may be exercised from time to time by written notice to the Company
  substantially in the form attached hereto as Exhibit A, stating the number of shares of Stock with
  respect to which this Option is being exercised, and accompanied by (a) payment in full of the
  Exercise Payment for the number of shares of Stock to be delivered, by means of payment
  acceptable to the Company in accordance with Section 9 of the Plan and (b) an executed joinder
  agreement and a Spousal Consent, if applicable, pursuant to Section 16 of this Option.

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  Notwithstanding the foregoing, Optionee may elect to purchase shares of Stock vested hereunder
  by cashless exercise, whereby Optionee shall receive upon exercise such number of shares of
  Stock equal to (x) the number of Options being exercised less (y) the number of shares of Stock
  with a Fair Market Value equal to the sum of the Exercise Price and the necessary withholding
  obligation with respect to such exercise. Subject to the Plan and to Section 13 hereof, as soon as
  practicable after its receipt of such items, the Company shall deliver to the Optionee (or other
  person entitled to receive the shares of Stock issuable upon exercise of this Option), at the
  principal executive offices of the Company or such other place as may be mutually acceptable, a
  certificate or certificates for such shares out of theretofore authorized but unissued shares or
  reacquired shares of Stock (if certificated) or a certified copy of the stockholders’ registry, as the
  Company may elect; provided, however, that the time of such delivery may be postponed by the
  Company for such period as may be required for it with reasonable diligence to comply with any
  applicable requirements of law. If the Optionee (or other person entitled to exercise this Option)
  fails to pay for and accept delivery of all of the shares specified in such notice upon tender of
  delivery thereof, his or her right to exercise this Option with respect to such shares not paid for
  may be terminated by the Company.

  11.     Forfeiture; Restrictions on Exercise; Right of Repurchase.

          (a)      In addition to the restrictions set forth herein, this Option is subject to forfeiture
  upon the occurrence of the events specified in Sections 11 and 15 of the Plan. The stock issued
  upon the exercise of this Option and other Securities held by the Optionee will be subject to
  further restrictions set forth in the Stockholders’ Agreement, any subscription agreement entered
  into between the Optionee and the Company and this Section 11.

         (b)     General. Upon the termination of Optionee’s employment with, or membership
  on the Board of Directors of, the Company or its Subsidiaries, in each case, for any reason
  (whether by the Optionee or the Company or one of its Subsidiaries and whether with or without
  Cause) (a “Termination”), the Company and Resolute will have the option to repurchase all or
  any portion of the Securities (including Optionee Securities) held by Optionee (whether held by
  the Optionee or one or more of his or her affiliates or Permitted Transferees (as defined in the
  Stockholders Agreement) other than those Securities purchased by Optionee pursuant to a
  Subscription Agreement, dated October 31, 2014 (“Repurchasable Securities”) pursuant to the
  terms and conditions set forth in this Section 11.

         (c)     Company’s Option. The Company may elect in its sole discretion to purchase all
  or any portion of the Repurchaseable Securities by giving written notice to the Optionee or his or
  her Permitted Transferees (as defined in the Stockholders Agreement) within 90 days following
  the Termination. Such notice will set forth the number and type of Repurchaseable Securities to
  be acquired by the Company from Optionee, the aggregate consideration to be paid for such
  Repurchaseable Securities, and the time and place for the closing of such purchase. If Optionee
  is a member of the Board at the time of such election, then Optionee will not have the right to
  vote with respect to such election or any other matter relating to this Section 11.

          (d)   Resolute’s Option. If for any reason the Company does not elect to purchase all
  of the Repurchaseable Securities pursuant to Section 11(c), then Resolute may at any time within
  180 days following the Termination elect in its sole discretion to purchase all or any portion of

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  the Repurchaseable Securities which the Company has not elected to purchase by giving written
  notice to the Company and the Optionee or his or her Permitted Transferees (as defined in the
  Stockholders Agreement). Such notice will set forth the number and type of Repurchaseable
  Securities to be acquired by Resolute from the Optionee, the aggregate consideration to be paid
  for such Repurchaseable Securities, and the time and place for the closing of such purchase.

        (e)    Purchase Price. The purchase price for the Repurchaseable Securities (the
  “Repurchase Price”) will be calculated as follows:

                (i)       If the Termination occurs by reason of (A) termination of such Optionee’s
          employment by, membership on the Board of, or engagement with, the Company or any
          of its Subsidiaries without Cause or (B) such Optionee’s death or disability, then the
          Repurchase Price will be a price per share equal to the Fair Market Value of the
          Repurchaseable Securities on the date of Termination.

               (ii)       If (A) the Termination occurs by reason of such Optionee’s termination by
          the Company or any of its Subsidiaries for Cause, (B) termination of such Optionee’s
          employment or membership on the Board, in each case, by reason of such Optionee’s
          resignation, or if (C) in the Committee’s reasonable determination, such Optionee has
          breached any agreement between the Optionee and the Company or any of its
          Subsidiaries, then the Repurchase Price will be the lesser of a price per share equal to the
          Original Cost and a price per share equal to the Fair Market Value, in each case, of the
          Repurchaseable Securities.

          (f)     Repurchase Closing. If the Company or Resolute has elected to purchase any of
  the Repurchaseable Securities, then the purchase of Repurchaseable Securities pursuant to this
  Section 11 will be completed (the “Repurchase Closing”) at the Company’s principal office, at
  10:00 a.m., on the 30th day following the date the Company or Resolute provides notice to the
  Optionee that the Company or Resolute, as the case may be, are purchasing any of the
  Repurchaseable Securities or on such earlier day as designated by the Company, in its sole
  discretion, upon not less than ten days prior notice to Resolute and the Optionee. If such date is
  not a Business Day, then the Repurchase Closing will occur at the same time and place on the
  next succeeding Business Day. The Company and/or Resolute will pay for the Repurchaseable
  Securities, at their respective options, by (i) delivery of a cashier’s check or wire transfer of
  immediately available funds, (ii) delivery of a Three Year Junior Note, (iii) setoff against any
  and all obligations (to the extent of such obligations) owed to the Company, its Subsidiaries,
  Resolute or any of their respective Affiliates by the Optionee or (iv) any combination of the
  foregoing. The Company and/or Resolute may rescind any exercise of their repurchase rights
  under this Section 11 at any time prior to the Repurchase Closing. At the Repurchase Closing,
  the Optionee shall deliver any certificate or certificates (if certificated) representing the
  Repurchaseable Securities to be purchased, with stock powers or instruments of transfer duly
  executed, for transfer, and such other documents as the Company or Resolute may reasonably
  request. The Company and Resolute will be entitled to receive customary representations and
  warranties as to ownership, title, authority to sell and the like from the Optionees regarding such
  sale, and to receive such other evidence, including applicable inheritance and estate tax waivers,
  as may reasonably be necessary to effect the purchase of the Repurchaseable Securities to be
  purchased pursuant to Section 11.

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          (g)      Failure To Deliver Securities. If Optionee or any other Stockholder whose
  Repurchaseable Securities are to be purchased pursuant to this Section 11 fails to deliver
  certificates representing the Repurchaseable Securities (if certificated) and such other documents
  as the Company or Resolute may reasonably request on the scheduled closing date of such
  purchase, then the Company or Resolute may elect to deposit the consideration representing the
  purchase price of the Repurchaseable Securities with a third party (which may be the Company’s
  attorney, a bank or a financial institution), as escrow agent and exercise its rights pursuant to (g)
  below. In the event of the foregoing election: (i) such Repurchaseable Securities will be deemed
  for all purposes (including the right to vote and receive payment for dividends) to have been
  transferred to the Company or Resolute, as applicable; (ii) to the extent that such Repurchaseable
  Securities are evidenced by certificates or other instruments, such certificates or other
  instruments will be deemed canceled and the Company will issue new certificates or other
  instruments in the name of Resolute, if applicable; (iii) the Company will make an appropriate
  notation in its stock ledger to reflect the transfer of such Repurchaseable Securities to the
  Company or Resolute, as applicable; and (iv) the Person obligated to sell such Repurchaseable
  Securities will merely be a creditor with respect to such Repurchaseable Securities, with the right
  only to receive payment of the purchase price, without interest, from the deposited funds. If,
  prior to the third anniversary of the scheduled closing date as determined pursuant to this Section
  11, the proceeds of sale have not been claimed by such Optionee or other seller of the
  Repurchaseable Securities, then the deposited funds (and any interest earned thereon) will be
  returned to the Person originally depositing the same, and the transferors whose Repurchaseable
  Securities were so purchased will look solely to the purchasers thereof for payment of the
  purchase price, without interest. The escrow agent will not be liable for any action or inaction
  taken by it in good faith.

          (h)    Power of Attorney. Optionee in order more fully to secure the performance of his
  or her obligations hereunder, hereby irrevocably appoints the Company and Resolute and the
  persons deriving title under them jointly and also severally to be his or her attorney to execute
  and complete in favor of the Company or Resolute any documents, including but not limited to a
  stock power or instrument of transfer, which the Company or Resolute may from time to time
  require pursuant to Section 11 for perfecting its title to or for vesting the Repurchaseable
  Securities in the Company or Resolute as applicable. The power hereby conferred shall be a
  general power of attorney and each Optionee hereby ratifies and confirms and agrees to ratify
  and confirm any instrument, act or thing which any such attorney may execute or do.

          (i)    Repurchase Disability.

               (i)       Notwithstanding anything to the contrary herein, the Company shall not be
          permitted to repurchase any Optionee Securities pursuant to Section 11 if the Board
          determines that:

                         (A)     The repurchase of the Repurchaseable Securities would render the
                 Company or the Subsidiaries unable to meet their business plan or obligations in
                 the ordinary course of business taking into account any pending or proposed
                 transactions, capital expenditures or other budgeted cash outlays by the Company,
                 including, without limitation, any proposed acquisition of any other entity by the
                 Company or any of the Subsidiaries;

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                         (B)    The Company is prohibited from repurchasing the Repurchaseable
                 Securities by applicable law restricting the purchase by a corporation of its own
                 shares; or

                         (C)    The repurchase of Repurchaseable Securities would constitute a
                 breach of, default, or event of default under, or is otherwise prohibited by, the
                 terms of any loan agreement or other agreement or instrument to which the
                 Company or any of the Subsidiaries is a party or the Company is not able to
                 obtain the requisite consent of any of its senior lenders to the repurchase of the
                 Repurchaseable Securities. The events described in (A) through (C) above each
                 constitute a “Repurchase Disability.”

               (ii)       In the event of a Repurchase Disability, the Company shall notify in
          writing any Optionee whose Repurchaseable Securities are to be repurchased pursuant to
          Section 11 (a “Disability Notice”). The Disability Notice shall specify the nature of the
          Repurchase Disability. The Company shall thereafter repurchase the Repurchaseable
          Securities as soon as reasonably practicable after all Repurchase Disabilities cease to
          exist (or the Company may elect, but shall have no obligation, to cause its nominee to
          repurchase the Repurchaseable Securities while any Repurchase Disabilities continue to
          exist). In the event the Company suspends its obligations to repurchase the
          Repurchaseable Securities pursuant to a Repurchase Disability, (A) the Company shall
          provide written notice to each applicable Optionee as soon as practicable after all
          Repurchase Disabilities cease to exist (the “Reinstatement Notice”); (B) the Fair Market
          Value of the Repurchaseable Securities shall be determined as of the date the
          Reinstatement Notice is delivered to the Optionee, which Fair Market Value shall be used
          to determine the Repurchase Price in the manner described above; and (C) the repurchase
          shall occur on a date specified by the Company within 10 days following the
          determination of the Fair Market Value of the Repurchaseable Securities as provided in
          clause (B) above.

          (j)     If the Company or Resolute does not deliver to the Optionee a written notice of its
  intention to exercise the repurchase rights set forth in this Section 11 within 180 days following a
  Termination, such repurchase rights will expire. This Section 11 shall terminate upon (i) the
  effectiveness of an initial bona fide, firm commitment underwritten public offering of any
  securities of the Company for which the aggregate purchase price of the securities sold is in
  excess of $100 million or (ii) the consummation of a Change in Control.

         (k)     Certain Definitions. For purposes of this Section 11, the following terms shall
  have the following meanings unless the context indicates otherwise:

              (i)     “Business Day” means any day except a Saturday, Sunday or other days
          on which commercial banks in New York City are required or authorized by law to close.

              (ii)        “Common Stock” shall mean shares of the Company’s common stock, par
          value $0.001 per share, that the Company may be authorized to issue from time to time
          and any stock or other securities issued or issuable with respect to such shares, including
          pursuant to a stock dividend, stock split, or like action, or pursuant to a plan of


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          recapitalization, reorganization, reclassification, exchange, merger, sale of assets or
          otherwise.

              (iii)      “Common Stock FMV” shall mean, as of any date of determination, the
          quotient obtained by dividing (i) an amount equal to (A) the Company Stock FMV, less
          (B) the Preferred Stock FMV by (ii) the aggregate number of shares of Common Stock
          issued and outstanding on a Fully-Diluted Basis as of the applicable date of
          determination.

              (iv)        “Company Stock FMV” shall mean, as of any date of determination, an
          amount equal to (i) the Enterprise Value, less (ii) the aggregate amount of Indebtedness
          of the Company and the Subsidiaries, including, but not limited to, indebtedness for
          borrowed money and capitalized leases of the Company and the Subsidiaries as of the
          end of the Determination Period (including, without limitation, interest accrued but
          unpaid as of the end of the Determination Period), less (iii) the aggregate amount to be
          paid pursuant to any earnout, deferred purchase price or similar amounts in respect of
          acquisitions outstanding as of the end of the Determination Period, less (iv) the aggregate
          amount that would have been payable by the Company in respect of any stock
          appreciation rights or similar obligation of the Company or its Subsidiaries outstanding as
          of the end of the Determination Period (whether or not restricted as of such date), less (v)
          any other long-term obligations or liabilities of the type reflected on the face of a balance
          sheet of the Company, as determined in accordance with GAAP.

              (v)       “Contract” shall mean any binding contract, lease, agreement, indenture,
          mortgage, note, bond or instrument, whether written or oral.

              (vi)        “Determination Period” shall mean the last four (4) consecutive completed
          fiscal quarters as set forth on the unaudited financial statements of the Company
          immediately preceding the applicable date of determination of the Enterprise Value.

              (vii)       “EBITDA” shall mean, for any period, the consolidated net income (or
          loss) of the Company (after eliminating all extraordinary or non-recurring items of
          income (or loss)), as reflected in the Company’s financial statements for such period,
          further adjusted by (i) without duplication, the addition of (A) interest and other expense
          in respect of indebtedness for borrowed money and similar expense in respect of
          capitalized leases, charged, accrued or otherwise allocated against such net income (or
          loss), (B) expenses for income taxes (whether paid, accrued or deferred) charged or
          otherwise allocated against such net income, (C) depreciation and amortization of any
          assets or other non-cash charges (including, without limitation, any depreciation,
          amortization and other non-cash charges relating to purchase accounting adjustments, and
          any amortization or write-off of intangible assets, transaction costs or goodwill) charged,
          allocated or otherwise accrued against such net income (or loss) and (D) non-cash
          expenses attributable to the issuance of stock, options, warrants, stock appreciation rights
          or similar rights by the Company to any of its directors, officer, employees, dealers or
          others or the exercise thereof, charged, accrued or allocated against such net income (or
          loss) and (ii) without duplication, the subtraction of interest income, non-cash gains and
          other income, in each case, excluding any such interest, depreciation, amortization costs

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          and expenses and income previously taken into account in determining EBITDA during
          any period preceding such period, all as determined in accordance with U.S. generally
          accepted accounting principles, consistently applied.

            (viii)        “Enterprise Value” shall mean, as of any date of determination, an amount
          equal to (i) seven (7) multiplied by the average annual EBITDA for the Determination
          Period, plus (ii) the aggregate amount of Unrestricted Cash of the Company and the
          Subsidiaries plus (iii) the aggregate exercise or conversion price of all options or warrants
          exercisable for, or securities convertible into, Common Stock outstanding (whether
          vested or not) as of the applicable date of determination.

              (ix)        “Equity Interest” means, with respect to any Person, (i) any capital stock,
          shares, partnership interests, membership interests, limited liability company interests,
          stock appreciation rights, phantom equity interests or other ownership or equity interests
          of such Person, including any securities exercisable, exchangeable or convertible into any
          of the foregoing, (ii) any other interest or participation that confers on the holder thereof
          the right to receive a share of the profits and losses or, or distributions of assets of, such
          Person, and (iii) any warrants, options or other rights to acquire any of the foregoing.

               (x)       “Fair Market Value” shall mean, (i) with respect to Common Stock, the
          Common Stock FMV and (ii) with respect to Preferred Stock, the quotient obtained by
          dividing (A) the Preferred Stock FMV by (B) the aggregate number of shares of Preferred
          Stock issued and outstanding as of the applicable date of determination.

              (xi)      “Fully-Diluted Basis” shall mean the number of shares of Common Stock
          which would be outstanding, as of the date of computation, if all vested and outstanding
          Stock Equivalents had been converted, exercised or exchanged.

            (xii)        “GAAP” shall mean generally accepted accounting principles in the
          United States as in effect on the date hereof and from time to time.

             (xiii)       “Income Tax” means (i) all Taxes based on income determined under
          provisions of the Code and (ii) foreign, state and other taxes (including franchise taxes)
          based on income or gross receipts, including a Tax assessed on a corporation by reference
          to its income, gains, or profits, and shall include for the avoidance of doubt, any
          withholding taxes, and in each instance any interest, penalties or additions to tax
          attributable to such Tax.

              (xiv)      “Indebtedness” shall mean, with respect to the Company and its
          Subsidiaries, and without duplication: (i) any indebtedness for borrowed money,
          (ii) indebtedness evidenced by notes, bonds, debentures, mortgages or other debt
          instruments or debt securities, (iii) to the extent drawn, all obligations of the Company
          and its Subsidiaries in respect of letters of credit, performance bonds, bankers
          acceptances or similar obligations of the Company and its Subsidiaries or incurred in
          connection with performance guaranties related to insurance obligations (including letters
          of credit supporting insurance policies for worker’s compensation), (iv) all obligations of
          the Company and its Subsidiaries as lessee or lessees under leases that have been


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          recorded as capital leases in accordance with GAAP, (v) all payment obligations under
          any interest rate, foreign exchange, commodity or other swap, hedge, or other financial
          derivative instruments or agreement to which the Company or any Subsidiary is a party
          (valued at the termination value thereof), (vi) whether or not so included as Liabilities in
          accordance with GAAP, all indebtedness or obligations of the types referred to in the
          preceding clauses (i) through (v) of the Company or any Subsidiary secured by any Lien
          on any assets owned or purchased by the Company or any of its Subsidiaries (including
          indebtedness arising under conditional sales or other title retention agreements), even
          though (A) such Person has not assumed or otherwise become liable for the payment
          thereof or (B) such indebtedness is limited in recourse, (vii) all obligations of the
          Company or any of its Subsidiaries issued or assumed as the deferred purchase price of
          businesses, assets, property, Equity Interests or services, including potential earn-outs,
          purchase price adjustments, post-closing payments in respect of transaction tax benefits,
          non-competition payments or similar payments, in each case in respect of past
          acquisitions, as well as the deferred purchase price for security cameras and systems,
          (viii) all Liabilities or underfunding of the Company or any of its Subsidiaries in relation
          to pension plans, retiree medical and any other long-term obligations under Laws or
          pension, welfare or benefit plans for the Company or any of its Subsidiaries, (ix) all Off-
          Balance Sheet Financings of the Company or any of its Subsidiaries, (x) the amount of
          any guarantees made by the Company or any of its Subsidiaries of indebtedness of the
          type described in clauses (i) through (ix) above of any Person, (xi) any unpaid interest,
          fees, prepayment premiums or penalties, make-whole payments, breakage costs,
          indemnities, expenses and other obligations or amounts, owing on or in respect of any
          such indebtedness described in clauses (i) through (x) above, (xii) all obligations of the
          Company or any of its Subsidiaries arising from deferred compensation or severance and
          similar arrangements (including payroll, employment and other Taxes thereon), (xiii) all
          deferred or unearned revenue of the Company and its Subsidiaries, amounts refundable
          by the Company and its Subsidiaries under Contracts with their customers (including all
          advanced payments, contingent refunds, and amounts refundable by the Company and its
          Subsidiaries) and any Liabilities to customers for inventory assumed by such Person,
          (xiv) any Net Tax Liabilities and (xv) any Lay-Away Obligations; provided, however,
          that none of the following shall constitute Indebtedness hereunder: (A) to the extent
          undrawn, any obligation with respect to any letter of credit (or reimbursement agreement
          in respect thereof), (B) any operating lease, (C) any guarantee by the Company or any of
          its Subsidiaries of the obligations of any other Subsidiary and (D) any indebtedness of
          any Subsidiary owed to any other Subsidiary. For all purposes of this Agreement,
          Indebtedness shall include the indebtedness of any partnership or joint venture in which
          Subsidiary is a general partner or joint venturer (to the extent that such Subsidiary is
          liable for such indebtedness).

             (xv)         “Laws” means all applicable federal, state, local and foreign laws, statutes,
          constitutions, rules, regulations, ordinances, common law and similar provisions having
          the force of law and all judgments, rulings, orders, decrees, administrative
          determinations, injunctions, guidance and guidelines of governmental authorities.

             (xvi)      “Lay-Away Obligations” shall mean those deposits or monies received
          from a Person representing part or all of the price of goods that was payable in one or

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          more payments subsequent to the making of a layaway agreement and for which the
          Company or any Subsidiary retains possession of such goods and bears the risk of their
          loss or damage until such goods are paid in full and delivered according to the layaway
          agreement, the dollar amount of inventory purchased by a customer but not yet received
          by such customer, and escheatment, unclaimed property and similar liabilities.

            (xvii)        “Liability” means any liability (whether known or unknown, whether
          asserted or unasserted, whether absolute or contingent, whether accrued or unaccrued,
          whether liquidated or unliquidated, and whether due or to become due), including any
          Liability for Taxes.

            (xviii)       “Lien” shall mean any security interest, lien, charge, mortgage, deed,
          assignment, pledge, hypothecation, encumbrance, servitude, easement, restriction
          (including any repatriation restrictions), judgment, option, right of first offer, right of first
          refusal or interest of another Person of any kind or nature.

             (xix)          “Net Tax Liabilities” means an amount, which may be positive or
          negative, equal to the sum of any amounts that would be properly accrued as current
          liabilities for Income Taxes on the consolidated balance sheet of the Company and its
          Subsidiaries in accordance with GAAP reduced by any amounts that would be properly
          accrued as a current asset for Income Taxes on the consolidated balance sheet of the
          Company and its Subsidiaries.

              (xx)        “Off-Balance Sheet Financing” means (a) any liability of the Company or
          any Subsidiary under any sale leaseback transactions which does not create a liability on
          the consolidated balance sheet of the Company and its Subsidiaries and (b) any liability
          of the Company or any Subsidiary under any synthetic lease, Tax retention operating
          lease, off-balance sheet loan or similar off-balance sheet financing product where the
          transaction is considered indebtedness for borrowed money for federal income Tax
          purposes but is classified as an operating lease in accordance with GAAP for financial
          reporting purposes.

            (xxi)        “Original Cost” shall mean the original purchase or exercise price actually
          paid for a Repurchaseable Security.

            (xxii)        “Preferred Stock” shall mean the shares of the Company’s preferred stock,
          par value $0.001 per share, that the Company may be authorized to issue from time to
          time and any stock or other securities issued or issuable with respect to such shares,
          including pursuant to a stock dividend, stock split, or like action, or pursuant to a plan of
          recapitalization, reorganization, reclassification, exchange, merger, sale of assets or
          otherwise.

            (xxiii)        “Preferred Stock FMV” shall mean, as of any date of determination, the
          lesser of (i) the liquidation value of the outstanding shares of Preferred Stock as
          calculated in accordance with the Certificate of Incorporation or (ii) the Company Stock
          FMV.



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            (xxiv)        “Securities” shall mean all (A) shares of Common Stock, (B) shares of
          Preferred Stock, (C) Stock Equivalents and D) securities of the Company issued or
          issuable with respect to the securities referred to in clauses (A) through (C) above,
          including pursuant to a stock dividend, stock split, or like action, or pursuant to a plan of
          recapitalization, reorganization, merger, sale of assets or otherwise.

            (xxv)         “Stock Equivalents” shall mean any (i) warrants, options or other right to
          subscribe for, purchase or otherwise acquire any shares of Common Stock or (ii) any
          securities convertible into or exchangeable for shares of Common Stock.

            (xxvi)        “Tax” or “Taxes” shall mean all federal, state, county, local, franchise or
          foreign income, payroll, employment, excise, environmental, customs, franchise, windfall
          profits, withholding, social security (or similar), unemployment, real property, personal
          property (tangible or intangible), escheat, unclaimed property, sales, use, transfer,
          registration, value added, gross receipts, net proceeds, turnover, license, ad valorem,
          capital stock, disability, stamp, leasing, lease, excess profits, occupational and interest
          equalization, fuel, severance, alternative or add-on minimum or estimated tax, charge,
          fee, levy, duty or other assessment, and other obligations of the same or of a similar
          nature to any of the foregoing due or claimed to be due by or to any Taxing authority,
          including any interest, penalty or addition thereto, whether disputed or not.

           (xxvii)        “Three Year Junior Notes” shall mean a promissory note of the Company
          in the form attached hereto as Exhibit C.

          (xxviii)        “Unrestricted Cash” shall mean, as of any date of determination, the
          aggregate amount of immediately available cash and cash equivalents of the Company
          and the Subsidiaries after any applicable withholding taxes, excluding (i) credit card
          receivables, (ii) register cash and (iii) cash or cash equivalents (A) subject to any Lien
          and (B) that may not be legally distributed on such date of determination by means of one
          or more direct or indirect dividends or distributions to the Company.

  12.    Nonassignability of Option Rights. This Option shall not be assignable or transferable by
  the Optionee except by will or by the laws of descent and distribution. During the life of the
  Optionee, this Option shall be exercisable only by Optionee or, in the event of Optionee’s legal
  incapacity, by Optionee’s legal representative.

  13.     Compliance with Securities Act. The Company shall not be obligated to sell or issue any
  shares of Stock or other securities pursuant to the exercise of this Option unless the shares of
  Stock or other securities with respect to which this Option is being exercised are at that time
  effectively registered or exempt from registration under the Securities Act of 1933, as amended,
  and applicable state securities laws. In the event shares or other securities shall be issued which
  shall not be so registered, the Optionee hereby represents, warrants and agrees that he or she will
  receive such shares or other securities for investment and not with a view to their resale or
  distribution, and will execute an appropriate investment letter satisfactory to the Company and its
  counsel as a condition precedent to any exercise of this Option in whole or in part.




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  14.     Legends. The Optionee hereby acknowledges that, if certificated, the stock certificate or
  certificates evidencing shares of Stock or other securities issued pursuant to any exercise of this
  Option will bear a legend setting forth the restrictions on their transferability described in
  Section 13 hereof, in Section 12 of the Plan, and under any applicable agreements between the
  Optionee and the Company or any of its stockholders.

  15.     Rights as Stockholder. The Optionee shall have no rights as a stockholder with respect to
  any shares of Stock or other securities covered by this Option until the date of issuance of a
  certificate to him or her for such shares or other securities (if certificated) or the date on which
  the Company updates the stockholders’ registry reflecting such issuance. No adjustment shall be
  made for dividends or other rights for which the record date is prior to the date such certificate is
  issued (if certificated) or the date on which the Company updates the stockholders’ registry.

  16.     Certain Agreements. The Optionee hereby agrees to be bound by the terms and
  conditions of the Stockholders’ Agreement dated October 31, 2014 as amended or modified from
  time to time, among the Company and the other persons named therein (the “Stockholders’
  Agreement”). The Optionee hereby further acknowledges and agrees that the Option and the
  shares of Stock issuable upon exercise of the Option are and shall be subject to the terms and
  provisions of the Stockholders’ Agreement; provided, however, that, in case of any conflict
  between this Option Agreement and the Stockholders’ Agreement, this Option Agreement shall
  control. Upon the Optionee’s exercise of the Option in accordance with Section 10 hereof, the
  Optionee agrees to execute a joinder agreement to the Stockholders’ Agreement in the form as
  determined by the Committee in its sole discretion and agrees to have his or her spouse, if
  applicable, execute a spousal consent by which Optionee’s spouse acknowledges and consents to
  the restrictions set forth in such Stockholders’ Agreement (the “Spousal Consent”).

  17.     Restrictions.

         (a)   Definitions. For purposes of this Section 17, the following terms shall have the
  following meanings unless the context indicates otherwise:

                 “Business” shall mean any business of the Company or any of its Subsidiaries, as
  conducted by or engaged in on the date hereof, and as proposed to be conducted by or engaged in
  on the date hereof, by the Company or any of its Subsidiaries, including, without limitation, the
  business of selling furniture, carpet, upholstery, bedding, fabric protection products, case goods,
  mattresses and other furniture accessories and related goods directly to retail customers.

                 “Restricted Period” means the period during which Optionee or his permitted
  transferees holds any Options or securities underlying such options, and for two years thereafter.

               “Specific Exceptions” shall have the meaning set forth in the Selling Equityholder
  Agreement, dated September 30, 2014 by and between American Freight, Inc. and Optionee.

                “Termination Date” shall mean, as applicable, the date of termination of
  Optionee’s employment with the Company or any of its Subsidiaries or membership on the
  Board of Directors of the Company.



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          (b)      Confidentiality. During and after the Restricted Period, Optionee recognizes and
  acknowledges that Optionee has and may in the future receive certain confidential and
  proprietary information and trade secrets of the Company and its Subsidiaries (the “Confidential
  Information”), and that such Confidential Information constitutes valuable, special and unique
  property of the Company. The term Confidential Information will be interpreted to include all
  information of any sort (whether merely remembered or embodied in a tangible or intangible
  form) that is (a) related to the Company’s and its Subsidiaries’ current or potential business
  (including information received by the Company or any of its Subsidiaries from third parties),
  and (b) is not generally or publicly known. Optionee agrees not to disclose or use for Optionee’s
  own account any Confidential Information without the Board’s prior written consent, except (i)
  to the extent that any Confidential Information becomes generally known to and available for use
  by the public other than as a result of Optionee’s acts or omissions; (ii) to the extent that any
  Confidential Information is required to be disclosed pursuant to any applicable law or court
  order; or (iii) to Optionee’s attorneys and accountants; provided that, in the case of subsection
  (iii) hereof, Optionee shall cause each Person receiving such Confidential Information to be
  informed that such Confidential Information is strictly confidential and subject to this Agreement
  and to agree not to disclose or use such information except as provided herein. Optionee
  acknowledges and agrees that all notes, records, reports, sketches, plans, unpublished
  memoranda or other documents, whether in paper or electronic form (and copies thereof), held
  by Optionee concerning any information relating to the Company’s and its Subsidiaries’
  business, whether confidential or not, are the property of the Company and will be promptly
  delivered to it upon the termination of Optionee’s ownership of Optionee Securities

         (c)     Books and Records. All books, records, reports, writings, notes, notebooks,
  computer programs, sketches, drawings, blueprints, prototypes, formulas, photographs,
  negatives, models, equipment, reproductions, proposals, flow sheets, supplier lists, supply terms
  or contracts, customer lists and other documents and/or things relating in any manner to the
  business of the Company or any of its Subsidiaries or affiliates (including but not limited to any
  of the same embodying or relating to any Confidential Information), whether prepared by
  Optionee or otherwise coming into Optionee’s possession, shall be the exclusive property of the
  Company and shall not be copied, duplicated, replicated, transformed, modified or removed from
  the premises of the Company except pursuant to and in furtherance of the business of the
  Company and shall be returned immediately to the Company on the Termination Date or on the
  Company’s request at any time.

          (d)    Inventions and Patents.

                (i)      Optionee agrees that any and all writings, documents, inventions,
          discoveries, processes, methods, designs, mask works, compositions of matter,
          formulations, computer programs or instructions (whether in source code, object code, or
          any other form), algorithms, formulae, plans, customer lists, vendor lists, memoranda,
          tests, research, designs, specifications, models, data, diagrams, flow charts, and/or
          techniques (whether reduced to written form or otherwise) that Optionee makes,
          conceives, discovers, or develops, either solely or jointly with any other person, at any
          time during the period during which Optionee or its permitted transferees holds any
          Optionee Securities, whether during working hours or at the Company’s facility or at any
          other time or location, whether patentable or not, and whether upon the request or

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          suggestion of the Company or otherwise, that relate to or are useful in any way in
          connection with the Business (collectively, the “Intellectual Work Product”) shall be the
          sole and exclusive property of the Company. Optionee agrees to promptly and fully
          disclose all the Intellectual Work Product to the Company, and Optionee shall not have
          any claim for compensation for the Intellectual Work Product.

               (ii)       Optionee agrees that all Intellectual Work Product that is copyrightable
          shall be considered a work made for hire under the United States Copyright Act. To the
          extent that any copyrightable Intellectual Work Product may not be considered a work
          made for hire under the applicable provisions of copyright law, or to the extent that,
          notwithstanding the foregoing provisions, Optionee may retain an interest in any
          Intellectual Work Product, Optionee hereby irrevocably assigns and transfers to the
          Company any and all right, title, or interest that Optionee may have in the Intellectual
          Work Product under copyright, patent, trade secret, trademark and other law protecting
          proprietary or intellectual property rights, in perpetuity or for the longest period
          otherwise permitted by law, without the necessity of further consideration. The Company
          shall be entitled to obtain and hold in its own name all registrations of copyrights,
          patents, trade secrets, trademarks and other proprietary or intellectual property rights with
          respect thereto.

              (iii)      At the sole request and expense of the Company, either before or after the
          Restricted Period, Optionee shall assist the Company in acquiring and maintaining
          registrations under copyright, patent, trade secret, trademark and other laws protecting
          proprietary or intellectual property rights in, and confirming its title to, all Intellectual
          Work Product. Optionee’s assistance shall include signing all applications for
          copyrights, patents and other proprietary or intellectual property rights and other
          documents, cooperating in legal proceedings and taking any other steps considered
          desirable by the Company.

          (e)     Non-Disparagement. During and after the Restricted Period, Optionee shall not,
  and shall ensure that its agents, representatives and affiliates do not, directly or indirectly,
  disparage or make negative, derogatory or defamatory statements about the Company or any of
  its Subsidiaries, their respective business activities, or any of their respective Stockholders,
  directors, officers or employees.

          (f)      Nonsolicitation. During the Restricted Period, Optionee shall not, directly or
  indirectly, in any manner (whether on his own account, as an owner, operator, officer, director,
  partner, manager, employee, agent, contractor, consultant or otherwise): (a) hire or engage, or
  recruit, solicit or otherwise attempt to employ or retain or enter into any business relationship
  with, any current or former employee of or consultant to the Company or any of its Subsidiaries,
  (b) induce or attempt to induce any current or former employee of, or consultant to, the Company
  or any of its Subsidiaries, to leave the employ of the Company or any such Subsidiary, or in any
  way interfere with the relationship between the Company or any of its Subsidiaries and any their
  employees or consultants, (c) employ or retain or enter into any business relationship with any
  person who was an employee of or consultant to the Company or any of its Subsidiaries or (d) in
  any way interfere with the relationship between the Company or any of its Subsidiaries and any
  supplier, licensee, lessor or other business relation (or any prospective supplier, licensee, lessor

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  or other business relationship) of the Company or any of its Subsidiaries (including, without
  limitation, by making any negative or disparaging statements or communications regarding the
  Company, any of its Subsidiaries or any of their operations, officers, directors or investors)

          (g)     Noncompetition. During the Restricted Period, subject to the Specific Exceptions
  set forth in a Selling Equityholder Agreement executed by American Freight, Inc. and Optionee,
  Optionee shall not directly or indirectly, (a) own, operate, manage, control, participate in,
  provide support to (financial or otherwise), consult with, advise, permit his or her name to be
  used by, provide services for, lease, or in any manner engage in or knowingly facilitate
  (including, in association with any person, or through any person), any business that sells (i) any
  products or provides any services which may be used as substitutes for or are otherwise in
  competition with any products or services sold or offered by the Company or its Subsidiaries or
  reasonably would be expected to be sold or offered by a Competing Business or (ii) any other
  furniture, carpet, upholstery, bedding, fabric protection products, case goods, mattresses and
  other furniture accessories and related goods directly to retail customers in the Protected
  Territory (collectively, “Covered Activities”); or (b) acquire an ownership interest in, invest in or
  provide services to any person which engages in any Covered Activities (other than the
  Company or its Subsidiaries) as a partner, shareholder, principal, agent, consultant or in any
  other relationship or capacity; provided, however, that no owner of less than 5% of the
  outstanding stock of any publicly traded corporation shall be deemed to engage solely by reason
  thereof in its business.

          (h)     Enforcement. If, at the time of enforcement of any provision of Section 17(f) or
  Section 17(g), a court shall hold that the duration, scope or area restrictions stated therein are
  unreasonable under circumstances then existing, the parties agree that the maximum duration,
  scope or area reasonable under such circumstances shall be substituted for the stated duration,
  scope or area and that the court shall be allowed to revise the restrictions contained therein to
  cover the maximum period, scope and area permitted by law. Because Optionee has access to
  proprietary information and Confidential Information, the parties hereto agree that money
  damages would not be an adequate remedy for any breach of Sections 17(b) through 17(g).
  Therefore, in the event of a breach or threatened breach of the foregoing sections of this Section
  17, the Company or any of its successors or assigns may, in addition to other rights and remedies
  existing in their favor, apply to any court of competent jurisdiction for specific performance
  and/or injunctive or other relief in order to enforce or prevent any violations of the provisions
  hereof (without posting a bond or other security and without proving actual damages). In
  addition, in the event of an alleged breach or violation by Optionee of any provision of Section
  17(f) or Section 17(g), the Restricted Period shall be tolled until such breach or violation has
  been duly cured. The existence of any claim or cause of action by Optionee against the
  Company or any of its affiliates, whether predicated on this Agreement or otherwise, will not
  constitute a defense to the enforcement by the Company of the provisions of Sections 17(b)
  through 17(g) which Sections will be enforceable notwithstanding the existence of any breach by
  the Company. If the Company (i) brings any action or proceeding to enforce any provision of
  this Agreement or to obtain damages as a result of a breach of this Agreement or to enjoin any
  breach of this Agreement and (ii) prevails in such action or proceeding, then Optionee will, in
  addition to any other rights and remedies available to the Company, reimburse the Company for
  any and all reasonable costs and expenses (including attorneys’ fees) incurred by the Company in
  connection with such action or proceeding.

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           (i)    Further Acknowledgments. Optionee expressly agrees and acknowledges that the
  restrictions contained in Section 17(f) or Section 17(g) do not preclude Optionee from earning a
  livelihood, nor do they unreasonably impose limitations on Optionee’s ability to earn a living. In
  addition, Optionee agrees and acknowledges that the potential harm to the Company of the non-
  enforcement of Section 17(f) or Section 17(g) outweighs any harm to Optionee of his or her
  enforcement by injunction or otherwise. Optionee acknowledges that Optionee has carefully
  read this Agreement and has given careful consideration to the restraints imposed upon Optionee,
  and is in full accord as to their necessity for the reasonable and proper protection of the
  Confidential Information. Optionee expressly acknowledges and agrees that each and every
  restriction imposed by this Agreement is reasonable with respect to subject matter and time
  period and such restrictions are necessary to protect the Company’s interest in, and value of, the
  Company (including, without limitation, the goodwill inherent therein). Optionee understands
  and agrees that the restrictions and covenants contained in Section 17(f) or Section 17(g) are in
  addition to, and not in lieu of, any non-competition, non-solicitation or other similar obligations
  contained in any other agreements between Optionee and the Company.

  18.    Withholding Taxes. The Optionee hereby agrees, as a condition to the exercise of any
  portion of this Option, to provide to the Company an amount sufficient to satisfy its obligation to
  withhold any federal, state and local taxes arising by reason of such exercise (the “Withholding
  Amount”) by (a) authorizing the Company to withhold the Withholding Amount from his or her
  cash compensation, or (b) remitting the Withholding Amount to the Company in cash; provided,
  however, that to the extent that the Withholding Amount is not provided by one or a combination
  of such methods, the Company in its sole and absolute discretion may refuse to issue such shares
  of Stock.

  19.     Effect Upon Employment. Nothing in this Option or the Plan shall be construed to
  impose any obligation upon the Company or any Subsidiary to employ or retain in its employ, or
  continue its involvement with, the Optionee or interfere in any way with any right of the
  Company or any of its Subsidiaries or affiliates to terminate such employment at any time for
  any reason whatsoever (whether for cause or without cause) without liability to the Company or
  any of its Subsidiaries or affiliates.

  20.      Time for Acceptance. This Option shall be effective as of the date an executed copy is
  delivered by the Company to the Optionee, provided, however, that unless the Optionee shall
  return to the Company an executed copy of this Option Agreement, and, if applicable, an
  executed spousal consent in the form attached hereto as Exhibit B, within fourteen (14) days
  after its delivery to him or her, the Option and this Option Agreement shall be null and void.

  21.     General Provisions.

         (a)     Amendment. This Option Agreement, including the Plan, contains the full and
  complete understanding and agreement of the parties hereto as to the subject matter hereof, and
  except as permitted under the terms of the Plan, this Option Agreement may not be modified or
  amended, nor may any provision hereof be waived, except by a further written agreement duly
  signed by the Company and Optionee. The waiver by either of the parties hereto of any
  provision hereof in any instance shall not operate as a waiver or any other provision hereof or in
  any other instance.

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          (b)    Binding Effect. This Option Agreement shall inure to the benefit of and be
  binding upon the parties hereto and, to the extent provided herein and in the Plan, their respective
  heirs, executors, administrators, representatives, successors and assigns.

         (c)      Option Plan; Construction. The Optionee hereby acknowledges receipt of a copy
  of the Plan. Except as otherwise provided in this Option Agreement, all of the terms and
  conditions of the Plan are incorporated herein by reference and this Option is subject to such
  terms and conditions in all respects. In case of any conflict between the Plan and this Option
  Agreement, this Option Agreement shall control. The titles of the sections of this Option
  Agreement and of the Plan are included for convenience only and shall not be construed as
  modifying or affecting their provisions. The masculine gender shall include both sexes; the
  singular shall include the plural and the plural the singular unless the context otherwise requires.

          (d)      Exclusive Agreement. The Optionee hereby acknowledges and agrees that by
  signing this Option Agreement, the Optionee voluntarily and irrevocably forfeits any and all
  rights, title, and interests the Optionee has or may have had in, to and under (a) any option
  agreement, option letter, or other similar document pursuant to which the Company (or any
  Subsidiary or affiliate thereof) may have previously granted, or offered to grant, options in the
  Company (or any Subsidiary or affiliate thereof) to the Optionee and (b) any oral or written
  commitment or promise regarding options that the Company (or any Subsidiary or affiliate
  thereof) may have made to the Optionee, except as to any options that have been previously
  exercised and paid for by the Optionee.

         (e)    Governing Law. This Option Agreement shall be governed by and construed and
  enforced in accordance with the applicable laws of the State of Delaware (other than the law
  governing conflict of law questions) except to the extent the laws of any other jurisdiction are
  mandatorily applicable.

         (f)     Miscellaneous. For purposes of this Option Agreement, references herein,
  including Section 11 hereof, to the employment or the membership on the Board of Directors of
  the Company or its Subsidiaries to the Separate Property Trust of David A. Belford, dated
  November 13, 2007, shall, mutatis mutandis, be deemed to refer to the membership on the Board
  of Directors of the Company or its Subsidiaries or Termination of David A. Belford.
  Additionally, the obligations of the Separate Property Trust of David A. Belford, dated
  November 13, 2007 pursuant to Section 17 or otherwise under this Option Agreement, shall,
  mutatis mutandis, bind David A. Belford individually.

          (g)     Notices. Any notice, request, instruction or other document to be given hereunder
  by a party hereto shall be in writing and shall be deemed to have been given, (a) when received if
  given in person or by courier or a courier service, (b) on the date of transmission if sent by
  electronic mail (with confirmation of receipt) or (c) five Business Days after being deposited in
  the U.S. mail, certified or registered mail, postage prepaid:

                 To the Optionee:     To his or her address as listed on the books of the Company.

                 To the Company:      American Freight Group, Inc.
                                      c/o The Jordan Company III, L.P.


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                                      399 Park Avenue
                                      30th Floor
                                      New York, New York 10022
                                      Attention:   M. Brad Wilford
                                                   Daniel S. Williams
                                      Email:       bwilford@thejordancompany.com
                                      Email:       dwilliams@thejordancompany.com

                with a copy to:       Mayer Brown LLP
                                      1675 Broadway
                                      New York, New York 10019
                                      Attention: Philip O. Brandes
                                      Email: pbrandes@mayerbrown.com


         (h)     Amendment to the Definition of Cause. Subpart (f) of the definition of Cause, as
  defined in the Option Plan, is hereby amended by inserting the words “other than in connection
  with the Specific Exceptions,” immediately prior to the words “obtaining any personal profit…”.

                                  *       *     *       *      *




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                             AMERICAN FREIGHT GROUP, INC.

                                          SCHEDULE I

                                         Vesting Schedule

  396.8750 shares of Stock subject to this Option (the “Option Shares”) shall vest and be
  exercisable according to the following vesting schedule:

      (a) Forty percent (40%) of the Option Shares shall vest and be exercisable on the second
          (2nd) anniversary of January 28, 2015;

      (b) an additional twenty percent (20%) of the Option Shares shall vest and be exercisable on
          the third (3rd) anniversary of January 28, 2015;

      (c) an additional twenty percent (20%) of the Option Shares shall vest and be exercisable on
          the fourth (4th) anniversary of January 28, 2015; and

      (d) the remaining twenty percent (20%) of the Option Shares shall vest and be exercisable on
          the fifth (5th) anniversary of January 28, 2015.

  Notwithstanding the foregoing, upon a Change in Control, 100% of any then-unvested Option
  Shares shall vest and be exercisable upon such Change in Control.




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                                             EXHIBIT A
                                     (to Stock Option Agreement)

                          FORM FOR EXERCISE OF STOCK OPTION

  American Freight Group, Inc.
  c/o The Jordan Company III, L.P.
  399 Park Avenue
  30th Floor
  New York, New York 10022
  Attention:    M. Brad Wilford
                Daniel S. Williams

                 RE:    Exercise of Option under American Freight Group, Inc.
                        2015 Non-Qualified Stock Option Plan (the “Plan”)

  Ladies and Gentlemen:

          Please take notice that the undersigned hereby elects to exercise the stock option granted
  to                            on                                by and to the extent of purchasing
  _____________ shares of common stock, par value of $0.001 per share (the “Stock”), of
  American Freight Group, Inc. (the “Company”) for the option price of $                   per share,
  subject to the terms and conditions of the Stock Option Agreement between ____________ and
  the Company dated as of ____________ (the “Option Agreement”). Capitalized terms used but
  not defined herein shall have the meanings given to such terms in the Plan.

         The undersigned encloses herewith payment, in cash or in such other property as is
  permitted under the Plan, of the Exercise Payment for said shares and has made a provision with
  the Company for the Withholding Amount.

          In connection with the exercise of the Option, the undersigned represents to the Company
  as follows:

         (a)     The undersigned is acquiring the Stock solely for investment purposes, with no
  present intention of distributing or reselling any of the shares of Stock or any interest therein.
  The undersigned acknowledges that the Stock has not been registered under the Securities Act of
  1933, as amended (the “Securities Act”).

         (b)    The undersigned is aware of the Company’s business affairs and financial
  condition and has acquired sufficient information about the Company to reach an informed and
  knowledgeable decision to acquire the Stock.

          (c)     The undersigned understands that the Stock is a “restricted security” under
  applicable U.S. federal and state securities laws and that, pursuant to these laws, the undersigned
  must hold the Stock indefinitely unless it is registered with the Securities and Exchange
  Commission and qualified by state authorities, or unless an exemption from such registration and
  qualification requirements is available. The undersigned acknowledges that the Company has no
  obligation to register or qualify the Stock for resale. The undersigned further acknowledges that


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  if an exemption from registration or qualification is available, it may be conditioned on various
  requirements including, but not limited to, the time and manner or sale, the holding period for the
  Stock, and requirements relating to the Company which are outside of the undersigned’s control,
  and which the Company is under no obligation to and may not be able to satisfy.

         (d)     The undersigned understands that there is no public market for the Stock, that no
  market may ever develop for the Stock, and that the Stock has not been approved or disapproved
  by the Securities and Exchange Commission or any other federal, state or other governmental
  agency.

          (e)      The undersigned understands that the Stock is subject to certain restrictions on
  transfer set forth in the Plan. Both the Plan and the Option Agreement are incorporated herein by
  reference.

          (f)     The undersigned understands that any Stock purchased hereunder shall be subject
  to the Stockholders’ Agreement of the Company as it may be amended from time to time
  (“Stockholders’ Agreement”), a copy of which has been provided to the undersigned, and that it
  is a condition to the exercise of my Option that the undersigned executes a signature page of the
  Stockholders’ Agreement, agreeing to be bound thereby and that the undersigned’s spouse, if
  applicable, must sign the Spousal Consent. The undersigned and his or her spouse has had a full
  and fair opportunity to review the Stockholders’ Agreement prior to exercising the Option.

          (g)      The undersigned understands that any Stock purchased hereunder shall be subject
  to certain repurchase rights that may cause the Stock to be considered unvested at the time of
  purchase for purposes of Section 83 of the Internal Revenue Code of 1986, as amended (the
  “Code”). If the Stock is considered to be unvested upon purchase under Section 83, the fair
  market value of the Stock generally would be reportable to the Participant on the applicable
  vesting date as ordinary income and subject to tax withholding at that time. Instead, the
  Participant may elect to be taxed on the fair market value of the Stock (less the exercise price) at
  the time of purchase by filing an election under Section 83(b) of the Code with the Internal
  Revenue Service within thirty (30) days after purchase. The undersigned acknowledges and
  agrees that it is his or her personal responsibility to determine whether or not to make a Section
  83(b) election and if such election is filed, the undersigned shall provide the Company with a
  copy of the election form filed with the Internal Revenue Service.

                                              Very truly yours,
  Date ______________________

                                              _______________________________________
                                              (Signed by               or other party duly
                                              exercising option)


  Note: If Options are being exercised on behalf of a deceased Optionee, then this Notice must be
  signed by such Optionee’s personal representative and must be accompanied by a certificate
  issued by an appropriate authority evidencing that the individual signing this Notice has been




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  duly appointed and is currently serving as the Optionee’s personal representative under
  applicable local law governing decedents’ estates.




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                                            EXHIBIT B
                                    (to Stock Option Agreement)

                                FORM OF SPOUSAL CONSENT

          I acknowledge that I have read the foregoing Stock Option Agreement and that I know its
  contents. I acknowledge and agree that capitalized terms used and not defined in this spousal
  consent shall have the meanings ascribed to such terms in the Stock Option Agreement. I am
  aware that by the provisions of the Stock Option Agreement, my spouse agrees, among other
  things, to the granting of rights to purchase and to the imposition of certain restrictions on the
  transfer of Optionee Securities, including my community interest therein (if any), which rights
  and restrictions may survive my spouse’s death. I hereby consent to such rights and restrictions,
  approve of the provisions of the Stock Option Agreement, and agree that I will bequeath any
  interest which I may have in said Optionee Securities or any of them, including my community
  interest, if any, or permit any such interest to be purchased, in a manner consistent with the
  provisions of the Stock Option Agreement. I direct that any residuary clause in my will not be
  deemed to apply to my community interest (if any) in such Optionee Securities except to the
  extent consistent with the provisions of the Stock Option Agreement.

          I further agree that in the event of a dissolution of the marriage between myself and my
  spouse, in connection with which I secure or am awarded any Optionee Securities or any interest
  therein through property settlement agreement or otherwise, (a) I will receive and hold said
  Optionee Securities subject to all the provisions and restrictions contained in the Stock Option
  Agreement, including any option of the Company, Resolute or other stockholder or optionholder
  to purchase such shares or interest from me, and (b) I hereby irrevocably constitute and appoint
  my spouse, as true and lawful attorney and proxy (the “Proxy”) of my Optionee Securities with
  full power of substitution, to vote (at any annual or special meeting or by written consent) such
  Optionee Securities which I would be entitled to vote as a stockholder, together with any and all
  Optionee Securities issued in replacement or in respect of such Optionee Securities by dividend,
  distribution, stock split, reorganization, recapitalization or otherwise.

         I also acknowledge that I have been advised to obtain independent counsel to represent
  my interests with respect to this spousal consent.

  Date: __________                             ______________________________________
                                               Name of Spouse:   ____________________


                                               Name of Optionee:     ____________________




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                                             EXHIBIT C

                            FORM OF THREE YEAR JUNIOR NOTE

  THIS NOTE HAS NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS
  AMENDED, OR ANY APPLICABLE STATE SECURITIES LAWS AND ACCORDINGLY
  MAY NOT BE SOLD, TRANSFERRED OR OTHERWISE DISPOSED OF IN THE
  ABSENCE OF AN EFFECTIVE REGISTRATION STATEMENT UNDER SAID ACT OR
  LAWS OR PURSUANT TO AN EXEMPTION THEREFROM. THE PRINCIPAL AMOUNT
  OF THIS NOTE, AND INTEREST IN RESPECT THEREOF, IS SUBORDINATED TO THE
  PAYMENT IN FULL OF ALL SENIOR INDEBTEDNESS AND IS SUBJECT TO SET-OFF,
  AS DESCRIBED IN THIS NOTE.


                               AMERICAN FREIGHT GROUP, INC.

              NON-NEGOTIABLE THREE YEAR JUNIOR SUBORDINATED NOTE
                               DUE _________, _____

                                                                               New York, New York
  [$ ___________]                                                                    ____ ___, ___


          FOR VALUE RECEIVED, the undersigned, American Freight Group, Inc., a Delaware
  corporation (together with its successors, the “Company”), hereby promises to pay to
  _______________________ (together with its successors and permitted assigns, the “Holder”),
  at the Holder’s residence at __________________________________, the principal amount of
  _______________________ ($_________) on the Maturity Date. Certain capitalized terms are
  used in this Note are as defined in Section 6.

          Section 1. Payment; Interest.

          1.1     The outstanding principal amount of this Note shall bear interest (computed on
  the basis of a 365 day year, as the case may be) accruing daily at a rate equal to five percent (5%)
  per annum from (but excluding) the date hereof to (and including) the date on which the
  principal amount of this Note is paid in full, regardless of the commencement of any bankruptcy
  or insolvency proceedings against the Company. Subject to Section 5 of this Note, such interest
  shall be payable on the Maturity Date.

          1.2    Whenever payment of principal of, or interest on, this Note shall be due on a date
  that is not a Business Day, the date for payment thereof shall be the next succeeding Business
  Day and interest due on the unpaid principal and any other Amounts Payable hereunder shall
  accrue during such extension and shall be payable on such succeeding Business Day.




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         Section 2. Optional Prepayment. The Company shall have the right to prepay the
  principal amount of this Note in whole or in part at any time, or from time to time, without
  payment of any premium or penalty whatsoever, together with interest thereon accrued to the
  date of prepayment; provided, however, that so long as (a) any Senior Indebtedness remains
  outstanding and unpaid, (b) any commitment to provide Senior Indebtedness is outstanding, or
  (c) any other amount is owing to the holders of Senior Indebtedness, this Note may not be
  prepaid, in whole or in part, without the consent of, or written waiver of, any relevant
  prohibitions by the holders of Senior Indebtedness.

          Section 3. Set-off. The Company shall be entitled to set-off and reduce any Amounts
  Payable hereunder for (a) any obligations or liabilities of the Holder to the Company or its
  Subsidiaries or (b) any claims by the Company or its Subsidiaries against the Holder under the
  Stockholders Agreement, or any other agreement, written or oral, between the Company or its
  Subsidiaries and the Holder. The Holder, by accepting this Note, hereby acknowledges and
  agrees to the foregoing provisions, and any subsequent transferee or successor shall be bound by
  the foregoing.

          Section 4. Defaults.

          4.1    Events of Default. If one or more of the following events (“Events of Default”)
  shall have occurred and be continuing:

          (a)    the Company shall fail to pay within ten (10) Business Days of the due date
  thereof any principal of this Note or shall fail to pay within ten Business Days of the due date
  thereof any interest or any other amount payable hereunder and the same shall not have been
  cured within forty-five (45) days after written notice thereof has been given by the Holder to the
  Company;

         (b)     the Company shall fail to observe or perform any covenant or agreement
  contained in this Note (other than those covered by clause (a) above) and the same shall not have
  been cured within sixty (60) days after written notice thereof has been given by the Holder to the
  Company;

          (c)     the Company shall commence a voluntary case or other proceeding seeking
  liquidation, reorganization or other relief with respect to itself or its debts under any bankruptcy,
  insolvency or other similar law now or hereafter in effect or seeking the appointment of a trustee,
  receiver, liquidator, custodian or other similar official, or shall consent to any such relief or to
  the appointment of or taking possession by any such official in an involuntary case or other
  proceeding commenced against it, or shall make a general assignment for the benefit of creditors;
  or

          (d)     an involuntary case or other proceeding shall be commenced against the Company
  seeking liquidation, reorganization or other relief with respect to it or its debts under any
  bankruptcy, insolvency or other similar law now or hereafter in effect or seeking the appointment
  of a trustee, receiver, liquidator, custodian or other similar official, and such involuntary case or
  other proceeding shall remain undismissed and unstayed for a period of sixty (60) days; or an



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  order for relief shall be entered against the Company under the Federal bankruptcy laws as now
  or hereafter in effect;

  then, and in every such event, subject to the provisions of Section 5, the Holder may, by notice to
  the Company and to the holders of Senior Indebtedness, declare the unpaid principal amount of
  this Note together with accrued interest thereon, to be, and such portions of this Note (and
  accrued interest thereon) shall thereupon become, due and payable immediately following
  delivery of such notice to the Company and to the holders of Senior Indebtedness without
  presentment, demand, protest or further notice of any kind, all of which are hereby waived by the
  Company; provided, however, that in the case of any of the Events of Default specified in clause
  (c) or (d) above, such portions of this Note (together with accrued interest thereon) shall, subject
  to the provisions of Section 5, immediately (and without notice) become due and payable
  without presentment, demand, protest or notice of any kind, all of which are hereby waived by
  the Company.

          Section 5. Subordination.

          5.1     Amounts Payable Subordinated to Senior Indebtedness. Notwithstanding any
  provision of this Note to the contrary, the Company covenants and agrees, and the Holder by
  acceptance of this Note likewise covenants and agrees, that all Amounts Payable shall be
  subordinated to the extent set forth in this Section 5 to the prior payment in full in cash of all
  Senior Indebtedness. This Section 5 shall constitute a continuing offer to and covenant with all
  persons who become holders of, or continue to hold, Senior Indebtedness (irrespective of
  whether such Senior Indebtedness was created or acquired before or after the issuance of this
  Note). The provisions of this Section 5 are made for the benefit of all present and future holders
  of Senior Indebtedness (and their successors and assigns), and shall be enforceable by them
  directly against the Holder.

          5.2    Priority Over and Payment of Proceeds in Certain Events.

          (a)     Upon any payment by or on behalf of the Company or distribution of assets of the
  Company, whether in cash, property, securities or otherwise, in the event of any dissolution,
  winding up or total or partial liquidation, reorganization, arrangement, adjustment, protection,
  relief or composition, or assignment for the benefit of creditors of the Company, whether
  voluntary or involuntary or in bankruptcy, insolvency, receivership, reorganization, relief or
  other proceedings or upon an assignment for the benefit of creditors or any other marshalling of
  all or part of the assets and liabilities of the Company (the foregoing events herein collectively
  referred to as an “Insolvency Event”), all Senior Indebtedness shall first be paid in full in cash
  before the Holder shall be entitled to receive any payment by or on behalf of the Company or
  distribution of assets of the Company relating to any Amounts Payable. Upon any Insolvency
  Event, any payment by or on behalf of the Company or distribution of assets of the Company,
  whether in cash, property, securities or otherwise, to which the Holder would be entitled relating
  to any Amounts Payable, except for the provisions of this Section 5, shall, until payment in full
  in cash of all Senior Indebtedness (including from any concurrent payment or distribution to the
  holders of such Senior Indebtedness), be made by the Company or by any receiver, trustee in
  bankruptcy, liquidating trustee, agent or other person making such payment or distribution,



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  directly to the holders of the Senior Indebtedness or their representatives for application to the
  payment or prepayment of all such Senior Indebtedness.

          If the Senior Indebtedness has not been paid in full in cash at a time in which the
  Company is subject to an Insolvency Event, (i) the holders of the Senior Indebtedness are hereby
  irrevocably authorized, but shall have no obligation, to demand, sue for, collect and receive
  every payment or distribution received on or after the Insolvency Event or to be received in
  respect of this Note (regardless of when originally due) in any insolvency proceeding and give
  acquittance therefor and to file claims and proofs of claim, as their interests may appear, and (ii)
  the Holder shall duly and promptly take, for the account of the holders of the Senior
  Indebtedness, as their interests may appear, such actions as the holders of the Senior
  Indebtedness may request to collect and receive all Amounts Payable by the Company in respect
  of this Note and to file appropriate claims or proofs of claim in respect of this Note.

           (b)    No payment shall be made by or on behalf of the Company with respect to any
  Amounts Payable or to acquire this Note (or any portion hereof) for cash, property, securities or
  otherwise, and, by virtue of accepting this Note and the benefits hereof, the Holder shall not be
  entitled, and will not take any action, including any judicial process, to accelerate, demand
  payment or enforce any Indebtedness in respect of this Note or any other claim with regard to
  any Amounts Payable if (i) such payment is prohibited by the terms of any Senior Indebtedness,
  (ii) there has occurred and is continuing a default in the payment of all or any portion of any
  Senior Indebtedness, it being understood that for purposes of this clause (ii), any payment of
  interest accrued on any Senior Indebtedness which is paid, in lieu of cash, with the issuance of a
  payment-in-kind obligation, shall be deemed to continue to be unpaid until such payment-in-kind
  obligation (and all interest accrued thereon) shall have been paid in full or (iii) any other default
  (not involving the non-payment of any Senior Indebtedness) shall have occurred which,
  including after giving any notice or the passage of time, or both, would allow holders of any
  Senior Indebtedness to accelerate or otherwise demand the payment thereof, and in the case of a
  default described in clause (iii), the holders of the Senior Indebtedness have, to the extent
  required under the documents evidencing the Senior Indebtedness given notice of such default to
  the Company (the date that such notice is received by the Company is the “Notice Date”);
  provided that such restrictions on actions, including judicial process, to accelerate, demand
  payment or enforce any such Indebtedness on claim will cease to be applicable twenty-four (24)
  months after the occurrence and continuation of an Event of Default of the types referred to in
  Section 4.1(a) or (b). The Company shall promptly give written notice to the Holder of any
  written notice of default under the Senior Indebtedness.

         (c)    In the event of all or any portion of the principal amount of this Note becoming
  due before the Maturity Date (whether by declaration or otherwise), no payment shall be made
  by or on behalf of the Company on or with respect to any Amounts Payable or to acquire this
  Note (or any portion thereof) for cash, property, securities or otherwise until all Senior
  Indebtedness shall first have been paid in full in cash.

         (d)    If, notwithstanding the foregoing provisions of clauses (a) through (c) prohibiting
  payments or distributions, the Holder shall, on or after the Notice Date or the occurrence of any
  Insolvency Event, have received, directly or indirectly, by setoff, redemption, purchase or in any
  other manner, any payment of, or on account of, any Amounts Payable that was prohibited by

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  this Section 5, before all Senior Indebtedness shall have been paid in full in cash, then and in
  such event such payments or distributions shall be received and held in trust for the holders of
  the Senior Indebtedness and promptly paid over or delivered to the holders of the Senior
  Indebtedness remaining unpaid to the extent necessary to pay in full in cash such Senior
  Indebtedness in accordance with its terms after giving effect to any concurrent payment or
  distribution to the holders of such Senior Indebtedness, provided that any such payment which is,
  for any reason, not so paid over or delivered shall be held in trust by the Holder for the holders of
  Senior Indebtedness.

         (e)    So long as any Senior Indebtedness remains outstanding, or the commitment to
  make credit extensions of any Senior Indebtedness shall not have been terminated, the Holder
  will not be entitled to take, demand or receive, directly or indirectly, by setoff, redemption,
  purchase or in any other manner, any voluntary prepayment or other payment of any Amounts
  Payable in amounts or in a manner which are in violation of the provisions of this Section 5.

          (f)    Upon any payment or distribution of assets referred to in clause (a) above, the
  Holder shall be entitled to rely upon any order or decree of a court of competent jurisdiction in
  which such dissolution, winding up, liquidation or reorganization proceedings are pending, and
  upon a certificate of the receiver, trustee in bankruptcy, liquidating trustee, agent or other person
  making any such payment or distribution of assets, delivered to the Holder for the purpose of
  ascertaining the persons entitled to participate in such distribution of assets, the holders of Senior
  Indebtedness and other Indebtedness of the Company, the amount thereof or payable thereon, the
  amount or amounts paid or distributed thereon and all other facts pertinent thereto or to this
  Section 5.

          5.3    Rights of Holders of Senior Indebtedness Not To Be Impaired, etc.

         (a)     No right of any present or future holder of any Senior Indebtedness to enforce the
  subordination and other terms and conditions provided herein shall at any time in any way be
  prejudiced or impaired by any act or failure to act by any such holder, or by any noncompliance
  by the Company with the terms and provisions and covenants herein regardless of any
  knowledge thereof any such holder may have or otherwise be charged with.

          (b)    This Section 5 may not be amended without the written consent of each holder of
  the Senior Indebtedness and of the Holder, and any purported amendment without such consent
  shall be void. No holder of Senior Indebtedness shall be prejudiced in such holder’s right to
  enforce the subordination and other terms and conditions of this Note by any act or failure to act
  by the Company or anyone in custody of its assets or property.

           5.4    Subrogation. Subject to and upon the payment in full in cash of all Senior
  Indebtedness, the Holder shall be subrogated, to the extent of payments or distributions made to
  the holders of Senior Indebtedness pursuant to or by reason of this Section 5, to the rights of the
  holders of such Senior Indebtedness to receive payments or distributions of assets of the
  Company made on such Senior Indebtedness until all amounts due under this Note shall be paid
  in full; and for the purposes of such subrogation, no payments or distributions to holders of such
  Senior Indebtedness of any cash, property or securities to which the Holder would be entitled
  except for the provisions of this Section 5, and no payment over pursuant to the provisions of this


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  Section 5 to holders of such Senior Indebtedness by the Holder, shall, as among the Company, its
  creditors (other than holders of such Senior Indebtedness) and the Holder be deemed to be a
  payment by the Company to or on account of such Senior Indebtedness, it being understood that
  the provisions of this Section 5 are solely for the purpose of defining the relative rights of the
  holders of such Senior Indebtedness, on the one hand, and the Holder, on the other hand.

          5.5     Obligations of the Company Unconditional. Nothing contained in this Note is
  intended to or shall impair, as between the Company and the Holder, the obligation of the
  Company, which is absolute and unconditional, to pay to the Holder all Amounts Payable, as and
  when the same shall become due and payable in accordance with their terms, or to affect the
  relative rights of the Holder and other creditors of the Company (other than the holders of Senior
  Indebtedness), except as provided in Section 5.2(b).

         5.6     Section 5 Not To Prevent Events of Default. The failure to make a payment of
  any Amounts Payable by reason of any provision of this Section 5 shall not be construed as
  preventing the occurrence or consequences of an Event of Default under Section 4.1 hereof,
  except as provided in Section 5.2(b).

         5.7      Additional Rights of Holders of Senior Indebtedness. Upon request by the
  Company, the Holder of this Note shall deliver to the holders of Senior Indebtedness or parties
  contemplating becoming holders of Senior Indebtedness a written statement confirming that (a)
  the provisions (including those of this Section 5) of this Note are in full force and effect; and (b)
  such party is or will be entitled to rely upon and enjoy the benefits of the provisions (including
  those of this Section 5) of this Note as a holder of Senior Indebtedness.

          5.8    Senior Indebtedness Changes. By virtue of accepting this Note and the benefits
  hereof, the Holder hereby waives any and all notice of renewal, extension or accrual of any of
  the Senior Indebtedness, present or future, and agrees and consents that without notice to or
  consent of the Holder:

         (a)     the obligations and liabilities of the Company or any other party or parties under
  the Senior Indebtedness may, from time to time, in whole or in part, be renewed, refinanced,
  replaced, extended, refunded, modified, amended, accelerated, compromised, supplemented,
  terminated, increased, decreased, sold, exchanged, waived or released;

          (b)     the holders of Senior Indebtedness and their representatives may exercise or
  refrain from exercising any right, remedy or power granted by any document creating,
  evidencing or otherwise related to the Senior Indebtedness or granted at law, in equity, or
  otherwise, with respect to the Senior Indebtedness or in connection with any collateral security
  or lien (legal or equitable) held, given or intended to be given therefor (including, without
  limitation, the right to perfect any lien or security interest created in connection therewith);

          (c)    any and all collateral security and/or liens (legal or equitable) at any time, present
  or future, held, given or intended to be given for the Senior Indebtedness, and any rights or
  remedies of the holders of Senior Indebtedness and their representatives in respect thereof, may,
  from time to time, in whole or in part, be exchanged, sold, surrendered, released, modified,
  perfected, unperfected, waived or extended by the Holders and their representatives;


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          (d)    any balance or balances of funds with any holder of Senior Indebtedness at any
  time standing to the credit of the Company or any guarantor of any of the Senior Indebtedness
  may, from time to time, in whole or in part, be surrendered or released; all as the holders of
  Senior Indebtedness, their representatives or any of them may deem advisable and all without
  impairing, abridging, diminishing, releasing or affecting the subordination to the Senior
  Indebtedness provided for herein; and

         (e)     the Company may incur any amount or type of Senior Indebtedness (including
  Senior Indebtedness owed to Affiliates), or modify, restate, refinance, replace or amend any
  Senior Indebtedness from time to time, on terms and conditions acceptable to the Company,
  without notice to or approval by the Holder. The Company shall deliver written notice to the
  Holder of all actions by the holders of Senior Indebtedness to accelerate payment of, or to
  exercise any other rights, remedies or powers under, the Senior Indebtedness.

          5.9     Waivers. In the event the holders of Senior Indebtedness elect to exercise their
  remedies to liquidate any collateral given to secure the Senior Indebtedness, the Holder hereby
  waives any right it may have to contest the validity of or the value obtained as a result of the
  holders of Senior Indebtedness exercise of their remedies, including, but not limited to, a
  foreclosure, a sale pursuant to the Uniform Commercial Code or the acceptance by the holders of
  Senior Indebtedness in lieu of foreclosure. The Holder further waives any right it may have
  either in or out of any bankruptcy or similar proceeding to challenge any action taken by the
  holders of Senior Indebtedness as either a preference or fraudulent conveyance and further
  agrees not to take any active role in such a proceeding other than the filing of a claim in any such
  proceeding, which claim shall be subordinate (to the extent set forth above) to the claims of the
  holders of Senior Indebtedness.

          Section 6. Definitions. For purposes of this Note, the following terms have the meanings
  set forth below.

          “Affiliates” means the Company, The Resolute Fund III, L.P., and any other person that
  directly, or indirectly through one or more intermediaries, controls or is controlled by or is under
  common control with any of them.

         “Amounts Payable” means all principal of, interest on, premium, if any, fees, costs,
  expenses, indemnities or any other amounts due from the Company under this Note, and all
  claims against or liabilities of the Company in respect of this Note.

       “Business Day” means any day except a Saturday, Sunday or other days on which
  commercial banks in New York City are required or authorized by law to close.

          “Default” means any condition or event that constitutes an Event of Default or that with
  notice or lapse of time or both would, unless cured or waived, become an Event of Default.

          “Indebtedness” means with respect to any Person, and without duplication: (i) any
  obligation of such Person for borrowed money; (ii) all capitalized lease obligations of such
  Person; (iii) indebtedness evidenced by any note, bond, debenture, mortgage or other debt
  instrument or debt security; (iv) any payment obligation under any existing interest rate, foreign
  exchange, commodity or other swap, hedge, or other financial derivative instruments or

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  agreement entered into by such Person, unless extended by mutual agreement; (v) to the extent
  drawn or called upon and not reimbursed, all letters of credit, performance bonds, bankers
  acceptances or similar obligations of such Person or incurred in connection with performance
  guaranties related to insurance obligations (including letters of credit supporting insurance
  policies for worker’s compensation); (vi) whether or not so included as liabilities in accordance
  with GAAP, all indebtedness or obligations of the types referred to in the preceding clauses (i)
  through (vi) of any other Person secured by any Lien on any assets owned or purchased by such
  Person (including Indebtedness arising under conditional sales or other title retention
  agreements), even though (x) such Person has not assumed or otherwise become liable for the
  payment thereof or (y) such Indebtedness is limited in recourse; (vii) all asset financing
  obligations of such Person, to the extent capitalized on the balance sheet of such Person; (viii) all
  amounts owing for the deferred purchase price of acquisitions, whether or not reflected on the
  face of the audited balance sheet of the Company, including all amounts owing for earnouts,
  purchase price adjustments, non-competition payments and similar obligations in respect of past
  acquisitions; (ix) the amount of any guarantees of Indebtedness of the type described in clauses
  (i) through (viii) above of any other Person; and (x) any unpaid interest, fees (whether accrued or
  otherwise), prepayment premiums or penalties, make-whole payments, breakage costs,
  indemnities, expenses and other obligations or amounts owing on or in respect of any such
  indebtedness described in clauses (a) through (ix) above. Indebtedness owed to Affiliates will be
  Indebtedness for purposes of this Note.

          “Maturity Date” means the third anniversary of the issuance of this Note.

          “Note” means this Non-Negotiable Three Year Junior Subordinated Note.

           “Senior Indebtedness” means the principal, interest (including interest accruing
  subsequent to the commencement of a proceeding specified in Sections 4.1(c) and 4.1(d),
  whether or not enforceable in such proceeding) on, premium, if any, fees (including, without
  limitation, any attorneys’, commitment, agency, facility, structuring, restructuring or other fee),
  costs, expenses, indemnities, and other amounts due on or in connection with any Indebtedness
  of the Company and its Subsidiaries, and any refinancings, extensions or replacements of the
  foregoing Indebtedness, now or hereafter incurred, any documents executed under or in
  connection therewith, and any amendments, modifications, deferrals, renewals or extensions of
  such Indebtedness, and any amounts owed in respect of any Indebtedness incurred in
  refinancing, replacing or refunding the foregoing (including any refinancing, replacing or
  refunding with new lenders), unless the terms of such Indebtedness expressly provide that such
  Indebtedness is not Senior Indebtedness with respect to this Note. Nothing in this Note shall
  restrict an Affiliate of the Company from being a holder of Senior Indebtedness.

          “Stockholders’ Agreement” means the Stockholders’ Agreement, dated as of October 31,
  2014, among the Company, the Holder and the other Stockholders listed on the signature pages
  thereto.

         “Subsidiary” of a person means any corporation or other entity of which securities or
  other ownership interests having ordinary voting power to elect a majority of the Board of
  Directors or other persons performing similar functions are at the time directly or indirectly
  owned by such person.

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          Section 7. Miscellaneous.

          7.1    Notices. All notices, requests and other communications to any party hereunder
  shall be in writing and shall be either personally delivered, sent by reputable overnight courier
  service, sent by PDF attachment to email (in such cases by PDF attachment, with hard copy to
  follow) or mailed by first class mail, return receipt requested, to the following address (or at any
  other address as any party shall have specified by notice in writing to the other party):

          If to the Company:

                 American Freight Group, Inc.
                 c/o The Jordan Company III, L.P.
                 399 Park Avenue, 30th floor
                 New York, New York 10022
                 Attention:    M. Brad Wilford
                               Daniel S. Williams
                 Email:        bwilford@thejordancompany.com
                               dwilliams@thejordancompany.com

          with a copy to:

                 Mayer Brown LLP
                 1675 Broadway
                 New York, New York 10019
                 Attention:  Philip O. Brandes
                 Email:      pbrandes@mayerbrown.com

                 If to the Holder, to:

                 ________________________
                 ________________________
                 ________________________

  Each party may, by notice given in accordance with this Section to the other party, designate
  another address or person for receipt of notices hereunder.

  The date of such notice shall be (w) the date such notice is personally delivered, (x) three
  business days after the date of mailing if sent by certified or registered mail, (y) one business day
  after the date of delivery to the overnight courier if sent by overnight courier or (z) the next
  succeeding business day after transmission by email.

          7.2     No Waivers. No failure or delay by the Holder in exercising any right, power or
  privilege hereunder or under this Note shall operate as a waiver thereof nor shall any single or
  partial exercise thereof preclude any other or further exercise thereof or the exercise of any other
  right, power or privilege. The rights and remedies herein provided shall be cumulative and not
  exclusive of any rights or remedies provided by law. No notice to or demand on the Company in
  any case shall entitle the Company to any other or further notice or demand in related or similar
  circumstances requiring such notice.

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         7.3    Amendments and Waivers. Except as expressly set forth in this Note (including
  Section 5.3(b)), any provision of this Note may be amended or waived if, but only if, such
  amendment or waiver is in writing, signed by the Company and the Holder.

         7.4    Rights of Parties. This Note is delivered pursuant to the terms and conditions of
  the Stockholders Agreement and is subject to the terms thereof.

          7.5    Restrictions on Transfer. This Note may not be sold, pledged, distributed, offered
  for sale, or otherwise transferred by the Holder to any transferee other than to a Permitted
  Transferee (as defined in the Stockholders Agreement).

          7.6     Binding Effect. The provisions of this Note shall be binding upon and inure to the
  benefit of the Holder and its respective successors and permitted assigns.

           7.7     Replacement Note. Upon receipt of evidence reasonably satisfactory to the
  Company of the loss, theft, destruction or mutilation of this Note and of a letter of indemnity
  reasonably satisfactory to the Company from the Holder and upon reimbursement to the
  Company of all reasonable expenses incident thereto, and upon surrender or cancellation of this
  Note, if mutilated, the Company will make and deliver a new Note of like tenor in lieu of such
  lost, stolen, destroyed or mutilated Note.

           7.8     Company Obligations. The Holder agrees and acknowledges that this Note and
  the Company’s obligations hereunder and for all Amounts Payable are solely obligations and
  liabilities of the Company. None of the Company’s directors, officers, employees, stockholders,
  advisors, consultants and affiliates or any other persons shall be obligated or liable in respect of
  this Note or any Amounts Payable, and the Holder hereby releases them from any such
  obligation or liability.

          7.9     Cross-References; Headings. Unless otherwise specified, references in this Note
  to any Section are references to such Section of this Note, and unless otherwise specified,
  references in any Section to any clause are references to such clause of such Section. The
  various headings of this Note are inserted for convenience only and shall not affect the meaning
  or interpretation of this Note or any provisions hereof.

       7.10 CHOICE OF LAW; LITIGATION. (a) THIS NOTE SHALL BE GOVERNED
  BY, CONSTRUED, APPLIED AND ENFORCED IN ACCORDANCE WITH THE
  INTERNAL LAWS OF THE STATE OF DELAWARE. THE CHOICE OF FORUM SET
  FORTH IN THIS SECTION 7.10 SHALL NOT BE DEEMED TO PRECLUDE THE
  ENFORCEMENT OF ANY JUDGMENT OF A DELAWARE FEDERAL OR STATE COURT,
  OR THE TAKING OF ANY ACTION UNDER THIS AGREEMENT TO ENFORCE SUCH A
  JUDGMENT, IN ANY OTHER APPROPRIATE JURISDICTION.

        (b) IN THE EVENT ANY PARTY TO THIS AGREEMENT COMMENCES ANY
  LITIGATION, PROCEEDING OR OTHER LEGAL ACTION IN CONNECTION WITH OR
  RELATING TO THIS NOTE, THE HOLDER AND THE COMPANY HEREBY (1) AGREE
  UNDER ALL CIRCUMSTANCES ABSOLUTELY AND IRREVOCABLY TO INSTITUTE
  ANY LITIGATION, PROCEEDING OR OTHER LEGAL ACTION IN A COURT OF
  COMPETENT JURISDICTION LOCATED WITHIN THE STATE OF DELAWARE,

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  WHETHER A STATE OR FEDERAL COURT; (2) AGREE THAT IN THE EVENT OF ANY
  SUCH LITIGATION, PROCEEDING OR ACTION, THE HOLDER AND THE COMPANY
  WILL CONSENT AND SUBMIT TO THE PERSONAL JURISDICTION OF ANY SUCH
  COURT DESCRIBED IN CLAUSE (1) OF THIS SECTION AND TO SERVICE OF
  PROCESS UPON THEM IN ACCORDANCE WITH THE RULES AND STATUTES
  GOVERNING SERVICE OF PROCESS (IT BEING UNDERSTOOD THAT NOTHING IN
  THIS SECTION SHALL BE DEEMED TO PREVENT THE HOLDER OR THE COMPANY
  FROM SEEKING TO REMOVE ANY ACTION TO A FEDERAL COURT IN THE STATE
  OF DELAWARE; (3) AGREE TO WAIVE TO THE FULL EXTENT PERMITTED BY LAW
  ANY OBJECTION THAT THEY MAY NOW OR HEREAFTER HAVE TO THE VENUE OF
  ANY SUCH LITIGATION, PROCEEDING OR ACTION IN ANY SUCH COURT OR THAT
  ANY SUCH LITIGATION, PROCEEDING OR ACTION WAS BROUGHT IN ANY
  INCONVENIENT FORUM; (4) AGREE, AFTER CONSULTATION WITH COUNSEL, TO
  WAIVE ANY RIGHTS TO A JURY TRIAL TO RESOLVE ANY DISPUTES OR CLAIMS
  RELATING TO THIS NOTE; (5) AGREE TO DESIGNATE, APPOINT AND DIRECT AN
  AUTHORIZED AGENT TO RECEIVE ON ITS BEHALF SERVICE OF ANY AND ALL
  PROCESS AND DOCUMENTS IN ANY LEGAL PROCEEDING IN THE STATE OF
  DELAWARE; (6) AGREE TO PROVIDE EACH OTHER WITH THE NAME, THE MAILING
  ADDRESS AND EMAIL ADDRESS OF SUCH AGENT; (7) AGREE AS AN ALTERNATIVE
  METHOD OF SERVICE TO SERVICE OF PROCESS IN ANY LEGAL PROCEEDING BY
  MAILING OF COPIES THEREOF TO IT AT ITS ADDRESS SET FORTH HEREIN FOR
  COMMUNICATIONS TO IT; (8) AGREE THAT ANY SERVICE MADE AS PROVIDED
  HEREIN SHALL BE EFFECTIVE AND BINDING SERVICE IN EVERY RESPECT; AND
  (9) AGREE THAT NOTHING HEREIN SHALL AFFECT THE RIGHTS OF THE HOLDER
  OR THE COMPANY TO EFFECT SERVICE OF PROCESS IN ANY OTHER MANNER
  PERMITTED BY LAW.




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                   IN WITNESS WHEREOF, the Company has executed and delivered this Note on
  the date first above written.


                                          AMERICAN FREIGHT GROUP, INC.


                                          By:
                                                Name:
                                                Title:




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                           EXHIBIT 3
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                                 AMERICAN FREIGHT GROUP, INC.

                                       _____________________


                                 Non-Qualified Stock Option Agreement

                                        Option Agreement No. 4

                                       _____________________

          Subject to the terms and conditions set forth herein and the terms and conditions of the
  American Freight Group, Inc. 2015 Non-Qualified Stock Option Plan (the “Plan”) (with
  capitalized terms used but not defined herein having the meanings given to them in the Plan),
  American Freight Group, Inc., a Delaware corporation (the “Company” which term shall include,
  unless the context otherwise clearly requires, all Subsidiaries (as defined in the Plan) of the
  Company), hereby grants the following option to purchase shares of common stock, par value of
  $0.001 per share, of the Company (the “Stock”) to the Optionee, and the Optionee hereby
  accepts such grant and agrees to be bound by the terms and conditions hereinafter set forth:

  1.      Name of Person to Whom the Option is Granted (the “Optionee”): Asaph Rink

  2.      Date of Grant of Option: January 28, 2015

  3.      An Option to acquire 476.2500 shares of Stock.

  4.      Option Exercise Price (per share of Stock): $1,000 (the “Exercise Price”).

  5.          Term of Option:      Subject to earlier termination under Section 9 below, this Option
                                   expires at 5:00 p.m. local New York, New York time on
                                   January 28, 2025.

  6.          Vesting/Exercise     Subject to the provisions of Section 9 below, this Option shall
              Schedule:            vest and become exercisable with respect to the number of shares
                                   of Stock upon the passage of certain time, as shown on Schedule I
                                   attached hereto and incorporated herein.




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  7.      Grant. The Company hereby grants to the Optionee a stock option (the “Option”) to
  purchase from the Company the number of shares of Stock set forth in Section 3 on the first page
  of this Option, upon the terms and conditions set forth in the Plan and upon the additional terms
  and conditions contained herein. This Option is a non-qualified stock option and is not intended
  to qualify as an “incentive stock option” pursuant to Section 422 of the Internal Revenue Code of
  1986, as amended (the “Code”).

  8.      Option Price. To the extent vested, this Option may be exercised at the exercise price per
  share of Stock set forth in Section 4 on the first page hereof, subject to adjustment as provided
  herein and in the Plan.

  9.      Term and Exercisability of Option.

          (a)    This Option shall expire on the earlier of (a) the date determined pursuant to
  Section 5 on the first page of this Option and (b) the date determined pursuant to Sections 11 and
  15(d) of the Plan, and shall be exercisable in accordance with and subject to the terms and
  conditions set forth in the Plan (including but not limited to Section 11 of the Plan) and those
  terms and conditions, if any, set forth in Section 6 on the first page of this Option.
  Notwithstanding anything to the contrary contained herein, vesting shall cease immediately upon
  termination of employment or other engagement for any reason, and any portion of this Option
  that has not vested on or prior to the date of such termination is forfeited on such date. If the
  Optionee dies before this Option has been exercised in full, the personal representative of the
  Optionee may exercise this Option in accordance with the Plan.

          (b)     Notwithstanding anything contained in the Plan or this Option Agreement to the
  contrary (i) to the extent that any of the payments and benefits provided for under the Plan, this
  Option Agreement or any other agreement or arrangement (including payments contingent upon
  the occurrence of a Change in Control) between the Company or any of its Subsidiaries and
  Optionee (collectively, the “Payments”) would constitute a “parachute payment” within the
  meaning of Section 280G of the Code, then the Company and its Subsidiaries shall each use
  commercially reasonable efforts to obtain the stockholder consent required to approve of such
  Payment to preclude such Payment from being subject to the excise tax imposed pursuant to
  Section 4999 of the Code (the “Excise Tax”); provided, however, that in such event the Optionee
  shall reasonably cooperate with the Company and shall take all actions and execute such
  documents and instruments as shall be reasonably necessary to accomplish such preclusion of the
  Excise Tax. In the event that (a) the stockholder consent is not obtained or (b) the Optionee does
  not take the actions set forth in the proviso to the foregoing sentence, the amount of the
  Payments shall be reduced to the amount that would result in no portion of the Payments being
  subject to the Excise Tax.

  10.     Method of Exercise. To the extent that the right to purchase shares of Stock has vested
  hereunder, this Option may be exercised from time to time by written notice to the Company
  substantially in the form attached hereto as Exhibit A, stating the number of shares of Stock with
  respect to which this Option is being exercised, and accompanied by (a) payment in full of the
  Exercise Payment for the number of shares of Stock to be delivered, by means of payment
  acceptable to the Company in accordance with Section 9 of the Plan and (b) an executed joinder
  agreement and a Spousal Consent, if applicable, pursuant to Section 16 of this Option.

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  Notwithstanding the foregoing, Optionee may elect to purchase shares of Stock vested hereunder
  by cashless exercise, whereby Optionee shall receive upon exercise such number of shares of
  Stock equal to (x) the number of Options being exercised less (y) the number of shares of Stock
  with a Fair Market Value equal to the sum of the Exercise Price and the necessary withholding
  obligation with respect to such exercise. Subject to the Plan and to Section 13 hereof, as soon as
  practicable after its receipt of such items, the Company shall deliver to the Optionee (or other
  person entitled to receive the shares of Stock issuable upon exercise of this Option), at the
  principal executive offices of the Company or such other place as may be mutually acceptable, a
  certificate or certificates for such shares out of theretofore authorized but unissued shares or
  reacquired shares of Stock (if certificated) or a certified copy of the stockholders’ registry, as the
  Company may elect; provided, however, that the time of such delivery may be postponed by the
  Company for such period as may be required for it with reasonable diligence to comply with any
  applicable requirements of law. If the Optionee (or other person entitled to exercise this Option)
  fails to pay for and accept delivery of all of the shares specified in such notice upon tender of
  delivery thereof, his or her right to exercise this Option with respect to such shares not paid for
  may be terminated by the Company.

  11.     Forfeiture; Restrictions on Exercise; Right of Repurchase.

          (a)      In addition to the restrictions set forth herein, this Option is subject to forfeiture
  upon the occurrence of the events specified in Sections 11 and 15 of the Plan. The stock issued
  upon the exercise of this Option and other Securities held by the Optionee will be subject to
  further restrictions set forth in the Stockholders’ Agreement, any subscription agreement entered
  into between the Optionee and the Company and this Section 11.

          (b)     General. Upon the termination of Optionee’s employment with, or membership
  on the Board of Directors of, the Company or its Subsidiaries, in each case, for any reason
  (whether by the Optionee or the Company or one of its Subsidiaries and whether with or without
  Cause) (a “Termination”), the Company and Resolute will have the option to repurchase all or
  any portion of the Securities (including Optionee Securities) held by Optionee (whether held by
  the Optionee or one or more of his or her affiliates or Permitted Transferees (as defined in the
  Stockholders Agreement) (“Repurchasable Securities”) pursuant to the terms and conditions set
  forth in this Section 11.

         (c)     Company’s Option. The Company may elect in its sole discretion to purchase all
  or any portion of the Repurchaseable Securities by giving written notice to the Optionee or his or
  her Permitted Transferees (as defined in the Stockholders Agreement) within 90 days following
  the Termination. Such notice will set forth the number and type of Repurchaseable Securities to
  be acquired by the Company from Optionee, the aggregate consideration to be paid for such
  Repurchaseable Securities, and the time and place for the closing of such purchase. If Optionee
  is a member of the Board at the time of such election, then Optionee will not have the right to
  vote with respect to such election or any other matter relating to this Section 11.

          (d)   Resolute’s Option. If for any reason the Company does not elect to purchase all
  of the Repurchaseable Securities pursuant to Section 11(c), then Resolute may at any time within
  180 days following the Termination elect in its sole discretion to purchase all or any portion of
  the Repurchaseable Securities which the Company has not elected to purchase by giving written

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  notice to the Company and the Optionee or his or her Permitted Transferees (as defined in the
  Stockholders Agreement). Such notice will set forth the number and type of Repurchaseable
  Securities to be acquired by Resolute from the Optionee, the aggregate consideration to be paid
  for such Repurchaseable Securities, and the time and place for the closing of such purchase.

        (e)    Purchase Price. The purchase price for the Repurchaseable Securities (the
  “Repurchase Price”) will be calculated as follows:

                (i)       If the Termination occurs by reason of (A) termination of such Optionee’s
          employment by, membership on the Board of, or engagement with, the Company or any
          of its Subsidiaries without Cause or (B) such Optionee’s death or disability, then the
          Repurchase Price will be a price per share equal to the Fair Market Value of the
          Repurchaseable Securities on the date of Termination.

               (ii)       If (A) the Termination occurs by reason of such Optionee’s termination by
          the Company or any of its Subsidiaries for Cause, (B) termination of such Optionee’s
          employment or membership on the Board, in each case, by reason of such Optionee’s
          resignation, or if (C) in the Committee’s determination, such Optionee has breached any
          agreement between the Optionee and the Company or any of its Subsidiaries, then the
          Repurchase Price will be the lesser of a price per share equal to the Original Cost and a
          price per share equal to the Fair Market Value, in each case, of the Repurchaseable
          Securities.

          (f)     Repurchase Closing. If the Company or Resolute has elected to purchase any of
  the Repurchaseable Securities, then the purchase of Repurchaseable Securities pursuant to this
  Section 11 will be completed (the “Repurchase Closing”) at the Company’s principal office, at
  10:00 a.m., on the 30th day following the date the Company or Resolute provides notice to the
  Optionee that the Company or Resolute, as the case may be, are purchasing any of the
  Repurchaseable Securities or on such earlier day as designated by the Company, in its sole
  discretion, upon not less than ten days prior notice to Resolute and the Optionee. If such date is
  not a Business Day, then the Repurchase Closing will occur at the same time and place on the
  next succeeding Business Day. The Company and/or Resolute will pay for the Repurchaseable
  Securities, at their respective options, by (i) delivery of a cashier’s check or wire transfer of
  immediately available funds, (ii) delivery of a Three Year Junior Note, (iii) setoff against any
  and all obligations (to the extent of such obligations) owed to the Company, its Subsidiaries,
  Resolute or any of their respective Affiliates by the Optionee or (iv) any combination of the
  foregoing. The Company and/or Resolute may rescind any exercise of their repurchase rights
  under this Section 11 at any time prior to the Repurchase Closing. At the Repurchase Closing,
  the Optionee shall deliver any certificate or certificates (if certificated) representing the
  Repurchaseable Securities to be purchased, with stock powers or instruments of transfer duly
  executed, for transfer, and such other documents as the Company or Resolute may reasonably
  request. The Company and Resolute will be entitled to receive customary representations and
  warranties as to ownership, title, authority to sell and the like from the Optionees regarding such
  sale, and to receive such other evidence, including applicable inheritance and estate tax waivers,
  as may reasonably be necessary to effect the purchase of the Repurchaseable Securities to be
  purchased pursuant to Section 11.


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          (g)      Failure To Deliver Securities. If Optionee or any other Stockholder whose
  Repurchaseable Securities are to be purchased pursuant to this Section 11 fails to deliver
  certificates representing the Repurchaseable Securities (if certificated) and such other documents
  as the Company or Resolute may reasonably request on the scheduled closing date of such
  purchase, then the Company or Resolute may elect to deposit the consideration representing the
  purchase price of the Repurchaseable Securities with a third party (which may be the Company’s
  attorney, a bank or a financial institution), as escrow agent and exercise its rights pursuant to (g)
  below. In the event of the foregoing election: (i) such Repurchaseable Securities will be deemed
  for all purposes (including the right to vote and receive payment for dividends) to have been
  transferred to the Company or Resolute, as applicable; (ii) to the extent that such Repurchaseable
  Securities are evidenced by certificates or other instruments, such certificates or other
  instruments will be deemed canceled and the Company will issue new certificates or other
  instruments in the name of Resolute, if applicable; (iii) the Company will make an appropriate
  notation in its stock ledger to reflect the transfer of such Repurchaseable Securities to the
  Company or Resolute, as applicable; and (iv) the Person obligated to sell such Repurchaseable
  Securities will merely be a creditor with respect to such Repurchaseable Securities, with the right
  only to receive payment of the purchase price, without interest, from the deposited funds. If,
  prior to the third anniversary of the scheduled closing date as determined pursuant to this Section
  11, the proceeds of sale have not been claimed by such Optionee or other seller of the
  Repurchaseable Securities, then the deposited funds (and any interest earned thereon) will be
  returned to the Person originally depositing the same, and the transferors whose Repurchaseable
  Securities were so purchased will look solely to the purchasers thereof for payment of the
  purchase price, without interest. The escrow agent will not be liable for any action or inaction
  taken by it in good faith.

          (h)    Power of Attorney. Optionee in order more fully to secure the performance of his
  or her obligations hereunder, hereby irrevocably appoints the Company and Resolute and the
  persons deriving title under them jointly and also severally to be his or her attorney to execute
  and complete in favor of the Company or Resolute any documents, including but not limited to a
  stock power or instrument of transfer, which the Company or Resolute may from time to time
  require pursuant to Section 11 for perfecting its title to or for vesting the Repurchaseable
  Securities in the Company or Resolute as applicable. The power hereby conferred shall be a
  general power of attorney and each Optionee hereby ratifies and confirms and agrees to ratify
  and confirm any instrument, act or thing which any such attorney may execute or do.

          (i)    Repurchase Disability.

               (i)       Notwithstanding anything to the contrary herein, the Company shall not be
          permitted to repurchase any Optionee Securities pursuant to Section 11 if the Board
          determines that:

                         (A)     The repurchase of the Repurchaseable Securities would render the
                 Company or the Subsidiaries unable to meet their business plan or obligations in
                 the ordinary course of business taking into account any pending or proposed
                 transactions, capital expenditures or other budgeted cash outlays by the Company,
                 including, without limitation, any proposed acquisition of any other entity by the
                 Company or any of the Subsidiaries;

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                         (B)    The Company is prohibited from repurchasing the Repurchaseable
                 Securities by applicable law restricting the purchase by a corporation of its own
                 shares; or

                         (C)    The repurchase of Repurchaseable Securities would constitute a
                 breach of, default, or event of default under, or is otherwise prohibited by, the
                 terms of any loan agreement or other agreement or instrument to which the
                 Company or any of the Subsidiaries is a party or the Company is not able to
                 obtain the requisite consent of any of its senior lenders to the repurchase of the
                 Repurchaseable Securities. The events described in (A) through (C) above each
                 constitute a “Repurchase Disability.”

               (ii)       In the event of a Repurchase Disability, the Company shall notify in
          writing any Optionee whose Repurchaseable Securities are to be repurchased pursuant to
          Section 11 (a “Disability Notice”). The Disability Notice shall specify the nature of the
          Repurchase Disability. The Company shall thereafter repurchase the Repurchaseable
          Securities as soon as reasonably practicable after all Repurchase Disabilities cease to
          exist (or the Company may elect, but shall have no obligation, to cause its nominee to
          repurchase the Repurchaseable Securities while any Repurchase Disabilities continue to
          exist). In the event the Company suspends its obligations to repurchase the
          Repurchaseable Securities pursuant to a Repurchase Disability, (A) the Company shall
          provide written notice to each applicable Optionee as soon as practicable after all
          Repurchase Disabilities cease to exist (the “Reinstatement Notice”); (B) the Fair Market
          Value of the Repurchaseable Securities shall be determined as of the date the
          Reinstatement Notice is delivered to the Optionee, which Fair Market Value shall be used
          to determine the Repurchase Price in the manner described above; and (C) the repurchase
          shall occur on a date specified by the Company within 10 days following the
          determination of the Fair Market Value of the Repurchaseable Securities as provided in
          clause (B) above.

          (j)     If the Company or Resolute does not deliver to the Optionee a written notice of its
  intention to exercise the repurchase rights set forth in this Section 11 within 180 days following a
  Termination, such repurchase rights will expire. This Section 11 shall terminate upon (i) the
  effectiveness of an initial bona fide, firm commitment underwritten public offering of any
  securities of the Company for which the aggregate purchase price of the securities sold is in
  excess of $100 million or (ii) the consummation of a Change in Control.

         (k)     Certain Definitions. For purposes of this Section 11, the following terms shall
  have the following meanings unless the context indicates otherwise:

              (i)     “Business Day” means any day except a Saturday, Sunday or other days
          on which commercial banks in New York City are required or authorized by law to close.

              (ii)        “Common Stock” shall mean shares of the Company’s common stock, par
          value $0.001 per share, that the Company may be authorized to issue from time to time
          and any stock or other securities issued or issuable with respect to such shares, including
          pursuant to a stock dividend, stock split, or like action, or pursuant to a plan of


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          recapitalization, reorganization, reclassification, exchange, merger, sale of assets or
          otherwise.

              (iii)      “Common Stock FMV” shall mean, as of any date of determination, the
          quotient obtained by dividing (i) an amount equal to (A) the Company Stock FMV, less
          (B) the Preferred Stock FMV by (ii) the aggregate number of shares of Common Stock
          issued and outstanding on a Fully-Diluted Basis as of the applicable date of
          determination.

              (iv)        “Company Stock FMV” shall mean, as of any date of determination, an
          amount equal to (i) the Enterprise Value, less (ii) the aggregate amount of Indebtedness
          of the Company and the Subsidiaries, including, but not limited to, indebtedness for
          borrowed money and capitalized leases of the Company and the Subsidiaries as of the
          end of the Determination Period (including, without limitation, interest accrued but
          unpaid as of the end of the Determination Period), less (iii) the aggregate amount to be
          paid pursuant to any earnout, deferred purchase price or similar amounts in respect of
          acquisitions outstanding as of the end of the Determination Period, less (iv) the aggregate
          amount that would have been payable by the Company in respect of any stock
          appreciation rights or similar obligation of the Company or its Subsidiaries outstanding as
          of the end of the Determination Period (whether or not restricted as of such date), less (v)
          any other long-term obligations or liabilities of the type reflected on the face of a balance
          sheet of the Company, as determined in accordance with GAAP.

              (v)       “Contract” shall mean any binding contract, lease, agreement, indenture,
          mortgage, note, bond or instrument, whether written or oral.

              (vi)        “Determination Period” shall mean the last four (4) consecutive completed
          fiscal quarters as set forth on the unaudited financial statements of the Company
          immediately preceding the applicable date of determination of the Enterprise Value.

              (vii)       “EBITDA” shall mean, for any period, the consolidated net income (or
          loss) of the Company (after eliminating all extraordinary or non-recurring items of
          income (or loss)), as reflected in the Company’s financial statements for such period,
          further adjusted by (i) without duplication, the addition of (A) interest and other expense
          in respect of indebtedness for borrowed money and similar expense in respect of
          capitalized leases, charged, accrued or otherwise allocated against such net income (or
          loss), (B) expenses for income taxes (whether paid, accrued or deferred) charged or
          otherwise allocated against such net income, (C) depreciation and amortization of any
          assets or other non-cash charges (including, without limitation, any depreciation,
          amortization and other non-cash charges relating to purchase accounting adjustments, and
          any amortization or write-off of intangible assets, transaction costs or goodwill) charged,
          allocated or otherwise accrued against such net income (or loss) and (D) non-cash
          expenses attributable to the issuance of stock, options, warrants, stock appreciation rights
          or similar rights by the Company to any of its directors, officer, employees, dealers or
          others or the exercise thereof, charged, accrued or allocated against such net income (or
          loss) and (ii) without duplication, the subtraction of interest income, non-cash gains and
          other income, in each case, excluding any such interest, depreciation, amortization costs

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          and expenses and income previously taken into account in determining EBITDA during
          any period preceding such period, all as determined in accordance with U.S. generally
          accepted accounting principles, consistently applied.

            (viii)        “Enterprise Value” shall mean, as of any date of determination, an amount
          equal to (i) seven (7) multiplied by the average annual EBITDA for the Determination
          Period, plus (ii) the aggregate amount of Unrestricted Cash of the Company and the
          Subsidiaries plus (iii) the aggregate exercise or conversion price of all options or warrants
          exercisable for, or securities convertible into, Common Stock outstanding (whether
          vested or not) as of the applicable date of determination.

              (ix)        “Equity Interest” means, with respect to any Person, (i) any capital stock,
          shares, partnership interests, membership interests, limited liability company interests,
          stock appreciation rights, phantom equity interests or other ownership or equity interests
          of such Person, including any securities exercisable, exchangeable or convertible into any
          of the foregoing, (ii) any other interest or participation that confers on the holder thereof
          the right to receive a share of the profits and losses or, or distributions of assets of, such
          Person, and (iii) any warrants, options or other rights to acquire any of the foregoing.

               (x)       “Fair Market Value” shall mean, (i) with respect to Common Stock, the
          Common Stock FMV and (ii) with respect to Preferred Stock, the quotient obtained by
          dividing (A) the Preferred Stock FMV by (B) the aggregate number of shares of Preferred
          Stock issued and outstanding as of the applicable date of determination.

              (xi)      “Fully-Diluted Basis” shall mean the number of shares of Common Stock
          which would be outstanding, as of the date of computation, if all vested and outstanding
          Stock Equivalents had been converted, exercised or exchanged.

            (xii)        “GAAP” shall mean generally accepted accounting principles in the
          United States as in effect on the date hereof and from time to time.

             (xiii)       “Income Tax” means (i) all Taxes based on income determined under
          provisions of the Code and (ii) foreign, state and other taxes (including franchise taxes)
          based on income or gross receipts, including a Tax assessed on a corporation by reference
          to its income, gains, or profits, and shall include for the avoidance of doubt, any
          withholding taxes, and in each instance any interest, penalties or additions to tax
          attributable to such Tax.

              (xiv)      “Indebtedness” shall mean, with respect to the Company and its
          Subsidiaries, and without duplication: (i) any indebtedness for borrowed money,
          (ii) indebtedness evidenced by notes, bonds, debentures, mortgages or other debt
          instruments or debt securities, (iii) to the extent drawn, all obligations of the Company
          and its Subsidiaries in respect of letters of credit, performance bonds, bankers
          acceptances or similar obligations of the Company and its Subsidiaries or incurred in
          connection with performance guaranties related to insurance obligations (including letters
          of credit supporting insurance policies for worker’s compensation), (iv) all obligations of
          the Company and its Subsidiaries as lessee or lessees under leases that have been


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          recorded as capital leases in accordance with GAAP, (v) all payment obligations under
          any interest rate, foreign exchange, commodity or other swap, hedge, or other financial
          derivative instruments or agreement to which the Company or any Subsidiary is a party
          (valued at the termination value thereof), (vi) whether or not so included as Liabilities in
          accordance with GAAP, all indebtedness or obligations of the types referred to in the
          preceding clauses (i) through (v) of the Company or any Subsidiary secured by any Lien
          on any assets owned or purchased by the Company or any of its Subsidiaries (including
          indebtedness arising under conditional sales or other title retention agreements), even
          though (A) such Person has not assumed or otherwise become liable for the payment
          thereof or (B) such indebtedness is limited in recourse, (vii) all obligations of the
          Company or any of its Subsidiaries issued or assumed as the deferred purchase price of
          businesses, assets, property, Equity Interests or services, including potential earn-outs,
          purchase price adjustments, post-closing payments in respect of transaction tax benefits,
          non-competition payments or similar payments, in each case in respect of past
          acquisitions, as well as the deferred purchase price for security cameras and systems,
          (viii) all Liabilities or underfunding of the Company or any of its Subsidiaries in relation
          to pension plans, retiree medical and any other long-term obligations under Laws or
          pension, welfare or benefit plans for the Company or any of its Subsidiaries, (ix) all Off-
          Balance Sheet Financings of the Company or any of its Subsidiaries, (x) the amount of
          any guarantees made by the Company or any of its Subsidiaries of indebtedness of the
          type described in clauses (i) through (ix) above of any Person, (xi) any unpaid interest,
          fees, prepayment premiums or penalties, make-whole payments, breakage costs,
          indemnities, expenses and other obligations or amounts, owing on or in respect of any
          such indebtedness described in clauses (i) through (x) above, (xii) all obligations of the
          Company or any of its Subsidiaries arising from deferred compensation or severance and
          similar arrangements (including payroll, employment and other Taxes thereon), (xiii) all
          deferred or unearned revenue of the Company and its Subsidiaries, amounts refundable
          by the Company and its Subsidiaries under Contracts with their customers (including all
          advanced payments, contingent refunds, and amounts refundable by the Company and its
          Subsidiaries) and any Liabilities to customers for inventory assumed by such Person,
          (xiv) any Net Tax Liabilities and (xv) any Lay-Away Obligations; provided, however,
          that none of the following shall constitute Indebtedness hereunder: (A) to the extent
          undrawn, any obligation with respect to any letter of credit (or reimbursement agreement
          in respect thereof), (B) any operating lease, (C) any guarantee by the Company or any of
          its Subsidiaries of the obligations of any other Subsidiary and (D) any indebtedness of
          any Subsidiary owed to any other Subsidiary. For all purposes of this Agreement,
          Indebtedness shall include the indebtedness of any partnership or joint venture in which
          Subsidiary is a general partner or joint venturer (to the extent that such Subsidiary is
          liable for such indebtedness).

             (xv)         “Laws” means all applicable federal, state, local and foreign laws, statutes,
          constitutions, rules, regulations, ordinances, common law and similar provisions having
          the force of law and all judgments, rulings, orders, decrees, administrative
          determinations, injunctions, guidance and guidelines of governmental authorities.

             (xvi)      “Lay-Away Obligations” shall mean those deposits or monies received
          from a Person representing part or all of the price of goods that was payable in one or

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          more payments subsequent to the making of a layaway agreement and for which the
          Company or any Subsidiary retains possession of such goods and bears the risk of their
          loss or damage until such goods are paid in full and delivered according to the layaway
          agreement, the dollar amount of inventory purchased by a customer but not yet received
          by such customer, and escheatment, unclaimed property and similar liabilities.

            (xvii)        “Liability” means any liability (whether known or unknown, whether
          asserted or unasserted, whether absolute or contingent, whether accrued or unaccrued,
          whether liquidated or unliquidated, and whether due or to become due), including any
          Liability for Taxes.

            (xviii)       “Lien” shall mean any security interest, lien, charge, mortgage, deed,
          assignment, pledge, hypothecation, encumbrance, servitude, easement, restriction
          (including any repatriation restrictions), judgment, option, right of first offer, right of first
          refusal or interest of another Person of any kind or nature.

             (xix)          “Net Tax Liabilities” means an amount, which may be positive or
          negative, equal to the sum of any amounts that would be properly accrued as current
          liabilities for Income Taxes on the consolidated balance sheet of the Company and its
          Subsidiaries in accordance with GAAP reduced by any amounts that would be properly
          accrued as a current asset for Income Taxes on the consolidated balance sheet of the
          Company and its Subsidiaries.

              (xx)        “Off-Balance Sheet Financing” means (a) any liability of the Company or
          any Subsidiary under any sale leaseback transactions which does not create a liability on
          the consolidated balance sheet of the Company and its Subsidiaries and (b) any liability
          of the Company or any Subsidiary under any synthetic lease, Tax retention operating
          lease, off-balance sheet loan or similar off-balance sheet financing product where the
          transaction is considered indebtedness for borrowed money for federal income Tax
          purposes but is classified as an operating lease in accordance with GAAP for financial
          reporting purposes.

            (xxi)        “Original Cost” shall mean the original purchase or exercise price actually
          paid for a Repurchaseable Security.

            (xxii)        “Preferred Stock” shall mean the shares of the Company’s preferred stock,
          par value $0.001 per share, that the Company may be authorized to issue from time to
          time and any stock or other securities issued or issuable with respect to such shares,
          including pursuant to a stock dividend, stock split, or like action, or pursuant to a plan of
          recapitalization, reorganization, reclassification, exchange, merger, sale of assets or
          otherwise.

            (xxiii)        “Preferred Stock FMV” shall mean, as of any date of determination, the
          lesser of (i) the liquidation value of the outstanding shares of Preferred Stock as
          calculated in accordance with the Certificate of Incorporation or (ii) the Company Stock
          FMV.



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            (xxiv)        “Securities” shall mean all (A) shares of Common Stock, (B) shares of
          Preferred Stock, (C) Stock Equivalents and D) securities of the Company issued or
          issuable with respect to the securities referred to in clauses (A) through (C) above,
          including pursuant to a stock dividend, stock split, or like action, or pursuant to a plan of
          recapitalization, reorganization, merger, sale of assets or otherwise.

            (xxv)         “Stock Equivalents” shall mean any (i) warrants, options or other right to
          subscribe for, purchase or otherwise acquire any shares of Common Stock or (ii) any
          securities convertible into or exchangeable for shares of Common Stock.

            (xxvi)        “Tax” or “Taxes” shall mean all federal, state, county, local, franchise or
          foreign income, payroll, employment, excise, environmental, customs, franchise, windfall
          profits, withholding, social security (or similar), unemployment, real property, personal
          property (tangible or intangible), escheat, unclaimed property, sales, use, transfer,
          registration, value added, gross receipts, net proceeds, turnover, license, ad valorem,
          capital stock, disability, stamp, leasing, lease, excess profits, occupational and interest
          equalization, fuel, severance, alternative or add-on minimum or estimated tax, charge,
          fee, levy, duty or other assessment, and other obligations of the same or of a similar
          nature to any of the foregoing due or claimed to be due by or to any Taxing authority,
          including any interest, penalty or addition thereto, whether disputed or not.

           (xxvii)        “Three Year Junior Notes” shall mean a promissory note of the Company
          in the form attached hereto as Exhibit C.

          (xxviii)        “Unrestricted Cash” shall mean, as of any date of determination, the
          aggregate amount of immediately available cash and cash equivalents of the Company
          and the Subsidiaries after any applicable withholding taxes, excluding (i) credit card
          receivables, (ii) register cash and (iii) cash or cash equivalents (A) subject to any Lien
          and (B) that may not be legally distributed on such date of determination by means of one
          or more direct or indirect dividends or distributions to the Company.

  12.    Nonassignability of Option Rights. This Option shall not be assignable or transferable by
  the Optionee except by will or by the laws of descent and distribution. During the life of the
  Optionee, this Option shall be exercisable only by Optionee or, in the event of Optionee’s legal
  incapacity, by Optionee’s legal representative.

  13.     Compliance with Securities Act. The Company shall not be obligated to sell or issue any
  shares of Stock or other securities pursuant to the exercise of this Option unless the shares of
  Stock or other securities with respect to which this Option is being exercised are at that time
  effectively registered or exempt from registration under the Securities Act of 1933, as amended,
  and applicable state securities laws. In the event shares or other securities shall be issued which
  shall not be so registered, the Optionee hereby represents, warrants and agrees that he or she will
  receive such shares or other securities for investment and not with a view to their resale or
  distribution, and will execute an appropriate investment letter satisfactory to the Company and its
  counsel as a condition precedent to any exercise of this Option in whole or in part.




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  14.     Legends. The Optionee hereby acknowledges that, if certificated, the stock certificate or
  certificates evidencing shares of Stock or other securities issued pursuant to any exercise of this
  Option will bear a legend setting forth the restrictions on their transferability described in
  Section 13 hereof, in Section 12 of the Plan, and under any applicable agreements between the
  Optionee and the Company or any of its stockholders.

  15.     Rights as Stockholder. The Optionee shall have no rights as a stockholder with respect to
  any shares of Stock or other securities covered by this Option until the date of issuance of a
  certificate to him or her for such shares or other securities (if certificated) or the date on which
  the Company updates the stockholders’ registry reflecting such issuance. No adjustment shall be
  made for dividends or other rights for which the record date is prior to the date such certificate is
  issued (if certificated) or the date on which the Company updates the stockholders’ registry.

  16.     Certain Agreements. The Optionee hereby agrees to be bound by the terms and
  conditions of the Stockholders’ Agreement dated October 31, 2014 as amended or modified from
  time to time, among the Company and the other persons named therein (the “Stockholders’
  Agreement”). The Optionee hereby further acknowledges and agrees that the Option and the
  shares of Stock issuable upon exercise of the Option are and shall be subject to the terms and
  provisions of the Stockholders’ Agreement; provided, however, that, in case of any conflict
  between this Option Agreement and the Stockholders’ Agreement, this Option Agreement shall
  control. Upon the Optionee’s exercise of the Option in accordance with Section 10 hereof, the
  Optionee agrees to execute a joinder agreement to the Stockholders’ Agreement in the form as
  determined by the Committee in its sole discretion and agrees to have his or her spouse, if
  applicable, execute a spousal consent by which Optionee’s spouse acknowledges and consents to
  the restrictions set forth in such Stockholders’ Agreement (the “Spousal Consent”).

  17.     Restrictions.

         (a)   Definitions. For purposes of this Section 17, the following terms shall have the
  following meanings unless the context indicates otherwise:

                 “Business” shall mean any business of the Company or any of its Subsidiaries, as
  conducted by or engaged in on the date hereof, and as proposed to be conducted by or engaged in
  on the date hereof, by the Company or any of its Subsidiaries, including, without limitation, the
  business of selling furniture, carpet, upholstery, bedding, fabric protection products, case goods,
  mattresses and other furniture accessories and related goods directly to retail customers.

               “Restricted Period” means, as applicable, the term of Optionees’s (i) employment
  by the Company or any of its Subsidiaries or (ii) membership on the Board of Directors of the
  Company and, in each case, a period of two (2) years after the Termination Date.

                “Termination Date” shall mean, as applicable, the date of termination of
  Optionee’s employment with the Company or any of its Subsidiaries or membership on the
  Board of Directors of the Company.

         (b)     Confidentiality. During and after the Restricted Period, Optionee recognizes and
  acknowledges that Optionee has and may in the future receive certain confidential and
  proprietary information and trade secrets of the Company and its Subsidiaries (the “Confidential

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  Information”), and that such Confidential Information constitutes valuable, special and unique
  property of the Company. The term Confidential Information will be interpreted to include all
  information of any sort (whether merely remembered or embodied in a tangible or intangible
  form) that is (a) related to the Company’s and its Subsidiaries’ current or potential business
  (including information received by the Company or any of its Subsidiaries from third parties),
  and (b) is not generally or publicly known. Optionee agrees not to disclose or use for Optionee’s
  own account any Confidential Information without the Board’s prior written consent, except (i)
  to the extent that any Confidential Information becomes generally known to and available for use
  by the public other than as a result of Optionee’s acts or omissions; (ii) to the extent that any
  Confidential Information is required to be disclosed pursuant to any applicable law or court
  order; or (iii) to Optionee’s attorneys and accountants; provided that, in the case of subsection
  (iii) hereof, Optionee shall cause each Person receiving such Confidential Information to be
  informed that such Confidential Information is strictly confidential and subject to this Agreement
  and to agree not to disclose or use such information except as provided herein. Optionee
  acknowledges and agrees that all notes, records, reports, sketches, plans, unpublished
  memoranda or other documents, whether in paper or electronic form (and copies thereof), held
  by Optionee concerning any information relating to the Company’s and its Subsidiaries’
  business, whether confidential or not, are the property of the Company and will be promptly
  delivered to it upon the termination of Optionee’s ownership of Optionee Securities

         (c)     Books and Records. All books, records, reports, writings, notes, notebooks,
  computer programs, sketches, drawings, blueprints, prototypes, formulas, photographs,
  negatives, models, equipment, reproductions, proposals, flow sheets, supplier lists, supply terms
  or contracts, customer lists and other documents and/or things relating in any manner to the
  business of the Company or any of its Subsidiaries or affiliates (including but not limited to any
  of the same embodying or relating to any Confidential Information), whether prepared by
  Optionee or otherwise coming into Optionee’s possession, shall be the exclusive property of the
  Company and shall not be copied, duplicated, replicated, transformed, modified or removed from
  the premises of the Company except pursuant to and in furtherance of the business of the
  Company and shall be returned immediately to the Company on the Termination Date or on the
  Company’s request at any time.

          (d)    Inventions and Patents.

                (i)      Optionee agrees that any and all writings, documents, inventions,
          discoveries, processes, methods, designs, mask works, compositions of matter,
          formulations, computer programs or instructions (whether in source code, object code, or
          any other form), algorithms, formulae, plans, customer lists, vendor lists, memoranda,
          tests, research, designs, specifications, models, data, diagrams, flow charts, and/or
          techniques (whether reduced to written form or otherwise) that Optionee makes,
          conceives, discovers, or develops, either solely or jointly with any other person, at any
          time during the period during which Optionee or its permitted transferees holds any
          Optionee Securities, whether during working hours or at the Company’s facility or at any
          other time or location, whether patentable or not, and whether upon the request or
          suggestion of the Company or otherwise, that relate to or are useful in any way in
          connection with the Business (collectively, the “Intellectual Work Product”) shall be the
          sole and exclusive property of the Company. Optionee agrees to promptly and fully

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          disclose all the Intellectual Work Product to the Company, and Optionee shall not have
          any claim for compensation for the Intellectual Work Product.

               (ii)       Optionee agrees that all Intellectual Work Product that is copyrightable
          shall be considered a work made for hire under the United States Copyright Act. To the
          extent that any copyrightable Intellectual Work Product may not be considered a work
          made for hire under the applicable provisions of copyright law, or to the extent that,
          notwithstanding the foregoing provisions, Optionee may retain an interest in any
          Intellectual Work Product, Optionee hereby irrevocably assigns and transfers to the
          Company any and all right, title, or interest that Optionee may have in the Intellectual
          Work Product under copyright, patent, trade secret, trademark and other law protecting
          proprietary or intellectual property rights, in perpetuity or for the longest period
          otherwise permitted by law, without the necessity of further consideration. The Company
          shall be entitled to obtain and hold in its own name all registrations of copyrights,
          patents, trade secrets, trademarks and other proprietary or intellectual property rights with
          respect thereto.

              (iii)      At the sole request and expense of the Company, either before or after the
          Restricted Period, Optionee shall assist the Company in acquiring and maintaining
          registrations under copyright, patent, trade secret, trademark and other laws protecting
          proprietary or intellectual property rights in, and confirming its title to, all Intellectual
          Work Product. Optionee’s assistance shall include signing all applications for
          copyrights, patents and other proprietary or intellectual property rights and other
          documents, cooperating in legal proceedings and taking any other steps considered
          desirable by the Company.

          (e)     Non-Disparagement. During and after the Restricted Period, Optionee shall not,
  and shall ensure that its agents, representatives and affiliates do not, directly or indirectly,
  disparage or make negative, derogatory or defamatory statements about the Company or any of
  its Subsidiaries, their respective business activities, or any of their respective Stockholders,
  directors, officers or employees.

          (f)      Nonsolicitation. During the Restricted Period, Optionee shall not, directly or
  indirectly, in any manner (whether on his own account, as an owner, operator, officer, director,
  partner, manager, employee, agent, contractor, consultant or otherwise): (a) hire or engage, or
  recruit, solicit or otherwise attempt to employ or retain or enter into any business relationship
  with, any current or former employee of or consultant to the Company or any of its Subsidiaries,
  (b) induce or attempt to induce any current or former employee of, or consultant to, the Company
  or any of its Subsidiaries, to leave the employ of the Company or any such Subsidiary, or in any
  way interfere with the relationship between the Company or any of its Subsidiaries and any their
  employees or consultants, (c) employ or retain or enter into any business relationship with any
  person who was an employee of or consultant to the Company or any of its Subsidiaries or (d) in
  any way interfere with the relationship between the Company or any of its Subsidiaries and any
  supplier, licensee, lessor or other business relation (or any prospective supplier, licensee, lessor
  or other business relationship) of the Company or any of its Subsidiaries (including, without
  limitation, by making any negative or disparaging statements or communications regarding the
  Company, any of its Subsidiaries or any of their operations, officers, directors or investors)

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          (g)     Noncompetition. During the Restricted Period, Optionee shall not directly or
  indirectly, (a) own, operate, manage, control, participate in, provide support to (financial or
  otherwise), consult with, advise, permit his or her name to be used by, provide services for, lease,
  or in any manner engage in or knowingly facilitate (including, in association with any person, or
  through any person), any business that sells (i) any products or provides any services which may
  be used as substitutes for or are otherwise in competition with any products or services sold or
  offered by the Company or its Subsidiaries or reasonably would be expected to be sold or offered
  by a Competing Business or (ii) any other furniture, carpet, upholstery, bedding, fabric
  protection products, case goods, mattresses and other furniture accessories and related goods
  directly to retail customers in the Protected Territory (collectively, “Covered Activities”); or (b)
  acquire an ownership interest in, invest in or provide services to any person which engages in
  any Covered Activities (other than the Company or its Subsidiaries) as a partner, shareholder,
  principal, agent, consultant or in any other relationship or capacity; provided, however, that no
  owner of less than 5% of the outstanding stock of any publicly traded corporation shall be
  deemed to engage solely by reason thereof in its business.

          (h)     Enforcement. If, at the time of enforcement of any provision of Section 17(f) or
  Section 17(g), a court shall hold that the duration, scope or area restrictions stated therein are
  unreasonable under circumstances then existing, the parties agree that the maximum duration,
  scope or area reasonable under such circumstances shall be substituted for the stated duration,
  scope or area and that the court shall be allowed to revise the restrictions contained therein to
  cover the maximum period, scope and area permitted by law. Because Optionee has access to
  proprietary information and Confidential Information, the parties hereto agree that money
  damages would not be an adequate remedy for any breach of Sections 17(b) through 17(g).
  Therefore, in the event of a breach or threatened breach of the foregoing sections of this Section
  17, the Company or any of its successors or assigns may, in addition to other rights and remedies
  existing in their favor, apply to any court of competent jurisdiction for specific performance
  and/or injunctive or other relief in order to enforce or prevent any violations of the provisions
  hereof (without posting a bond or other security and without proving actual damages). In
  addition, in the event of an alleged breach or violation by Optionee of any provision of Section
  17(f) or Section 17(g), the Restricted Period shall be tolled until such breach or violation has
  been duly cured. The existence of any claim or cause of action by Optionee against the
  Company or any of its affiliates, whether predicated on this Agreement or otherwise, will not
  constitute a defense to the enforcement by the Company of the provisions of Sections 17(b)
  through 17(g) which Sections will be enforceable notwithstanding the existence of any breach by
  the Company. If the Company (i) brings any action or proceeding to enforce any provision of
  this Agreement or to obtain damages as a result of a breach of this Agreement or to enjoin any
  breach of this Agreement and (ii) prevails in such action or proceeding, then Optionee will, in
  addition to any other rights and remedies available to the Company, reimburse the Company for
  any and all reasonable costs and expenses (including attorneys’ fees) incurred by the Company in
  connection with such action or proceeding.

           (i)    Further Acknowledgments. Optionee expressly agrees and acknowledges that the
  restrictions contained in Section 17(f) or Section 17(g) do not preclude Optionee from earning a
  livelihood, nor do they unreasonably impose limitations on Optionee’s ability to earn a living. In
  addition, Optionee agrees and acknowledges that the potential harm to the Company of the non-
  enforcement of Section 17(f) or Section 17(g) outweighs any harm to Optionee of his or her

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  enforcement by injunction or otherwise. Optionee acknowledges that Optionee has carefully
  read this Agreement and has given careful consideration to the restraints imposed upon Optionee,
  and is in full accord as to their necessity for the reasonable and proper protection of the
  Confidential Information. Optionee expressly acknowledges and agrees that each and every
  restriction imposed by this Agreement is reasonable with respect to subject matter and time
  period and such restrictions are necessary to protect the Company’s interest in, and value of, the
  Company (including, without limitation, the goodwill inherent therein). Optionee understands
  and agrees that the restrictions and covenants contained in Section 17(f) or Section 17(g) are in
  addition to, and not in lieu of, any non-competition, non-solicitation or other similar obligations
  contained in any other agreements between Optionee and the Company.

  18.    Withholding Taxes. The Optionee hereby agrees, as a condition to the exercise of any
  portion of this Option, to provide to the Company an amount sufficient to satisfy its obligation to
  withhold any federal, state and local taxes arising by reason of such exercise (the “Withholding
  Amount”) by (a) authorizing the Company to withhold the Withholding Amount from his or her
  cash compensation, or (b) remitting the Withholding Amount to the Company in cash; provided,
  however, that to the extent that the Withholding Amount is not provided by one or a combination
  of such methods, the Company in its sole and absolute discretion may refuse to issue such shares
  of Stock.

  19.     Effect Upon Employment. Nothing in this Option or the Plan shall be construed to
  impose any obligation upon the Company or any Subsidiary to employ or retain in its employ, or
  continue its involvement with, the Optionee or interfere in any way with any right of the
  Company or any of its Subsidiaries or affiliates to terminate such employment at any time for
  any reason whatsoever (whether for cause or without cause) without liability to the Company or
  any of its Subsidiaries or affiliates.

  20.      Time for Acceptance. This Option shall be effective as of the date an executed copy is
  delivered by the Company to the Optionee, provided, however, that unless the Optionee shall
  return to the Company an executed copy of this Option Agreement, and, if applicable, an
  executed spousal consent in the form attached hereto as Exhibit B, within fourteen (14) days
  after its delivery to him or her, the Option and this Option Agreement shall be null and void.

  21.     General Provisions.

         (a)     Amendment. This Option Agreement, including the Plan, contains the full and
  complete understanding and agreement of the parties hereto as to the subject matter hereof, and
  except as permitted under the terms of the Plan, this Option Agreement may not be modified or
  amended, nor may any provision hereof be waived, except by a further written agreement duly
  signed by the Company and Optionee. The waiver by either of the parties hereto of any
  provision hereof in any instance shall not operate as a waiver or any other provision hereof or in
  any other instance.

          (b)    Binding Effect. This Option Agreement shall inure to the benefit of and be
  binding upon the parties hereto and, to the extent provided herein and in the Plan, their respective
  heirs, executors, administrators, representatives, successors and assigns.



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         (c)      Option Plan; Construction. The Optionee hereby acknowledges receipt of a copy
  of the Plan. Except as otherwise provided in this Option Agreement, all of the terms and
  conditions of the Plan are incorporated herein by reference and this Option is subject to such
  terms and conditions in all respects. In case of any conflict between the Plan and this Option
  Agreement, this Option Agreement shall control. The titles of the sections of this Option
  Agreement and of the Plan are included for convenience only and shall not be construed as
  modifying or affecting their provisions. The masculine gender shall include both sexes; the
  singular shall include the plural and the plural the singular unless the context otherwise requires.

          (d)      Exclusive Agreement. The Optionee hereby acknowledges and agrees that by
  signing this Option Agreement, the Optionee voluntarily and irrevocably forfeits any and all
  rights, title, and interests the Optionee has or may have had in, to and under (a) any option
  agreement, option letter, or other similar document pursuant to which the Company (or any
  Subsidiary or affiliate thereof) may have previously granted, or offered to grant, options in the
  Company (or any Subsidiary or affiliate thereof) to the Optionee and (b) any oral or written
  commitment or promise regarding options that the Company (or any Subsidiary or affiliate
  thereof) may have made to the Optionee, except as to any options that have been previously
  exercised and paid for by the Optionee.

         (e)    Governing Law. This Option Agreement shall be governed by and construed and
  enforced in accordance with the applicable laws of the State of Delaware (other than the law
  governing conflict of law questions) except to the extent the laws of any other jurisdiction are
  mandatorily applicable.

          (f)     Notices. Any notice, request, instruction or other document to be given hereunder
  by a party hereto shall be in writing and shall be deemed to have been given, (a) when received if
  given in person or by courier or a courier service, (b) on the date of transmission if sent by
  electronic mail (with confirmation of receipt) or (c) five Business Days after being deposited in
  the U.S. mail, certified or registered mail, postage prepaid:

                 To the Optionee:     To his or her address as listed on the books of the Company.

                 To the Company:      American Freight Group, Inc.
                                      c/o The Jordan Company III, L.P.
                                      399 Park Avenue
                                      30th Floor
                                      New York, New York 10022
                                      Attention:    M. Brad Wilford
                                                    Daniel S. Williams
                                      Email:        bwilford@thejordancompany.com
                                      Email:        dwilliams@thejordancompany.com

                 with a copy to:      Mayer Brown LLP
                                      1675 Broadway
                                      New York, New York 10019
                                      Attention: Philip O. Brandes
                                      Email: pbrandes@mayerbrown.com

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                             AMERICAN FREIGHT GROUP, INC.

                                          SCHEDULE I

                                         Vesting Schedule

  476.2500 shares of Stock subject to this Option (the “Option Shares”) shall vest and be
  exercisable according to the following vesting schedule:

      (a) Forty percent (40%) of the Option Shares shall vest and be exercisable on the second
          (2nd) anniversary of January 28, 2015;

      (b) an additional twenty percent (20%) of the Option Shares shall vest and be exercisable on
          the third (3rd) anniversary of January 28, 2015;

      (c) an additional twenty percent (20%) of the Option Shares shall vest and be exercisable on
          the fourth (4th) anniversary of January 28, 2015; and

      (d) the remaining twenty percent (20%) of the Option Shares shall vest and be exercisable on
          the fifth (5th) anniversary of January 28, 2015.

  Notwithstanding the foregoing, upon a Change in Control, 100% of any then-unvested Option
  Shares shall vest and be exercisable upon such Change in Control.




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                                             EXHIBIT A
                                     (to Stock Option Agreement)

                          FORM FOR EXERCISE OF STOCK OPTION

  American Freight Group, Inc.
  c/o The Jordan Company III, L.P.
  399 Park Avenue
  30th Floor
  New York, New York 10022
  Attention:    M. Brad Wilford
                Daniel S. Williams

                 RE:    Exercise of Option under American Freight Group, Inc.
                        2015 Non-Qualified Stock Option Plan (the “Plan”)

  Ladies and Gentlemen:

          Please take notice that the undersigned hereby elects to exercise the stock option granted
  to                            on                                by and to the extent of purchasing
  _____________ shares of common stock, par value of $0.001 per share (the “Stock”), of
  American Freight Group, Inc. (the “Company”) for the option price of $                   per share,
  subject to the terms and conditions of the Stock Option Agreement between ____________ and
  the Company dated as of ____________ (the “Option Agreement”). Capitalized terms used but
  not defined herein shall have the meanings given to such terms in the Plan.

         The undersigned encloses herewith payment, in cash or in such other property as is
  permitted under the Plan, of the Exercise Payment for said shares and has made a provision with
  the Company for the Withholding Amount.

          In connection with the exercise of the Option, the undersigned represents to the Company
  as follows:

         (a)     The undersigned is acquiring the Stock solely for investment purposes, with no
  present intention of distributing or reselling any of the shares of Stock or any interest therein.
  The undersigned acknowledges that the Stock has not been registered under the Securities Act of
  1933, as amended (the “Securities Act”).

         (b)    The undersigned is aware of the Company’s business affairs and financial
  condition and has acquired sufficient information about the Company to reach an informed and
  knowledgeable decision to acquire the Stock.

          (c)     The undersigned understands that the Stock is a “restricted security” under
  applicable U.S. federal and state securities laws and that, pursuant to these laws, the undersigned
  must hold the Stock indefinitely unless it is registered with the Securities and Exchange
  Commission and qualified by state authorities, or unless an exemption from such registration and
  qualification requirements is available. The undersigned acknowledges that the Company has no
  obligation to register or qualify the Stock for resale. The undersigned further acknowledges that


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  if an exemption from registration or qualification is available, it may be conditioned on various
  requirements including, but not limited to, the time and manner or sale, the holding period for the
  Stock, and requirements relating to the Company which are outside of the undersigned’s control,
  and which the Company is under no obligation to and may not be able to satisfy.

         (d)     The undersigned understands that there is no public market for the Stock, that no
  market may ever develop for the Stock, and that the Stock has not been approved or disapproved
  by the Securities and Exchange Commission or any other federal, state or other governmental
  agency.

          (e)      The undersigned understands that the Stock is subject to certain restrictions on
  transfer set forth in the Plan. Both the Plan and the Option Agreement are incorporated herein by
  reference.

          (f)     The undersigned understands that any Stock purchased hereunder shall be subject
  to the Stockholders’ Agreement of the Company as it may be amended from time to time
  (“Stockholders’ Agreement”), a copy of which has been provided to the undersigned, and that it
  is a condition to the exercise of my Option that the undersigned executes a signature page of the
  Stockholders’ Agreement, agreeing to be bound thereby and that the undersigned’s spouse, if
  applicable, must sign the Spousal Consent. The undersigned and his or her spouse has had a full
  and fair opportunity to review the Stockholders’ Agreement prior to exercising the Option.

          (g)      The undersigned understands that any Stock purchased hereunder shall be subject
  to certain repurchase rights that may cause the Stock to be considered unvested at the time of
  purchase for purposes of Section 83 of the Internal Revenue Code of 1986, as amended (the
  “Code”). If the Stock is considered to be unvested upon purchase under Section 83, the fair
  market value of the Stock generally would be reportable to the Participant on the applicable
  vesting date as ordinary income and subject to tax withholding at that time. Instead, the
  Participant may elect to be taxed on the fair market value of the Stock (less the exercise price) at
  the time of purchase by filing an election under Section 83(b) of the Code with the Internal
  Revenue Service within thirty (30) days after purchase. The undersigned acknowledges and
  agrees that it is his or her personal responsibility to determine whether or not to make a Section
  83(b) election and if such election is filed, the undersigned shall provide the Company with a
  copy of the election form filed with the Internal Revenue Service.

                                              Very truly yours,
  Date ______________________

                                              _______________________________________
                                              (Signed by               or other party duly
                                              exercising option)


  Note: If Options are being exercised on behalf of a deceased Optionee, then this Notice must be
  signed by such Optionee’s personal representative and must be accompanied by a certificate
  issued by an appropriate authority evidencing that the individual signing this Notice has been




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  duly appointed and is currently serving as the Optionee’s personal representative under
  applicable local law governing decedents’ estates.




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                                            EXHIBIT B
                                    (to Stock Option Agreement)

                                FORM OF SPOUSAL CONSENT

          I acknowledge that I have read the foregoing Stock Option Agreement and that I know its
  contents. I acknowledge and agree that capitalized terms used and not defined in this spousal
  consent shall have the meanings ascribed to such terms in the Stock Option Agreement. I am
  aware that by the provisions of the Stock Option Agreement, my spouse agrees, among other
  things, to the granting of rights to purchase and to the imposition of certain restrictions on the
  transfer of Optionee Securities, including my community interest therein (if any), which rights
  and restrictions may survive my spouse’s death. I hereby consent to such rights and restrictions,
  approve of the provisions of the Stock Option Agreement, and agree that I will bequeath any
  interest which I may have in said Optionee Securities or any of them, including my community
  interest, if any, or permit any such interest to be purchased, in a manner consistent with the
  provisions of the Stock Option Agreement. I direct that any residuary clause in my will not be
  deemed to apply to my community interest (if any) in such Optionee Securities except to the
  extent consistent with the provisions of the Stock Option Agreement.

          I further agree that in the event of a dissolution of the marriage between myself and my
  spouse, in connection with which I secure or am awarded any Optionee Securities or any interest
  therein through property settlement agreement or otherwise, (a) I will receive and hold said
  Optionee Securities subject to all the provisions and restrictions contained in the Stock Option
  Agreement, including any option of the Company, Resolute or other stockholder or optionholder
  to purchase such shares or interest from me, and (b) I hereby irrevocably constitute and appoint
  my spouse, as true and lawful attorney and proxy (the “Proxy”) of my Optionee Securities with
  full power of substitution, to vote (at any annual or special meeting or by written consent) such
  Optionee Securities which I would be entitled to vote as a stockholder, together with any and all
  Optionee Securities issued in replacement or in respect of such Optionee Securities by dividend,
  distribution, stock split, reorganization, recapitalization or otherwise.

         I also acknowledge that I have been advised to obtain independent counsel to represent
  my interests with respect to this spousal consent.

  Date: __________                             ______________________________________
                                               Name of Spouse:   ____________________


                                               Name of Optionee:     ____________________




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                                             EXHIBIT C

                            FORM OF THREE YEAR JUNIOR NOTE

  THIS NOTE HAS NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS
  AMENDED, OR ANY APPLICABLE STATE SECURITIES LAWS AND ACCORDINGLY
  MAY NOT BE SOLD, TRANSFERRED OR OTHERWISE DISPOSED OF IN THE
  ABSENCE OF AN EFFECTIVE REGISTRATION STATEMENT UNDER SAID ACT OR
  LAWS OR PURSUANT TO AN EXEMPTION THEREFROM. THE PRINCIPAL AMOUNT
  OF THIS NOTE, AND INTEREST IN RESPECT THEREOF, IS SUBORDINATED TO THE
  PAYMENT IN FULL OF ALL SENIOR INDEBTEDNESS AND IS SUBJECT TO SET-OFF,
  AS DESCRIBED IN THIS NOTE.


                               AMERICAN FREIGHT GROUP, INC.

              NON-NEGOTIABLE THREE YEAR JUNIOR SUBORDINATED NOTE
                               DUE _________, _____

                                                                               New York, New York
  [$ ___________]                                                                    ____ ___, ___


          FOR VALUE RECEIVED, the undersigned, American Freight Group, Inc., a Delaware
  corporation (together with its successors, the “Company”), hereby promises to pay to
  _______________________ (together with its successors and permitted assigns, the “Holder”),
  at the Holder’s residence at __________________________________, the principal amount of
  _______________________ ($_________) on the Maturity Date. Certain capitalized terms are
  used in this Note are as defined in Section 6.

          Section 1. Payment; Interest.

          1.1     The outstanding principal amount of this Note shall bear interest (computed on
  the basis of a 365 day year, as the case may be) accruing daily at a rate equal to five percent (5%)
  per annum from (but excluding) the date hereof to (and including) the date on which the
  principal amount of this Note is paid in full, regardless of the commencement of any bankruptcy
  or insolvency proceedings against the Company. Subject to Section 5 of this Note, such interest
  shall be payable on the Maturity Date.

          1.2    Whenever payment of principal of, or interest on, this Note shall be due on a date
  that is not a Business Day, the date for payment thereof shall be the next succeeding Business
  Day and interest due on the unpaid principal and any other Amounts Payable hereunder shall
  accrue during such extension and shall be payable on such succeeding Business Day.




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         Section 2. Optional Prepayment. The Company shall have the right to prepay the
  principal amount of this Note in whole or in part at any time, or from time to time, without
  payment of any premium or penalty whatsoever, together with interest thereon accrued to the
  date of prepayment; provided, however, that so long as (a) any Senior Indebtedness remains
  outstanding and unpaid, (b) any commitment to provide Senior Indebtedness is outstanding, or
  (c) any other amount is owing to the holders of Senior Indebtedness, this Note may not be
  prepaid, in whole or in part, without the consent of, or written waiver of, any relevant
  prohibitions by the holders of Senior Indebtedness.

          Section 3. Set-off. The Company shall be entitled to set-off and reduce any Amounts
  Payable hereunder for (a) any obligations or liabilities of the Holder to the Company or its
  Subsidiaries or (b) any claims by the Company or its Subsidiaries against the Holder under the
  Stockholders Agreement, or any other agreement, written or oral, between the Company or its
  Subsidiaries and the Holder. The Holder, by accepting this Note, hereby acknowledges and
  agrees to the foregoing provisions, and any subsequent transferee or successor shall be bound by
  the foregoing.

          Section 4. Defaults.

          4.1    Events of Default. If one or more of the following events (“Events of Default”)
  shall have occurred and be continuing:

          (a)    the Company shall fail to pay within ten (10) Business Days of the due date
  thereof any principal of this Note or shall fail to pay within ten Business Days of the due date
  thereof any interest or any other amount payable hereunder and the same shall not have been
  cured within forty-five (45) days after written notice thereof has been given by the Holder to the
  Company;

         (b)     the Company shall fail to observe or perform any covenant or agreement
  contained in this Note (other than those covered by clause (a) above) and the same shall not have
  been cured within sixty (60) days after written notice thereof has been given by the Holder to the
  Company;

          (c)     the Company shall commence a voluntary case or other proceeding seeking
  liquidation, reorganization or other relief with respect to itself or its debts under any bankruptcy,
  insolvency or other similar law now or hereafter in effect or seeking the appointment of a trustee,
  receiver, liquidator, custodian or other similar official, or shall consent to any such relief or to
  the appointment of or taking possession by any such official in an involuntary case or other
  proceeding commenced against it, or shall make a general assignment for the benefit of creditors;
  or

          (d)     an involuntary case or other proceeding shall be commenced against the Company
  seeking liquidation, reorganization or other relief with respect to it or its debts under any
  bankruptcy, insolvency or other similar law now or hereafter in effect or seeking the appointment
  of a trustee, receiver, liquidator, custodian or other similar official, and such involuntary case or
  other proceeding shall remain undismissed and unstayed for a period of sixty (60) days; or an



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  order for relief shall be entered against the Company under the Federal bankruptcy laws as now
  or hereafter in effect;

  then, and in every such event, subject to the provisions of Section 5, the Holder may, by notice to
  the Company and to the holders of Senior Indebtedness, declare the unpaid principal amount of
  this Note together with accrued interest thereon, to be, and such portions of this Note (and
  accrued interest thereon) shall thereupon become, due and payable immediately following
  delivery of such notice to the Company and to the holders of Senior Indebtedness without
  presentment, demand, protest or further notice of any kind, all of which are hereby waived by the
  Company; provided, however, that in the case of any of the Events of Default specified in clause
  (c) or (d) above, such portions of this Note (together with accrued interest thereon) shall, subject
  to the provisions of Section 5, immediately (and without notice) become due and payable
  without presentment, demand, protest or notice of any kind, all of which are hereby waived by
  the Company.

          Section 5. Subordination.

          5.1     Amounts Payable Subordinated to Senior Indebtedness. Notwithstanding any
  provision of this Note to the contrary, the Company covenants and agrees, and the Holder by
  acceptance of this Note likewise covenants and agrees, that all Amounts Payable shall be
  subordinated to the extent set forth in this Section 5 to the prior payment in full in cash of all
  Senior Indebtedness. This Section 5 shall constitute a continuing offer to and covenant with all
  persons who become holders of, or continue to hold, Senior Indebtedness (irrespective of
  whether such Senior Indebtedness was created or acquired before or after the issuance of this
  Note). The provisions of this Section 5 are made for the benefit of all present and future holders
  of Senior Indebtedness (and their successors and assigns), and shall be enforceable by them
  directly against the Holder.

          5.2    Priority Over and Payment of Proceeds in Certain Events.

          (a)     Upon any payment by or on behalf of the Company or distribution of assets of the
  Company, whether in cash, property, securities or otherwise, in the event of any dissolution,
  winding up or total or partial liquidation, reorganization, arrangement, adjustment, protection,
  relief or composition, or assignment for the benefit of creditors of the Company, whether
  voluntary or involuntary or in bankruptcy, insolvency, receivership, reorganization, relief or
  other proceedings or upon an assignment for the benefit of creditors or any other marshalling of
  all or part of the assets and liabilities of the Company (the foregoing events herein collectively
  referred to as an “Insolvency Event”), all Senior Indebtedness shall first be paid in full in cash
  before the Holder shall be entitled to receive any payment by or on behalf of the Company or
  distribution of assets of the Company relating to any Amounts Payable. Upon any Insolvency
  Event, any payment by or on behalf of the Company or distribution of assets of the Company,
  whether in cash, property, securities or otherwise, to which the Holder would be entitled relating
  to any Amounts Payable, except for the provisions of this Section 5, shall, until payment in full
  in cash of all Senior Indebtedness (including from any concurrent payment or distribution to the
  holders of such Senior Indebtedness), be made by the Company or by any receiver, trustee in
  bankruptcy, liquidating trustee, agent or other person making such payment or distribution,



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  directly to the holders of the Senior Indebtedness or their representatives for application to the
  payment or prepayment of all such Senior Indebtedness.

          If the Senior Indebtedness has not been paid in full in cash at a time in which the
  Company is subject to an Insolvency Event, (i) the holders of the Senior Indebtedness are hereby
  irrevocably authorized, but shall have no obligation, to demand, sue for, collect and receive
  every payment or distribution received on or after the Insolvency Event or to be received in
  respect of this Note (regardless of when originally due) in any insolvency proceeding and give
  acquittance therefor and to file claims and proofs of claim, as their interests may appear, and (ii)
  the Holder shall duly and promptly take, for the account of the holders of the Senior
  Indebtedness, as their interests may appear, such actions as the holders of the Senior
  Indebtedness may request to collect and receive all Amounts Payable by the Company in respect
  of this Note and to file appropriate claims or proofs of claim in respect of this Note.

           (b)    No payment shall be made by or on behalf of the Company with respect to any
  Amounts Payable or to acquire this Note (or any portion hereof) for cash, property, securities or
  otherwise, and, by virtue of accepting this Note and the benefits hereof, the Holder shall not be
  entitled, and will not take any action, including any judicial process, to accelerate, demand
  payment or enforce any Indebtedness in respect of this Note or any other claim with regard to
  any Amounts Payable if (i) such payment is prohibited by the terms of any Senior Indebtedness,
  (ii) there has occurred and is continuing a default in the payment of all or any portion of any
  Senior Indebtedness, it being understood that for purposes of this clause (ii), any payment of
  interest accrued on any Senior Indebtedness which is paid, in lieu of cash, with the issuance of a
  payment-in-kind obligation, shall be deemed to continue to be unpaid until such payment-in-kind
  obligation (and all interest accrued thereon) shall have been paid in full or (iii) any other default
  (not involving the non-payment of any Senior Indebtedness) shall have occurred which,
  including after giving any notice or the passage of time, or both, would allow holders of any
  Senior Indebtedness to accelerate or otherwise demand the payment thereof, and in the case of a
  default described in clause (iii), the holders of the Senior Indebtedness have, to the extent
  required under the documents evidencing the Senior Indebtedness given notice of such default to
  the Company (the date that such notice is received by the Company is the “Notice Date”);
  provided that such restrictions on actions, including judicial process, to accelerate, demand
  payment or enforce any such Indebtedness on claim will cease to be applicable twenty-four (24)
  months after the occurrence and continuation of an Event of Default of the types referred to in
  Section 4.1(a) or (b). The Company shall promptly give written notice to the Holder of any
  written notice of default under the Senior Indebtedness.

         (c)    In the event of all or any portion of the principal amount of this Note becoming
  due before the Maturity Date (whether by declaration or otherwise), no payment shall be made
  by or on behalf of the Company on or with respect to any Amounts Payable or to acquire this
  Note (or any portion thereof) for cash, property, securities or otherwise until all Senior
  Indebtedness shall first have been paid in full in cash.

         (d)    If, notwithstanding the foregoing provisions of clauses (a) through (c) prohibiting
  payments or distributions, the Holder shall, on or after the Notice Date or the occurrence of any
  Insolvency Event, have received, directly or indirectly, by setoff, redemption, purchase or in any
  other manner, any payment of, or on account of, any Amounts Payable that was prohibited by

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  this Section 5, before all Senior Indebtedness shall have been paid in full in cash, then and in
  such event such payments or distributions shall be received and held in trust for the holders of
  the Senior Indebtedness and promptly paid over or delivered to the holders of the Senior
  Indebtedness remaining unpaid to the extent necessary to pay in full in cash such Senior
  Indebtedness in accordance with its terms after giving effect to any concurrent payment or
  distribution to the holders of such Senior Indebtedness, provided that any such payment which is,
  for any reason, not so paid over or delivered shall be held in trust by the Holder for the holders of
  Senior Indebtedness.

         (e)    So long as any Senior Indebtedness remains outstanding, or the commitment to
  make credit extensions of any Senior Indebtedness shall not have been terminated, the Holder
  will not be entitled to take, demand or receive, directly or indirectly, by setoff, redemption,
  purchase or in any other manner, any voluntary prepayment or other payment of any Amounts
  Payable in amounts or in a manner which are in violation of the provisions of this Section 5.

          (f)    Upon any payment or distribution of assets referred to in clause (a) above, the
  Holder shall be entitled to rely upon any order or decree of a court of competent jurisdiction in
  which such dissolution, winding up, liquidation or reorganization proceedings are pending, and
  upon a certificate of the receiver, trustee in bankruptcy, liquidating trustee, agent or other person
  making any such payment or distribution of assets, delivered to the Holder for the purpose of
  ascertaining the persons entitled to participate in such distribution of assets, the holders of Senior
  Indebtedness and other Indebtedness of the Company, the amount thereof or payable thereon, the
  amount or amounts paid or distributed thereon and all other facts pertinent thereto or to this
  Section 5.

          5.3    Rights of Holders of Senior Indebtedness Not To Be Impaired, etc.

         (a)     No right of any present or future holder of any Senior Indebtedness to enforce the
  subordination and other terms and conditions provided herein shall at any time in any way be
  prejudiced or impaired by any act or failure to act by any such holder, or by any noncompliance
  by the Company with the terms and provisions and covenants herein regardless of any
  knowledge thereof any such holder may have or otherwise be charged with.

          (b)    This Section 5 may not be amended without the written consent of each holder of
  the Senior Indebtedness and of the Holder, and any purported amendment without such consent
  shall be void. No holder of Senior Indebtedness shall be prejudiced in such holder’s right to
  enforce the subordination and other terms and conditions of this Note by any act or failure to act
  by the Company or anyone in custody of its assets or property.

           5.4    Subrogation. Subject to and upon the payment in full in cash of all Senior
  Indebtedness, the Holder shall be subrogated, to the extent of payments or distributions made to
  the holders of Senior Indebtedness pursuant to or by reason of this Section 5, to the rights of the
  holders of such Senior Indebtedness to receive payments or distributions of assets of the
  Company made on such Senior Indebtedness until all amounts due under this Note shall be paid
  in full; and for the purposes of such subrogation, no payments or distributions to holders of such
  Senior Indebtedness of any cash, property or securities to which the Holder would be entitled
  except for the provisions of this Section 5, and no payment over pursuant to the provisions of this


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  Section 5 to holders of such Senior Indebtedness by the Holder, shall, as among the Company, its
  creditors (other than holders of such Senior Indebtedness) and the Holder be deemed to be a
  payment by the Company to or on account of such Senior Indebtedness, it being understood that
  the provisions of this Section 5 are solely for the purpose of defining the relative rights of the
  holders of such Senior Indebtedness, on the one hand, and the Holder, on the other hand.

          5.5     Obligations of the Company Unconditional. Nothing contained in this Note is
  intended to or shall impair, as between the Company and the Holder, the obligation of the
  Company, which is absolute and unconditional, to pay to the Holder all Amounts Payable, as and
  when the same shall become due and payable in accordance with their terms, or to affect the
  relative rights of the Holder and other creditors of the Company (other than the holders of Senior
  Indebtedness), except as provided in Section 5.2(b).

         5.6     Section 5 Not To Prevent Events of Default. The failure to make a payment of
  any Amounts Payable by reason of any provision of this Section 5 shall not be construed as
  preventing the occurrence or consequences of an Event of Default under Section 4.1 hereof,
  except as provided in Section 5.2(b).

         5.7      Additional Rights of Holders of Senior Indebtedness. Upon request by the
  Company, the Holder of this Note shall deliver to the holders of Senior Indebtedness or parties
  contemplating becoming holders of Senior Indebtedness a written statement confirming that (a)
  the provisions (including those of this Section 5) of this Note are in full force and effect; and (b)
  such party is or will be entitled to rely upon and enjoy the benefits of the provisions (including
  those of this Section 5) of this Note as a holder of Senior Indebtedness.

          5.8    Senior Indebtedness Changes. By virtue of accepting this Note and the benefits
  hereof, the Holder hereby waives any and all notice of renewal, extension or accrual of any of
  the Senior Indebtedness, present or future, and agrees and consents that without notice to or
  consent of the Holder:

         (a)     the obligations and liabilities of the Company or any other party or parties under
  the Senior Indebtedness may, from time to time, in whole or in part, be renewed, refinanced,
  replaced, extended, refunded, modified, amended, accelerated, compromised, supplemented,
  terminated, increased, decreased, sold, exchanged, waived or released;

          (b)     the holders of Senior Indebtedness and their representatives may exercise or
  refrain from exercising any right, remedy or power granted by any document creating,
  evidencing or otherwise related to the Senior Indebtedness or granted at law, in equity, or
  otherwise, with respect to the Senior Indebtedness or in connection with any collateral security
  or lien (legal or equitable) held, given or intended to be given therefor (including, without
  limitation, the right to perfect any lien or security interest created in connection therewith);

          (c)    any and all collateral security and/or liens (legal or equitable) at any time, present
  or future, held, given or intended to be given for the Senior Indebtedness, and any rights or
  remedies of the holders of Senior Indebtedness and their representatives in respect thereof, may,
  from time to time, in whole or in part, be exchanged, sold, surrendered, released, modified,
  perfected, unperfected, waived or extended by the Holders and their representatives;


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          (d)    any balance or balances of funds with any holder of Senior Indebtedness at any
  time standing to the credit of the Company or any guarantor of any of the Senior Indebtedness
  may, from time to time, in whole or in part, be surrendered or released; all as the holders of
  Senior Indebtedness, their representatives or any of them may deem advisable and all without
  impairing, abridging, diminishing, releasing or affecting the subordination to the Senior
  Indebtedness provided for herein; and

         (e)     the Company may incur any amount or type of Senior Indebtedness (including
  Senior Indebtedness owed to Affiliates), or modify, restate, refinance, replace or amend any
  Senior Indebtedness from time to time, on terms and conditions acceptable to the Company,
  without notice to or approval by the Holder. The Company shall deliver written notice to the
  Holder of all actions by the holders of Senior Indebtedness to accelerate payment of, or to
  exercise any other rights, remedies or powers under, the Senior Indebtedness.

          5.9     Waivers. In the event the holders of Senior Indebtedness elect to exercise their
  remedies to liquidate any collateral given to secure the Senior Indebtedness, the Holder hereby
  waives any right it may have to contest the validity of or the value obtained as a result of the
  holders of Senior Indebtedness exercise of their remedies, including, but not limited to, a
  foreclosure, a sale pursuant to the Uniform Commercial Code or the acceptance by the holders of
  Senior Indebtedness in lieu of foreclosure. The Holder further waives any right it may have
  either in or out of any bankruptcy or similar proceeding to challenge any action taken by the
  holders of Senior Indebtedness as either a preference or fraudulent conveyance and further
  agrees not to take any active role in such a proceeding other than the filing of a claim in any such
  proceeding, which claim shall be subordinate (to the extent set forth above) to the claims of the
  holders of Senior Indebtedness.

          Section 6. Definitions. For purposes of this Note, the following terms have the meanings
  set forth below.

          “Affiliates” means the Company, The Resolute Fund III, L.P., and any other person that
  directly, or indirectly through one or more intermediaries, controls or is controlled by or is under
  common control with any of them.

         “Amounts Payable” means all principal of, interest on, premium, if any, fees, costs,
  expenses, indemnities or any other amounts due from the Company under this Note, and all
  claims against or liabilities of the Company in respect of this Note.

       “Business Day” means any day except a Saturday, Sunday or other days on which
  commercial banks in New York City are required or authorized by law to close.

          “Default” means any condition or event that constitutes an Event of Default or that with
  notice or lapse of time or both would, unless cured or waived, become an Event of Default.

          “Indebtedness” means with respect to any Person, and without duplication: (i) any
  obligation of such Person for borrowed money; (ii) all capitalized lease obligations of such
  Person; (iii) indebtedness evidenced by any note, bond, debenture, mortgage or other debt
  instrument or debt security; (iv) any payment obligation under any existing interest rate, foreign
  exchange, commodity or other swap, hedge, or other financial derivative instruments or

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  agreement entered into by such Person, unless extended by mutual agreement; (v) to the extent
  drawn or called upon and not reimbursed, all letters of credit, performance bonds, bankers
  acceptances or similar obligations of such Person or incurred in connection with performance
  guaranties related to insurance obligations (including letters of credit supporting insurance
  policies for worker’s compensation); (vi) whether or not so included as liabilities in accordance
  with GAAP, all indebtedness or obligations of the types referred to in the preceding clauses (i)
  through (vi) of any other Person secured by any Lien on any assets owned or purchased by such
  Person (including Indebtedness arising under conditional sales or other title retention
  agreements), even though (x) such Person has not assumed or otherwise become liable for the
  payment thereof or (y) such Indebtedness is limited in recourse; (vii) all asset financing
  obligations of such Person, to the extent capitalized on the balance sheet of such Person; (viii) all
  amounts owing for the deferred purchase price of acquisitions, whether or not reflected on the
  face of the audited balance sheet of the Company, including all amounts owing for earnouts,
  purchase price adjustments, non-competition payments and similar obligations in respect of past
  acquisitions; (ix) the amount of any guarantees of Indebtedness of the type described in clauses
  (i) through (viii) above of any other Person; and (x) any unpaid interest, fees (whether accrued or
  otherwise), prepayment premiums or penalties, make-whole payments, breakage costs,
  indemnities, expenses and other obligations or amounts owing on or in respect of any such
  indebtedness described in clauses (a) through (ix) above. Indebtedness owed to Affiliates will be
  Indebtedness for purposes of this Note.

          “Maturity Date” means the third anniversary of the issuance of this Note.

          “Note” means this Non-Negotiable Three Year Junior Subordinated Note.

           “Senior Indebtedness” means the principal, interest (including interest accruing
  subsequent to the commencement of a proceeding specified in Sections 4.1(c) and 4.1(d),
  whether or not enforceable in such proceeding) on, premium, if any, fees (including, without
  limitation, any attorneys’, commitment, agency, facility, structuring, restructuring or other fee),
  costs, expenses, indemnities, and other amounts due on or in connection with any Indebtedness
  of the Company and its Subsidiaries, and any refinancings, extensions or replacements of the
  foregoing Indebtedness, now or hereafter incurred, any documents executed under or in
  connection therewith, and any amendments, modifications, deferrals, renewals or extensions of
  such Indebtedness, and any amounts owed in respect of any Indebtedness incurred in
  refinancing, replacing or refunding the foregoing (including any refinancing, replacing or
  refunding with new lenders), unless the terms of such Indebtedness expressly provide that such
  Indebtedness is not Senior Indebtedness with respect to this Note. Nothing in this Note shall
  restrict an Affiliate of the Company from being a holder of Senior Indebtedness.

          “Stockholders’ Agreement” means the Stockholders’ Agreement, dated as of October 31,
  2014, among the Company, the Holder and the other Stockholders listed on the signature pages
  thereto.

         “Subsidiary” of a person means any corporation or other entity of which securities or
  other ownership interests having ordinary voting power to elect a majority of the Board of
  Directors or other persons performing similar functions are at the time directly or indirectly
  owned by such person.

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          Section 7. Miscellaneous.

          7.1    Notices. All notices, requests and other communications to any party hereunder
  shall be in writing and shall be either personally delivered, sent by reputable overnight courier
  service, sent by PDF attachment to email (in such cases by PDF attachment, with hard copy to
  follow) or mailed by first class mail, return receipt requested, to the following address (or at any
  other address as any party shall have specified by notice in writing to the other party):

          If to the Company:

                 American Freight Group, Inc.
                 c/o The Jordan Company III, L.P.
                 399 Park Avenue, 30th floor
                 New York, New York 10022
                 Attention:    M. Brad Wilford
                               Daniel S. Williams
                 Email:        bwilford@thejordancompany.com
                               dwilliams@thejordancompany.com

          with a copy to:

                 Mayer Brown LLP
                 1675 Broadway
                 New York, New York 10019
                 Attention:  Philip O. Brandes
                 Email:      pbrandes@mayerbrown.com

                 If to the Holder, to:

                 ________________________
                 ________________________
                 ________________________

  Each party may, by notice given in accordance with this Section to the other party, designate
  another address or person for receipt of notices hereunder.

  The date of such notice shall be (w) the date such notice is personally delivered, (x) three
  business days after the date of mailing if sent by certified or registered mail, (y) one business day
  after the date of delivery to the overnight courier if sent by overnight courier or (z) the next
  succeeding business day after transmission by email.

          7.2     No Waivers. No failure or delay by the Holder in exercising any right, power or
  privilege hereunder or under this Note shall operate as a waiver thereof nor shall any single or
  partial exercise thereof preclude any other or further exercise thereof or the exercise of any other
  right, power or privilege. The rights and remedies herein provided shall be cumulative and not
  exclusive of any rights or remedies provided by law. No notice to or demand on the Company in
  any case shall entitle the Company to any other or further notice or demand in related or similar
  circumstances requiring such notice.

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         7.3    Amendments and Waivers. Except as expressly set forth in this Note (including
  Section 5.3(b)), any provision of this Note may be amended or waived if, but only if, such
  amendment or waiver is in writing, signed by the Company and the Holder.

         7.4    Rights of Parties. This Note is delivered pursuant to the terms and conditions of
  the Stockholders Agreement and is subject to the terms thereof.

          7.5    Restrictions on Transfer. This Note may not be sold, pledged, distributed, offered
  for sale, or otherwise transferred by the Holder to any transferee other than to a Permitted
  Transferee (as defined in the Stockholders Agreement).

          7.6     Binding Effect. The provisions of this Note shall be binding upon and inure to the
  benefit of the Holder and its respective successors and permitted assigns.

           7.7     Replacement Note. Upon receipt of evidence reasonably satisfactory to the
  Company of the loss, theft, destruction or mutilation of this Note and of a letter of indemnity
  reasonably satisfactory to the Company from the Holder and upon reimbursement to the
  Company of all reasonable expenses incident thereto, and upon surrender or cancellation of this
  Note, if mutilated, the Company will make and deliver a new Note of like tenor in lieu of such
  lost, stolen, destroyed or mutilated Note.

           7.8     Company Obligations. The Holder agrees and acknowledges that this Note and
  the Company’s obligations hereunder and for all Amounts Payable are solely obligations and
  liabilities of the Company. None of the Company’s directors, officers, employees, stockholders,
  advisors, consultants and affiliates or any other persons shall be obligated or liable in respect of
  this Note or any Amounts Payable, and the Holder hereby releases them from any such
  obligation or liability.

          7.9     Cross-References; Headings. Unless otherwise specified, references in this Note
  to any Section are references to such Section of this Note, and unless otherwise specified,
  references in any Section to any clause are references to such clause of such Section. The
  various headings of this Note are inserted for convenience only and shall not affect the meaning
  or interpretation of this Note or any provisions hereof.

       7.10 CHOICE OF LAW; LITIGATION. (a) THIS NOTE SHALL BE GOVERNED
  BY, CONSTRUED, APPLIED AND ENFORCED IN ACCORDANCE WITH THE
  INTERNAL LAWS OF THE STATE OF DELAWARE. THE CHOICE OF FORUM SET
  FORTH IN THIS SECTION 7.10 SHALL NOT BE DEEMED TO PRECLUDE THE
  ENFORCEMENT OF ANY JUDGMENT OF A DELAWARE FEDERAL OR STATE COURT,
  OR THE TAKING OF ANY ACTION UNDER THIS AGREEMENT TO ENFORCE SUCH A
  JUDGMENT, IN ANY OTHER APPROPRIATE JURISDICTION.

        (b) IN THE EVENT ANY PARTY TO THIS AGREEMENT COMMENCES ANY
  LITIGATION, PROCEEDING OR OTHER LEGAL ACTION IN CONNECTION WITH OR
  RELATING TO THIS NOTE, THE HOLDER AND THE COMPANY HEREBY (1) AGREE
  UNDER ALL CIRCUMSTANCES ABSOLUTELY AND IRREVOCABLY TO INSTITUTE
  ANY LITIGATION, PROCEEDING OR OTHER LEGAL ACTION IN A COURT OF
  COMPETENT JURISDICTION LOCATED WITHIN THE STATE OF DELAWARE,

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  WHETHER A STATE OR FEDERAL COURT; (2) AGREE THAT IN THE EVENT OF ANY
  SUCH LITIGATION, PROCEEDING OR ACTION, THE HOLDER AND THE COMPANY
  WILL CONSENT AND SUBMIT TO THE PERSONAL JURISDICTION OF ANY SUCH
  COURT DESCRIBED IN CLAUSE (1) OF THIS SECTION AND TO SERVICE OF
  PROCESS UPON THEM IN ACCORDANCE WITH THE RULES AND STATUTES
  GOVERNING SERVICE OF PROCESS (IT BEING UNDERSTOOD THAT NOTHING IN
  THIS SECTION SHALL BE DEEMED TO PREVENT THE HOLDER OR THE COMPANY
  FROM SEEKING TO REMOVE ANY ACTION TO A FEDERAL COURT IN THE STATE
  OF DELAWARE; (3) AGREE TO WAIVE TO THE FULL EXTENT PERMITTED BY LAW
  ANY OBJECTION THAT THEY MAY NOW OR HEREAFTER HAVE TO THE VENUE OF
  ANY SUCH LITIGATION, PROCEEDING OR ACTION IN ANY SUCH COURT OR THAT
  ANY SUCH LITIGATION, PROCEEDING OR ACTION WAS BROUGHT IN ANY
  INCONVENIENT FORUM; (4) AGREE, AFTER CONSULTATION WITH COUNSEL, TO
  WAIVE ANY RIGHTS TO A JURY TRIAL TO RESOLVE ANY DISPUTES OR CLAIMS
  RELATING TO THIS NOTE; (5) AGREE TO DESIGNATE, APPOINT AND DIRECT AN
  AUTHORIZED AGENT TO RECEIVE ON ITS BEHALF SERVICE OF ANY AND ALL
  PROCESS AND DOCUMENTS IN ANY LEGAL PROCEEDING IN THE STATE OF
  DELAWARE; (6) AGREE TO PROVIDE EACH OTHER WITH THE NAME, THE MAILING
  ADDRESS AND EMAIL ADDRESS OF SUCH AGENT; (7) AGREE AS AN ALTERNATIVE
  METHOD OF SERVICE TO SERVICE OF PROCESS IN ANY LEGAL PROCEEDING BY
  MAILING OF COPIES THEREOF TO IT AT ITS ADDRESS SET FORTH HEREIN FOR
  COMMUNICATIONS TO IT; (8) AGREE THAT ANY SERVICE MADE AS PROVIDED
  HEREIN SHALL BE EFFECTIVE AND BINDING SERVICE IN EVERY RESPECT; AND
  (9) AGREE THAT NOTHING HEREIN SHALL AFFECT THE RIGHTS OF THE HOLDER
  OR THE COMPANY TO EFFECT SERVICE OF PROCESS IN ANY OTHER MANNER
  PERMITTED BY LAW.




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                   IN WITNESS WHEREOF, the Company has executed and delivered this Note on
  the date first above written.


                                          AMERICAN FREIGHT GROUP, INC.


                                          By:
                                                Name:
                                                Title:




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                           EXHIBIT 4
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                           EXHIBIT 5
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                                                                         EXECUTION VERSION

                                 AMERICAN FREIGHT GROUP, INC.

                                       _____________________


                                 Non-Qualified Stock Option Agreement

                                       Option Agreement No. 13

                                       _____________________

          Subject to the terms and conditions set forth herein and the terms and conditions of the
  American Freight Group, Inc. 2015 Non-Qualified Stock Option Plan (the “Plan”) (with
  capitalized terms used but not defined herein having the meanings given to them in the Plan),
  American Freight Group, Inc., a Delaware corporation (the “Company” which term shall include,
  unless the context otherwise clearly requires, all Subsidiaries (as defined in the Plan) of the
  Company), hereby grants the following option to purchase shares of common stock, par value of
  $0.001 per share, of the Company (the “Stock”) to the Optionee, and the Optionee hereby
  accepts such grant and agrees to be bound by the terms and conditions hereinafter set forth:

  1.      Name of Person to Whom the Option is Granted (the “Optionee”): Asaph Rink

  2.      Date of Grant of Option: February 14, 2018

  3.      An Option to acquire 175.0000 shares of Stock.

  4.      Option Exercise Price (per share of Stock): $3,935 (the “Exercise Price”).

  5.          Term of Option:      Subject to earlier termination under Section 9 below, this Option
                                   expires at 5:00 p.m. local New York, New York time on February
                                   14, 2028.

  6.          Vesting/Exercise     Subject to the provisions of Section 9 below, this Option shall
              Schedule:            vest and become exercisable with respect to the number of shares
                                   of Stock upon the passage of certain time, as shown on Schedule I
                                   attached hereto and incorporated herein.




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  7.      Grant. The Company hereby grants to the Optionee a stock option (the “Option”) to
  purchase from the Company the number of shares of Stock set forth in Section 3 on the first page
  of this Option, upon the terms and conditions set forth in the Plan and upon the additional terms
  and conditions contained herein. This Option is a non-qualified stock option and is not intended
  to qualify as an “incentive stock option” pursuant to Section 422 of the Internal Revenue Code of
  1986, as amended (the “Code”).

  8.      Option Price. To the extent vested, this Option may be exercised at the exercise price per
  share of Stock set forth in Section 4 on the first page hereof, subject to adjustment as provided
  herein and in the Plan.

  9.      Term and Exercisability of Option.

          (a)    This Option shall expire on the earlier of (a) the date determined pursuant to
  Section 5 on the first page of this Option and (b) the date determined pursuant to Sections 11 and
  15(d) of the Plan, and shall be exercisable in accordance with and subject to the terms and
  conditions set forth in the Plan (including but not limited to Section 11 of the Plan) and those
  terms and conditions, if any, set forth in Section 6 on the first page of this Option.
  Notwithstanding anything to the contrary contained herein, vesting shall cease immediately upon
  termination of employment or other engagement for any reason, and any portion of this Option
  that has not vested on or prior to the date of such termination is forfeited on such date. If the
  Optionee dies before this Option has been exercised in full, the personal representative of the
  Optionee may exercise this Option in accordance with the Plan.

          (b)     Notwithstanding anything contained in the Plan or this Option Agreement to the
  contrary (i) to the extent that any of the payments and benefits provided for under the Plan, this
  Option Agreement or any other agreement or arrangement (including payments contingent upon
  the occurrence of a Change in Control) between the Company or any of its Subsidiaries and
  Optionee (collectively, the “Payments”) would constitute a “parachute payment” within the
  meaning of Section 280G of the Code, then the Company and its Subsidiaries shall each use
  commercially reasonable efforts to obtain the stockholder consent required to approve of such
  Payment to preclude such Payment from being subject to the excise tax imposed pursuant to
  Section 4999 of the Code (the “Excise Tax”); provided, however, that in such event the Optionee
  shall reasonably cooperate with the Company and shall take all actions and execute such
  documents and instruments as shall be reasonably necessary to accomplish such preclusion of the
  Excise Tax. In the event that (a) the stockholder consent is not obtained or (b) the Optionee does
  not take the actions set forth in the proviso to the foregoing sentence, the amount of the
  Payments shall be reduced to the amount that would result in no portion of the Payments being
  subject to the Excise Tax.

  10.     Method of Exercise. To the extent that the right to purchase shares of Stock has vested
  hereunder, this Option may be exercised from time to time by written notice to the Company
  substantially in the form attached hereto as Exhibit A, stating the number of shares of Stock with
  respect to which this Option is being exercised, and accompanied by (a) payment in full of the
  Exercise Payment for the number of shares of Stock to be delivered, by means of payment
  acceptable to the Company in accordance with Section 9 of the Plan and (b) an executed joinder
  agreement and a Spousal Consent, if applicable, pursuant to Section 16 of this Option.

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  Notwithstanding the foregoing, Optionee may elect to purchase shares of Stock vested hereunder
  by cashless exercise, whereby Optionee shall receive upon exercise such number of shares of
  Stock equal to (x) the number of Options being exercised less (y) the number of shares of Stock
  with a Fair Market Value equal to the sum of the Exercise Price and the necessary withholding
  obligation with respect to such exercise. Subject to the Plan and to Section 13 hereof, as soon as
  practicable after its receipt of such items, the Company shall deliver to the Optionee (or other
  person entitled to receive the shares of Stock issuable upon exercise of this Option), at the
  principal executive offices of the Company or such other place as may be mutually acceptable, a
  certificate or certificates for such shares out of theretofore authorized but unissued shares or
  reacquired shares of Stock (if certificated) or a certified copy of the stockholders’ registry, as the
  Company may elect; provided, however, that the time of such delivery may be postponed by the
  Company for such period as may be required for it with reasonable diligence to comply with any
  applicable requirements of law. If the Optionee (or other person entitled to exercise this Option)
  fails to pay for and accept delivery of all of the shares specified in such notice upon tender of
  delivery thereof, his or her right to exercise this Option with respect to such shares not paid for
  may be terminated by the Company.

  11.     Forfeiture; Restrictions on Exercise; Right of Repurchase.

          (a)      In addition to the restrictions set forth herein, this Option is subject to forfeiture
  upon the occurrence of the events specified in Sections 11 and 15 of the Plan. The stock issued
  upon the exercise of this Option and other Securities held by the Optionee will be subject to
  further restrictions set forth in the Stockholders’ Agreement, any subscription agreement entered
  into between the Optionee and the Company and this Section 11.

          (b)     General. Upon the termination of Optionee’s employment with, or membership
  on the Board of Directors of, the Company or its Subsidiaries, in each case, for any reason
  (whether by the Optionee or the Company or one of its Subsidiaries and whether with or without
  Cause) (a “Termination”), the Company and Resolute will have the option to repurchase all or
  any portion of the Securities (including Optionee Securities) held by Optionee (whether held by
  the Optionee or one or more of his or her affiliates or Permitted Transferees (as defined in the
  Stockholders Agreement) (“Repurchasable Securities”) pursuant to the terms and conditions set
  forth in this Section 11.

          (c)    Company’s Option. The Company may elect in its sole discretion to purchase all
  or any portion of the Repurchaseable Securities by giving written notice to the Optionee or his or
  her Permitted Transferees (as defined in the Stockholders Agreement) within 90 days following
  the last date on which Optionee may exercise his Options under Section 11 of the Plan. Such
  notice will set forth the number and type of Repurchaseable Securities to be acquired by the
  Company from Optionee, the aggregate consideration to be paid for such Repurchaseable
  Securities, and the time and place for the closing of such purchase. If Optionee is a member of
  the Board at the time of such election, then Optionee will not have the right to vote with respect
  to such election or any other matter relating to this Section 11.

          (d)   Resolute’s Option. If for any reason the Company does not elect to purchase all
  of the Repurchaseable Securities pursuant to Section 11(c), then Resolute may at any time within
  180 days following the last date on which Optionee may exercise his Options under Section 11

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  of the Plan elect in its sole discretion to purchase all or any portion of the Repurchaseable
  Securities which the Company has not elected to purchase by giving written notice to the
  Company and the Optionee or his or her Permitted Transferees (as defined in the Stockholders
  Agreement). Such notice will set forth the number and type of Repurchaseable Securities to be
  acquired by Resolute from the Optionee, the aggregate consideration to be paid for such
  Repurchaseable Securities, and the time and place for the closing of such purchase.

        (e)    Purchase Price. The purchase price for the Repurchaseable Securities (the
  “Repurchase Price”) will be calculated as follows:

               (i)      If the Termination occurs by reason of (A) termination by the Company of
          such Optionee’s employment with the Company or any of its Subsidiaries without Cause
          or by the Optionee for Good Reason or (B) such Optionee’s death or disability, then the
          Repurchase Price will be a price per share equal to the Fair Market Value of the
          Repurchaseable Securities on the date of Termination.

              (ii)      If (A) the Termination occurs by reason of such Optionee’s termination by
          the Company or any of its Subsidiaries for Cause or (B) termination of such Optionee’s
          employment by reason of such Optionee’s resignation other than for Good Reason, then
          the Repurchase Price will be the lesser of a price per share equal to the Original Cost and
          a price per share equal to the Fair Market Value, in each case, of the Repurchaseable
          Securities.

          (f)     Repurchase Closing. If the Company or Resolute has elected to purchase any of
  the Repurchaseable Securities, then the purchase of Repurchaseable Securities pursuant to this
  Section 11 will be completed (the “Repurchase Closing”) at the Company’s principal office, at
  10:00 a.m., on the 30th day following the date the Company or Resolute provides notice to the
  Optionee that the Company or Resolute, as the case may be, are purchasing any of the
  Repurchaseable Securities or on such earlier day as designated by the Company, in its sole
  discretion, upon not less than ten days prior notice to Resolute and the Optionee. If such date is
  not a Business Day, then the Repurchase Closing will occur at the same time and place on the
  next succeeding Business Day. The Company and/or Resolute will pay for the Repurchaseable
  Securities, at their respective options, by (i) delivery of a cashier’s check or wire transfer of
  immediately available funds, (ii) delivery of a Three Year Junior Note, (iii) setoff against any
  and all obligations (to the extent of such obligations) owed to the Company, its Subsidiaries,
  Resolute or any of their respective Affiliates by the Optionee or (iv) any combination of the
  foregoing. The Company and/or Resolute may rescind any exercise of their repurchase rights
  under this Section 11 at any time prior to the Repurchase Closing. At the Repurchase Closing,
  the Optionee shall deliver any certificate or certificates (if certificated) representing the
  Repurchaseable Securities to be purchased, with stock powers or instruments of transfer duly
  executed, for transfer, and such other documents as the Company or Resolute may reasonably
  request. The Company and Resolute will be entitled to receive customary representations and
  warranties as to ownership, title, authority to sell and the like from the Optionees regarding such
  sale, and to receive such other evidence, including applicable inheritance and estate tax waivers,
  as may reasonably be necessary to effect the purchase of the Repurchaseable Securities to be
  purchased pursuant to Section 11.


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          (g)     Failure To Deliver Securities. If Optionee or any other Stockholder whose
  Repurchaseable Securities are to be purchased pursuant to this Section 11 fails to deliver
  certificates representing the Repurchaseable Securities (if certificated) and such other documents
  as the Company or Resolute may reasonably request on the scheduled closing date of such
  purchase, then the Company or Resolute may elect to deposit the consideration representing the
  purchase price of the Repurchaseable Securities with a third party (which may be the Company’s
  attorney, a bank or a financial institution), as escrow agent and exercise its rights pursuant to (h)
  below. In the event of the foregoing election: (i) such Repurchaseable Securities will be deemed
  for all purposes (including the right to vote and receive payment for dividends) to have been
  transferred to the Company or Resolute, as applicable; (ii) to the extent that such Repurchaseable
  Securities are evidenced by certificates or other instruments, such certificates or other
  instruments will be deemed canceled and the Company will issue new certificates or other
  instruments in the name of Resolute, if applicable; (iii) the Company will make an appropriate
  notation in its stock ledger to reflect the transfer of such Repurchaseable Securities to the
  Company or Resolute, as applicable; and (iv) the Person obligated to sell such Repurchaseable
  Securities will merely be a creditor with respect to such Repurchaseable Securities, with the right
  only to receive payment of the purchase price, without interest, from the deposited funds. The
  escrow agent shall release the consideration representing the purchase price of the
  Repurchaseable Securities (excluding any interest earned thereon) to the Optionee upon
  Optionee’s and the Company’s or Resolute’s joint written instructions, which shall be delivered
  to the escrow agent following legal transfer of the Repurchaseable Securities to the Company or
  Resolute, as applicable. If, prior to the third anniversary of the scheduled closing date as
  determined pursuant to this Section 11, the proceeds of sale have not been claimed by such
  Optionee or other seller of the Repurchaseable Securities, then the deposited funds (and any
  interest earned thereon) will be returned to the Person originally depositing the same, and the
  transferors whose Repurchaseable Securities were so purchased will look solely to the purchasers
  thereof for payment of the purchase price, without interest. The escrow agent will not be liable
  for any action or inaction taken by it in good faith.

          (h)    Power of Attorney. Optionee in order more fully to secure the performance of his
  or her obligations hereunder, hereby irrevocably appoints the Company and Resolute and the
  persons deriving title under them jointly and also severally to be his or her attorney to execute
  and complete in favor of the Company or Resolute any documents, including but not limited to a
  stock power or instrument of transfer, which the Company or Resolute may from time to time
  require pursuant to Section 11 for perfecting its title to or for vesting the Repurchaseable
  Securities in the Company or Resolute as applicable. The power hereby conferred shall be a
  general power of attorney and each Optionee hereby ratifies and confirms and agrees to ratify
  and confirm any instrument, act or thing which any such attorney may execute or do.

          (i)    Repurchase Disability.

               (i)       Notwithstanding anything to the contrary herein, the Company shall not be
          permitted to repurchase any Optionee Securities pursuant to Section 11 if the Board
          determines that:

                      (A)     The repurchase of the Repurchaseable Securities would render the
                 Company or the Subsidiaries unable to meet their business plan or obligations in

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                 the ordinary course of business taking into account any pending or proposed
                 transactions, capital expenditures or other budgeted cash outlays by the Company,
                 including, without limitation, any proposed acquisition of any other entity by the
                 Company or any of the Subsidiaries;

                         (B)    The Company is prohibited from repurchasing the Repurchaseable
                 Securities by applicable law restricting the purchase by a corporation of its own
                 shares; or

                         (C)    The repurchase of Repurchaseable Securities would constitute a
                 breach of, default, or event of default under, or is otherwise prohibited by, the
                 terms of any loan agreement or other agreement or instrument to which the
                 Company or any of the Subsidiaries is a party or the Company is not able to
                 obtain the requisite consent of any of its senior lenders to the repurchase of the
                 Repurchaseable Securities. The events described in (A) through (C) above each
                 constitute a “Repurchase Disability.”

               (ii)       In the event of a Repurchase Disability, the Company shall notify in
          writing any Optionee whose Repurchaseable Securities are to be repurchased pursuant to
          Section 11 (a “Disability Notice”). The Disability Notice shall specify the nature of the
          Repurchase Disability. The Company shall thereafter repurchase the Repurchaseable
          Securities as soon as reasonably practicable, but in any event within thirty (30) days after
          all Repurchase Disabilities cease to exist (or the Company may elect, but shall have no
          obligation, to cause its nominee to repurchase the Repurchaseable Securities while any
          Repurchase Disabilities continue to exist). In the event the Company suspends its
          obligations to repurchase the Repurchaseable Securities pursuant to a Repurchase
          Disability, (A) the Company shall provide written notice to each applicable Optionee as
          soon as practicable after all Repurchase Disabilities cease to exist (the “Reinstatement
          Notice”); (B) the Fair Market Value of the Repurchaseable Securities shall be determined
          as of the date the Reinstatement Notice is delivered to the Optionee, which Fair Market
          Value shall be used to determine the Repurchase Price in the manner described above;
          and (C) the repurchase shall occur on a date specified by the Company within 10 days
          following the determination of the Fair Market Value of the Repurchaseable Securities as
          provided in clause (B) above.

          (j)     If the Company or Resolute does not deliver to the Optionee a written notice of its
  intention to exercise the repurchase rights set forth in this Section 11 within 180 days following a
  Termination, such repurchase rights will expire. This Section 11 shall terminate upon (i) the
  effectiveness of an initial bona fide, firm commitment underwritten public offering of any
  securities of the Company for which the aggregate purchase price of the securities sold is in
  excess of $100 million or (ii) the consummation of a Change in Control.

         (k)     Certain Definitions. For purposes of this Section 11, the following terms shall
  have the following meanings unless the context indicates otherwise:

              (i)     “Business Day” means any day except a Saturday, Sunday or other days
          on which commercial banks in New York City are required or authorized by law to close.


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              (ii)        “Common Stock” shall mean shares of the Company’s common stock, par
          value $0.001 per share, that the Company may be authorized to issue from time to time
          and any stock or other securities issued or issuable with respect to such shares, including
          pursuant to a stock dividend, stock split, or like action, or pursuant to a plan of
          recapitalization, reorganization, reclassification, exchange, merger, sale of assets or
          otherwise.

              (iii)      “Common Stock FMV” shall mean, as of any date of determination, the
          quotient obtained by dividing (i) an amount equal to (A) the Company Stock FMV, less
          (B) the Preferred Stock FMV by (ii) the aggregate number of shares of Common Stock
          issued and outstanding on a Fully-Diluted Basis as of the applicable date of
          determination.

              (iv)        “Company Stock FMV” shall mean, as of any date of determination, an
          amount equal to (i) the Enterprise Value, less (ii) the aggregate amount of Indebtedness
          of the Company and the Subsidiaries, including, but not limited to, indebtedness for
          borrowed money and capitalized leases of the Company and the Subsidiaries as of the
          end of the Determination Period (including, without limitation, interest accrued but
          unpaid as of the end of the Determination Period), less (iii) the aggregate amount to be
          paid pursuant to any earnout, deferred purchase price or similar amounts in respect of
          acquisitions outstanding as of the end of the Determination Period, less (iv) the aggregate
          amount that would have been payable by the Company in respect of any stock
          appreciation rights or similar obligation of the Company or its Subsidiaries outstanding as
          of the end of the Determination Period (whether or not restricted as of such date), less (v)
          any other long-term obligations or liabilities of the type reflected on the face of a balance
          sheet of the Company, as determined in accordance with GAAP.

              (v)       “Contract” shall mean any binding contract, lease, agreement, indenture,
          mortgage, note, bond or instrument, whether written or oral.

              (vi)       “Determination Period” shall mean the last four (4) consecutive completed
          fiscal quarters as set forth on the unaudited financial statements of the Company
          immediately preceding the applicable date of determination of the Enterprise Value.

              (vii)      “EBITDA” shall mean, for any period, the consolidated net income (or
          loss) of the Company (after eliminating all extraordinary or non-recurring items of
          income (or loss)), as reflected in the Company’s financial statements for such period,
          further adjusted by (i) without duplication, the addition of (A) interest and other expense
          in respect of indebtedness for borrowed money and similar expense in respect of
          capitalized leases, charged, accrued or otherwise allocated against such net income (or
          loss), (B) expenses for income taxes (whether paid, accrued or deferred) charged or
          otherwise allocated against such net income, (C) depreciation and amortization of any
          assets or other non-cash charges (including, without limitation, any depreciation,
          amortization and other non-cash charges relating to purchase accounting adjustments, and
          any amortization or write-off of intangible assets, transaction costs or goodwill) charged,
          allocated or otherwise accrued against such net income (or loss) and (D) non-cash
          expenses attributable to the issuance of stock, options, warrants, stock appreciation rights

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          or similar rights by the Company to any of its directors, officer, employees, dealers or
          others or the exercise thereof, charged, accrued or allocated against such net income (or
          loss) and (ii) without duplication, the subtraction of interest income, non-cash gains and
          other income, in each case, excluding any such interest, depreciation, amortization costs
          and expenses and income previously taken into account in determining EBITDA during
          any period preceding such period, all as determined in accordance with U.S. generally
          accepted accounting principles, consistently applied.

            (viii)        “Enterprise Value” shall mean, as of any date of determination, an amount
          equal to (i) seven (7) multiplied by the average annual EBITDA for the Determination
          Period, plus (ii) the aggregate amount of Unrestricted Cash of the Company and the
          Subsidiaries plus (iii) the aggregate exercise or conversion price of all options or warrants
          exercisable for, or securities convertible into, Common Stock outstanding (whether
          vested or not) as of the applicable date of determination.

              (ix)        “Equity Interest” means, with respect to any Person, (i) any capital stock,
          shares, partnership interests, membership interests, limited liability company interests,
          stock appreciation rights, phantom equity interests or other ownership or equity interests
          of such Person, including any securities exercisable, exchangeable or convertible into any
          of the foregoing, (ii) any other interest or participation that confers on the holder thereof
          the right to receive a share of the profits and losses or, or distributions of assets of, such
          Person, and (iii) any warrants, options or other rights to acquire any of the foregoing.

               (x)       “Fair Market Value” shall mean, (i) with respect to Common Stock, the
          Common Stock FMV and (ii) with respect to Preferred Stock, the quotient obtained by
          dividing (A) the Preferred Stock FMV by (B) the aggregate number of shares of Preferred
          Stock issued and outstanding as of the applicable date of determination.

              (xi)      “Fully-Diluted Basis” shall mean the number of shares of Common Stock
          which would be outstanding, as of the date of computation, if all vested and outstanding
          Stock Equivalents had been converted, exercised or exchanged.

            (xii)        “GAAP” shall mean generally accepted accounting principles in the
          United States as in effect on the date hereof and from time to time.

             (xiii)       “Income Tax” means (i) all Taxes based on income determined under
          provisions of the Code and (ii) foreign, state and other taxes (including franchise taxes)
          based on income or gross receipts, including a Tax assessed on a corporation by reference
          to its income, gains, or profits, and shall include for the avoidance of doubt, any
          withholding taxes, and in each instance any interest, penalties or additions to tax
          attributable to such Tax.

              (xiv)      “Indebtedness” shall mean, with respect to the Company and its
          Subsidiaries, and without duplication: (i) any indebtedness for borrowed money,
          (ii) indebtedness evidenced by notes, bonds, debentures, mortgages or other debt
          instruments or debt securities, (iii) to the extent drawn, all obligations of the Company
          and its Subsidiaries in respect of letters of credit, performance bonds, bankers


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          acceptances or similar obligations of the Company and its Subsidiaries or incurred in
          connection with performance guaranties related to insurance obligations (including letters
          of credit supporting insurance policies for worker’s compensation), (iv) all obligations of
          the Company and its Subsidiaries as lessee or lessees under leases that have been
          recorded as capital leases in accordance with GAAP, (v) all payment obligations under
          any interest rate, foreign exchange, commodity or other swap, hedge, or other financial
          derivative instruments or agreement to which the Company or any Subsidiary is a party
          (valued at the termination value thereof), (vi) whether or not so included as Liabilities in
          accordance with GAAP, all indebtedness or obligations of the types referred to in the
          preceding clauses (i) through (v) of the Company or any Subsidiary secured by any Lien
          on any assets owned or purchased by the Company or any of its Subsidiaries (including
          indebtedness arising under conditional sales or other title retention agreements), even
          though (A) such Person has not assumed or otherwise become liable for the payment
          thereof or (B) such indebtedness is limited in recourse, (vii) all obligations of the
          Company or any of its Subsidiaries issued or assumed as the deferred purchase price of
          businesses, assets, property, Equity Interests or services, including potential earn-outs,
          purchase price adjustments, post-closing payments in respect of transaction tax benefits,
          non-competition payments or similar payments, in each case in respect of past
          acquisitions, as well as the deferred purchase price for security cameras and systems,
          (viii) all Liabilities or underfunding of the Company or any of its Subsidiaries in relation
          to pension plans, retiree medical and any other long-term obligations under Laws or
          pension, welfare or benefit plans for the Company or any of its Subsidiaries, (ix) all Off-
          Balance Sheet Financings of the Company or any of its Subsidiaries, (x) the amount of
          any guarantees made by the Company or any of its Subsidiaries of indebtedness of the
          type described in clauses (i) through (ix) above of any Person, (xi) any unpaid interest,
          fees, prepayment premiums or penalties, make-whole payments, breakage costs,
          indemnities, expenses and other obligations or amounts, owing on or in respect of any
          such indebtedness described in clauses (i) through (x) above, (xii) all obligations of the
          Company or any of its Subsidiaries arising from deferred compensation or severance and
          similar arrangements (including payroll, employment and other Taxes thereon), (xiii) all
          deferred or unearned revenue of the Company and its Subsidiaries, amounts refundable
          by the Company and its Subsidiaries under Contracts with their customers (including all
          advanced payments, contingent refunds, and amounts refundable by the Company and its
          Subsidiaries) and any Liabilities to customers for inventory assumed by such Person,
          (xiv) any Net Tax Liabilities and (xv) any Lay-Away Obligations; provided, however,
          that none of the following shall constitute Indebtedness hereunder: (A) to the extent
          undrawn, any obligation with respect to any letter of credit (or reimbursement agreement
          in respect thereof), (B) any operating lease, (C) any guarantee by the Company or any of
          its Subsidiaries of the obligations of any other Subsidiary and (D) any indebtedness of
          any Subsidiary owed to any other Subsidiary. For all purposes of this Agreement,
          Indebtedness shall include the indebtedness of any partnership or joint venture in which
          Subsidiary is a general partner or joint venturer (to the extent that such Subsidiary is
          liable for such indebtedness).

             (xv)         “Laws” means all applicable federal, state, local and foreign laws, statutes,
          constitutions, rules, regulations, ordinances, common law and similar provisions having


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          the force of law and all judgments, rulings, orders, decrees, administrative
          determinations, injunctions, guidance and guidelines of governmental authorities.

             (xvi)      “Lay-Away Obligations” shall mean those deposits or monies received
          from a Person representing part or all of the price of goods that was payable in one or
          more payments subsequent to the making of a layaway agreement and for which the
          Company or any Subsidiary retains possession of such goods and bears the risk of their
          loss or damage until such goods are paid in full and delivered according to the layaway
          agreement, the dollar amount of inventory purchased by a customer but not yet received
          by such customer, and escheatment, unclaimed property and similar liabilities.

            (xvii)        “Liability” means any liability (whether known or unknown, whether
          asserted or unasserted, whether absolute or contingent, whether accrued or unaccrued,
          whether liquidated or unliquidated, and whether due or to become due), including any
          Liability for Taxes.

            (xviii)       “Lien” shall mean any security interest, lien, charge, mortgage, deed,
          assignment, pledge, hypothecation, encumbrance, servitude, easement, restriction
          (including any repatriation restrictions), judgment, option, right of first offer, right of first
          refusal or interest of another Person of any kind or nature.

             (xix)         “Net Tax Liabilities” means an amount, which may be positive or
          negative, equal to the sum of any amounts that would be properly accrued as current
          liabilities for Income Taxes on the consolidated balance sheet of the Company and its
          Subsidiaries in accordance with GAAP reduced by any amounts that would be properly
          accrued as a current asset for Income Taxes on the consolidated balance sheet of the
          Company and its Subsidiaries.

              (xx)       “Off-Balance Sheet Financing” means (a) any liability of the Company or
          any Subsidiary under any sale leaseback transactions which does not create a liability on
          the consolidated balance sheet of the Company and its Subsidiaries and (b) any liability
          of the Company or any Subsidiary under any synthetic lease, Tax retention operating
          lease, off-balance sheet loan or similar off-balance sheet financing product where the
          transaction is considered indebtedness for borrowed money for federal income Tax
          purposes but is classified as an operating lease in accordance with GAAP for financial
          reporting purposes.

            (xxi)        “Original Cost” shall mean the original purchase or exercise price actually
          paid for a Repurchaseable Security.

            (xxii)        “Preferred Stock” shall mean the shares of the Company’s preferred stock,
          par value $0.001 per share, that the Company may be authorized to issue from time to
          time and any stock or other securities issued or issuable with respect to such shares,
          including pursuant to a stock dividend, stock split, or like action, or pursuant to a plan of
          recapitalization, reorganization, reclassification, exchange, merger, sale of assets or
          otherwise.



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            (xxiii)      “Preferred Stock FMV” shall mean, as of any date of determination, the
          lesser of (i) the liquidation value of the outstanding shares of Preferred Stock as
          calculated in accordance with the Certificate of Incorporation or (ii) the Company Stock
          FMV.

            (xxiv)        “Securities” shall mean all (A) shares of Common Stock, (B) shares of
          Preferred Stock, (C) Stock Equivalents and D) securities of the Company issued or
          issuable with respect to the securities referred to in clauses (A) through (C) above,
          including pursuant to a stock dividend, stock split, or like action, or pursuant to a plan of
          recapitalization, reorganization, merger, sale of assets or otherwise.

            (xxv)        “Stock Equivalents” shall mean any (i) warrants, options or other right to
          subscribe for, purchase or otherwise acquire any shares of Common Stock or (ii) any
          securities convertible into or exchangeable for shares of Common Stock.

            (xxvi)       “Tax” or “Taxes” shall mean all federal, state, county, local, franchise or
          foreign income, payroll, employment, excise, environmental, customs, franchise, windfall
          profits, withholding, social security (or similar), unemployment, real property, personal
          property (tangible or intangible), escheat, unclaimed property, sales, use, transfer,
          registration, value added, gross receipts, net proceeds, turnover, license, ad valorem,
          capital stock, disability, stamp, leasing, lease, excess profits, occupational and interest
          equalization, fuel, severance, alternative or add-on minimum or estimated tax, charge,
          fee, levy, duty or other assessment, and other obligations of the same or of a similar
          nature to any of the foregoing due or claimed to be due by or to any Taxing authority,
          including any interest, penalty or addition thereto, whether disputed or not.

           (xxvii)        “Three Year Junior Notes” shall mean a promissory note of the Company
          in the form attached hereto as Exhibit C.

          (xxviii)        “Unrestricted Cash” shall mean, as of any date of determination, the
          aggregate amount of immediately available cash and cash equivalents of the Company
          and the Subsidiaries after any applicable withholding taxes, excluding (i) credit card
          receivables, (ii) register cash and (iii) cash or cash equivalents (A) subject to any Lien
          and (B) that may not be legally distributed on such date of determination by means of one
          or more direct or indirect dividends or distributions to the Company.

  12.    Nonassignability of Option Rights. This Option shall not be assignable or transferable by
  the Optionee except by will or by the laws of descent and distribution. During the life of the
  Optionee, this Option shall be exercisable only by Optionee or, in the event of Optionee’s legal
  incapacity, by Optionee’s legal representative.

  13.     Compliance with Securities Act. The Company shall not be obligated to sell or issue any
  shares of Stock or other securities pursuant to the exercise of this Option unless the shares of
  Stock or other securities with respect to which this Option is being exercised are at that time
  effectively registered or exempt from registration under the Securities Act of 1933, as amended,
  and applicable state securities laws. In the event shares or other securities shall be issued which
  shall not be so registered, the Optionee hereby represents, warrants and agrees that he or she will


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  receive such shares or other securities for investment and not with a view to their resale or
  distribution, and will execute an appropriate investment letter satisfactory to the Company and its
  counsel as a condition precedent to any exercise of this Option in whole or in part.

  14.     Legends. The Optionee hereby acknowledges that, if certificated, the stock certificate or
  certificates evidencing shares of Stock or other securities issued pursuant to any exercise of this
  Option will bear a legend setting forth the restrictions on their transferability described in
  Section 13 hereof, in Section 12 of the Plan, and under any applicable agreements between the
  Optionee and the Company or any of its stockholders.

  15.     Rights as Stockholder. The Optionee shall have no rights as a stockholder with respect to
  any shares of Stock or other securities covered by this Option until the date of issuance of a
  certificate to him or her for such shares or other securities (if certificated) or the date on which
  the Company updates the stockholders’ registry reflecting such issuance. No adjustment shall be
  made for dividends or other rights for which the record date is prior to the date such certificate is
  issued (if certificated) or the date on which the Company updates the stockholders’ registry.

  16.     Certain Agreements. The Optionee hereby agrees to be bound by the terms and
  conditions of the Stockholders’ Agreement dated October 31, 2014 as amended or modified from
  time to time, among the Company and the other persons named therein (the “Stockholders’
  Agreement”). The Optionee hereby further acknowledges and agrees that the Option and the
  shares of Stock issuable upon exercise of the Option are and shall be subject to the terms and
  provisions of the Stockholders’ Agreement; provided, however, that, in case of any conflict
  between this Option Agreement and the Stockholders’ Agreement, this Option Agreement shall
  control. Upon the Optionee’s exercise of the Option in accordance with Section 10 hereof, the
  Optionee agrees to execute a joinder agreement to the Stockholders’ Agreement in the form as
  determined by the Committee in its sole discretion and agrees to have his or her spouse, if
  applicable, execute a spousal consent by which Optionee’s spouse acknowledges and consents to
  the restrictions set forth in such Stockholders’ Agreement (the “Spousal Consent”).

  17.     Restrictions.

         (a)   Definitions. For purposes of this Section 17, the following terms shall have the
  following meanings unless the context indicates otherwise:

                 “Business” shall mean any business of the Company or any of its Subsidiaries, as
  conducted by or engaged in on the date hereof, and as proposed to be conducted by or engaged in
  on the date hereof, by the Company or any of its Subsidiaries, including, without limitation, the
  business of selling furniture, carpet, upholstery, bedding, fabric protection products, case goods,
  mattresses and other furniture accessories and related goods directly to retail customers.

                 “Competing Business” shall mean any business of the Company or any of its
  Subsidiaries, as conducted by or engaged in on the date hereof, and as proposed to be conducted
  by or engaged in on the date hereof, including, without limitation, the business of selling
  furniture, carpet, upholstery, bedding, fabric protection products, case goods, mattresses and
  other furniture accessories and related goods directly to retail customers. The term “Competing



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   Business” shall also include training and sales techniques provided to employees of the
   Company or any of its Subsidiaries.

                  “Protected Territory” shall mean North America.

                  “Restricted Period” shall mean the period during which an Optionee holds any
   Securities and for two (2) years thereafter.

                 “Termination Date” shall mean, as applicable, the date of termination of
   Optionee’s employment with the Company or any of its Subsidiaries or membership on the
   Board of Directors of the Company.

           (b)      Confidentiality. During and after the Restricted Period, Optionee recognizes and
   acknowledges that Optionee has and may in the future receive certain confidential and
   proprietary information and trade secrets of the Company and its Subsidiaries (the “Confidential
   Information”), and that such Confidential Information constitutes valuable, special and unique
   property of the Company. The term Confidential Information will be interpreted to include all
   information of any sort (whether merely remembered or embodied in a tangible or intangible
   form) that is (a) related to the Company’s and its Subsidiaries’ current or potential business
   (including information received by the Company or any of its Subsidiaries from third parties),
   and (b) not generally or publicly known. Optionee agrees not to disclose or use for Optionee’s
   own account any Confidential Information without the Board’s prior written consent, except (i)
   to the extent that any Confidential Information becomes generally known to and available for use
   by the public other than as a result of Optionee’s acts or omissions; (ii) to the extent that any
   Confidential Information is required to be disclosed pursuant to any applicable law or court
   order; or (iii) to Optionee’s attorneys and accountants; provided that, in the case of subsection
   (iii) hereof, Optionee shall cause each Person receiving such Confidential Information to be
   informed that such Confidential Information is strictly confidential and subject to this Agreement
   and to agree not to disclose or use such information except as provided herein. Optionee
   acknowledges and agrees that all notes, records, reports, sketches, plans, unpublished
   memoranda or other documents, whether in paper or electronic form (and copies thereof), held
   by Optionee concerning any information relating to the Company’s and its Subsidiaries’
   business, whether confidential or not, are the property of the Company and will be promptly
   delivered to it upon the termination of Optionee’s ownership of Optionee Securities.

          (c)     Books and Records. All books, records, reports, writings, notes, notebooks,
   computer programs, sketches, drawings, blueprints, prototypes, formulas, photographs,
   negatives, models, equipment, reproductions, proposals, flow sheets, supplier lists, supply terms
   or contracts, customer lists and other documents and/or things relating in any manner to the
   business of the Company or any of its Subsidiaries or affiliates (including but not limited to any
   of the same embodying or relating to any Confidential Information), whether prepared by
   Optionee or otherwise coming into Optionee’s possession, shall be the exclusive property of the
   Company and shall not be copied, duplicated, replicated, transformed, modified or removed from
   the premises of the Company except pursuant to and in furtherance of the business of the
   Company and shall be returned immediately to the Company on the Termination Date or on the
   Company’s request at any time.



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           (d)    Inventions and Patents.

                 (i)       Optionee agrees that any and all writings, documents, inventions,
           discoveries, processes, methods, designs, mask works, compositions of matter,
           formulations, computer programs or instructions (whether in source code, object code, or
           any other form), algorithms, formulae, plans, customer lists, vendor lists, memoranda,
           tests, research, designs, specifications, models, data, diagrams, flow charts, and/or
           techniques (whether reduced to written form or otherwise) that Optionee makes,
           conceives, discovers, or develops, either solely or jointly with any other person, at any
           time during the period during which Optionee or its permitted transferees holds any
           Optionee Securities, whether during working hours or at the Company’s facility or at any
           other time or location, whether patentable or not, and whether upon the request or
           suggestion of the Company or otherwise, that relate to or are useful in any way in
           connection with the Business (collectively, the “Intellectual Work Product”) shall be the
           sole and exclusive property of the Company. Optionee agrees to promptly and fully
           disclose all the Intellectual Work Product to the Company, and Optionee shall not have
           any claim for compensation for the Intellectual Work Product.

                (ii)       Optionee agrees that all Intellectual Work Product that is copyrightable
           shall be considered a work made for hire under the United States Copyright Act. To the
           extent that any copyrightable Intellectual Work Product may not be considered a work
           made for hire under the applicable provisions of copyright law, or to the extent that,
           notwithstanding the foregoing provisions, Optionee may retain an interest in any
           Intellectual Work Product, Optionee hereby irrevocably assigns and transfers to the
           Company any and all right, title, or interest that Optionee may have in the Intellectual
           Work Product under copyright, patent, trade secret, trademark and other law protecting
           proprietary or intellectual property rights, in perpetuity or for the longest period
           otherwise permitted by law, without the necessity of further consideration. The Company
           shall be entitled to obtain and hold in its own name all registrations of copyrights,
           patents, trade secrets, trademarks and other proprietary or intellectual property rights with
           respect thereto.

               (iii)      At the sole request and expense of the Company, either before or after the
           Restricted Period, Optionee shall assist the Company in acquiring and maintaining
           registrations under copyright, patent, trade secret, trademark and other laws protecting
           proprietary or intellectual property rights in, and confirming its title to, all Intellectual
           Work Product. Optionee’s assistance shall include signing all applications for
           copyrights, patents and other proprietary or intellectual property rights and other
           documents, cooperating in legal proceedings and taking any other steps considered
           desirable by the Company.

           (e)     Non-Disparagement. During and after the Restricted Period, Optionee shall not,
   and shall ensure that its agents, representatives and affiliates do not, directly or indirectly,
   disparage or make negative, derogatory or defamatory statements about the Company or any of
   its Subsidiaries, their respective business activities, or any of their respective Stockholders,
   directors, officers or employees.


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           (f)      Nonsolicitation. During the Restricted Period, Optionee shall not, directly or
   indirectly, in any manner (whether on his own account, as an owner, operator, officer, director,
   partner, manager, employee, agent, contractor, consultant or otherwise): (a) hire or engage, or
   recruit, solicit or otherwise attempt to employ or retain or enter into any business relationship
   with, any current or former employee of or consultant to the Company or any of its Subsidiaries,
   (b) induce or attempt to induce any current or former employee of, or consultant to, the Company
   or any of its Subsidiaries, to leave the employ of the Company or any such Subsidiary, or in any
   way interfere with the relationship between the Company or any of its Subsidiaries and any their
   employees or consultants, (c) employ or retain or enter into any business relationship with any
   person who was an employee of or consultant to the Company or any of its Subsidiaries or (d) in
   any way interfere with the relationship between the Company or any of its Subsidiaries and any
   supplier, licensee, lessor or other business relation (or any prospective supplier, licensee, lessor
   or other business relationship) of the Company or any of its Subsidiaries (including, without
   limitation, by making any negative or disparaging statements or communications regarding the
   Company, any of its Subsidiaries or any of their operations, officers, directors or investors).

           (g)     Noncompetition. During the Restricted Period, Optionee shall not directly or
   indirectly, (a) own, operate, manage, control, participate in, provide support to (financial or
   otherwise), consult with, advise, permit his or her name to be used by, provide services for, lease,
   or in any manner engage in or knowingly facilitate (including, in association with any person, or
   through any person), any business that sells (i) any products or provides any services which may
   be used as substitutes for or are otherwise in competition with any products or services sold or
   offered by the Company or its Subsidiaries or reasonably would be expected to be sold or offered
   by a Competing Business or (ii) any other furniture, carpet, upholstery, bedding, fabric
   protection products, case goods, mattresses and other furniture accessories and related goods
   directly to retail customers in the Protected Territory (collectively, “Covered Activities”); or (b)
   acquire an ownership interest in, invest in or provide services to any person which engages in
   any Covered Activities (other than the Company or its Subsidiaries) as a partner, shareholder,
   principal, agent, consultant or in any other relationship or capacity; provided, however, that no
   owner of less than 5% of the outstanding stock of any publicly traded corporation shall be
   deemed to engage solely by reason thereof in its business.

           (h)     Enforcement. If, at the time of enforcement of any provision of Section 17(f) or
   Section 17(g), a court shall hold that the duration, scope or area restrictions stated therein are
   unreasonable under circumstances then existing, the parties agree that the maximum duration,
   scope or area reasonable under such circumstances shall be substituted for the stated duration,
   scope or area and that the court shall be allowed to revise the restrictions contained therein to
   cover the maximum period, scope and area permitted by law. Because Optionee has access to
   proprietary information and Confidential Information, the parties hereto agree that money
   damages would not be an adequate remedy for any breach of Sections 17(b) through 17(g).
   Therefore, in the event of a breach or threatened breach of the foregoing sections of this Section
   17, the Company or any of its successors or assigns may, in addition to other rights and remedies
   existing in their favor, apply to any court of competent jurisdiction for specific performance
   and/or injunctive or other relief in order to enforce or prevent any violations of the provisions
   hereof (without posting a bond or other security and without proving actual damages). In
   addition, in the event of an alleged breach or violation by Optionee of any provision of Section
   17(f) or Section 17(g), the Restricted Period shall be tolled until such breach or violation has

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   been duly cured. The existence of any claim or cause of action by Optionee against the
   Company or any of its affiliates, whether predicated on this Agreement or otherwise, will not
   constitute a defense to the enforcement by the Company of the provisions of Sections 17(b)
   through 17(g) which Sections will be enforceable notwithstanding the existence of any breach by
   the Company. If the Company (i) brings any action or proceeding to enforce any provision of
   this Agreement or to obtain damages as a result of a breach of this Agreement or to enjoin any
   breach of this Agreement and (ii) prevails in such action or proceeding, then Optionee will, in
   addition to any other rights and remedies available to the Company, reimburse the Company for
   any and all reasonable costs and expenses (including attorneys’ fees) incurred by the Company in
   connection with such action or proceeding.

            (i)    Further Acknowledgments. Optionee expressly agrees and acknowledges that the
   restrictions contained in Section 17(f) or Section 17(g) do not preclude Optionee from earning a
   livelihood, nor do they unreasonably impose limitations on Optionee’s ability to earn a living. In
   addition, Optionee agrees and acknowledges that the potential harm to the Company of the non-
   enforcement of Section 17(f) or Section 17(g) outweighs any harm to Optionee of his or her
   enforcement by injunction or otherwise. Optionee acknowledges that Optionee has carefully
   read this Agreement and has given careful consideration to the restraints imposed upon Optionee,
   and is in full accord as to their necessity for the reasonable and proper protection of the
   Confidential Information. Optionee expressly acknowledges and agrees that each and every
   restriction imposed by this Agreement is reasonable with respect to subject matter and time
   period and such restrictions are necessary to protect the Company’s interest in, and value of, the
   Company (including, without limitation, the goodwill inherent therein). Optionee understands
   and agrees that the restrictions and covenants contained in Section 17(f) or Section 17(g) are in
   addition to, and not in lieu of, any non-competition, non-solicitation or other similar obligations
   contained in any other agreements between Optionee and the Company.

   18.    Withholding Taxes. The Optionee hereby agrees, as a condition to the exercise of any
   portion of this Option, to provide to the Company an amount sufficient to satisfy its obligation to
   withhold any federal, state and local taxes arising by reason of such exercise (the “Withholding
   Amount”) by (a) authorizing the Company to withhold the Withholding Amount from his or her
   cash compensation, or (b) remitting the Withholding Amount to the Company in cash; provided,
   however, that to the extent that the Withholding Amount is not provided by one or a combination
   of such methods, the Company in its sole and absolute discretion may refuse to issue such shares
   of Stock.

   19.     Effect Upon Employment. Nothing in this Option or the Plan shall be construed to
   impose any obligation upon the Company or any Subsidiary to employ or retain in its employ, or
   continue its involvement with, the Optionee or interfere in any way with any right of the
   Company or any of its Subsidiaries or affiliates to terminate such employment at any time for
   any reason whatsoever (whether for cause or without cause) without liability to the Company or
   any of its Subsidiaries or affiliates.

   20.     Time for Acceptance. This Option shall be effective as of the date an executed copy is
   delivered by the Company to the Optionee, provided, however, that unless the Optionee shall
   return to the Company an executed copy of this Option Agreement, and, if applicable, an


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   executed spousal consent in the form attached hereto as Exhibit B, within fourteen (14) days
   after its delivery to him or her, the Option and this Option Agreement shall be null and void.

   21.     General Provisions.

          (a)     Amendment. This Option Agreement, including the Plan, contains the full and
   complete understanding and agreement of the parties hereto as to the subject matter hereof, and
   except as permitted under the terms of the Plan, this Option Agreement may not be modified or
   amended, nor may any provision hereof be waived, except by a further written agreement duly
   signed by the Company and Optionee. The waiver by either of the parties hereto of any
   provision hereof in any instance shall not operate as a waiver or any other provision hereof or in
   any other instance.

           (b)    Binding Effect. This Option Agreement shall inure to the benefit of and be
   binding upon the parties hereto and, to the extent provided herein and in the Plan, their respective
   heirs, executors, administrators, representatives, successors and assigns.

          (c)      Option Plan; Construction. The Optionee hereby acknowledges receipt of a copy
   of the Plan. Except as otherwise provided in this Option Agreement, all of the terms and
   conditions of the Plan are incorporated herein by reference and this Option is subject to such
   terms and conditions in all respects. In case of any conflict between the Plan and this Option
   Agreement, this Option Agreement shall control. The titles of the sections of this Option
   Agreement and of the Plan are included for convenience only and shall not be construed as
   modifying or affecting their provisions. The masculine gender shall include both sexes; the
   singular shall include the plural and the plural the singular unless the context otherwise requires.

           (d)      Exclusive Agreement. The Optionee hereby acknowledges and agrees that by
   signing this Option Agreement, the Optionee voluntarily and irrevocably forfeits any and all
   rights, title, and interests the Optionee has or may have had in, to and under (a) any option
   agreement, option letter, or other similar document pursuant to which the Company (or any
   Subsidiary or affiliate thereof) may have previously granted, or offered to grant, options in the
   Company (or any Subsidiary or affiliate thereof) to the Optionee and (b) any oral or written
   commitment or promise regarding options that the Company (or any Subsidiary or affiliate
   thereof) may have made to the Optionee, except as to any options that have been previously
   exercised and paid for by the Optionee.

          (e)    Governing Law. This Option Agreement shall be governed by and construed and
   enforced in accordance with the applicable laws of the State of Delaware (other than the law
   governing conflict of law questions) except to the extent the laws of any other jurisdiction are
   mandatorily applicable.

           (f)     Notices. Any notice, request, instruction or other document to be given hereunder
   by a party hereto shall be in writing and shall be deemed to have been given, (a) when received if
   given in person or by courier or a courier service, (b) on the date of transmission if sent by
   electronic mail (with confirmation of receipt) or (c) five Business Days after being deposited in
   the U.S. mail, certified or registered mail, postage prepaid:



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               To the Optionee:       To his or her address as listed on the books of the Company.

               To the Company:        American Freight Group, Inc.
                                      c/o The Jordan Company, L.P.
                                      399 Park Avenue
                                      30th Floor
                                      New York, New York 10022
                                      Attention:    M. Brad Wilford
                                                    Daniel S. Williams
                                      Email:        bwilford@thejordancompany.com
                                      Email:        dwilliams@thejordancompany.com


               with a copy to:        Mayer Brown LLP
                                      1221 Avenue of the Americas
                                      New York, New York 10020
                                      Attention: Philip O. Brandes
                                      Email: pbrandes@mayerbrown.com


                                  *       *       *      *       *




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                              AMERICAN FREIGHT GROUP, INC.

                                           SCHEDULE I

                                          Vesting Schedule

   175.0000 shares of Stock subject to this Option (the “Option Shares”) shall vest and be
   exercisable according to the following vesting schedule:

       (a) Forty percent (40%) of the Option Shares shall vest and be exercisable on the second
           (2nd) anniversary of February 14, 2018;

       (b) an additional twenty percent (20%) of the Option Shares shall vest and be exercisable on
           the third (3rd) anniversary of February 14, 2018;

       (c) an additional twenty percent (20%) of the Option Shares shall vest and be exercisable on
           the fourth (4th) anniversary of February 14, 2018; and

       (d) the remaining twenty percent (20%) of the Option Shares shall vest and be exercisable on
           the fifth (5th) anniversary of February 14, 2018.

   Notwithstanding the foregoing, upon a Change in Control, 100% of any then-unvested Option
   Shares shall vest and be exercisable upon such Change in Control.




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                                              EXHIBIT A
                                      (to Stock Option Agreement)

                           FORM FOR EXERCISE OF STOCK OPTION

   American Freight Group, Inc.
   c/o The Jordan Company, L.P.
   399 Park Avenue
   30th Floor
   New York, New York 10022
   Attention:    M. Brad Wilford
                 Daniel S. Williams

                  RE:    Exercise of Option under American Freight Group, Inc.
                         2015 Non-Qualified Stock Option Plan (the “Plan”)

   Ladies and Gentlemen:

           Please take notice that the undersigned hereby elects to exercise the stock option granted
   to                            on                                by and to the extent of purchasing
   _____________ shares of common stock, par value of $0.001 per share (the “Stock”), of
   American Freight Group, Inc. (the “Company”) for the option price of $                   per share,
   subject to the terms and conditions of the Stock Option Agreement between ____________ and
   the Company dated as of ____________ (the “Option Agreement”). Capitalized terms used but
   not defined herein shall have the meanings given to such terms in the Plan.

          The undersigned encloses herewith payment, in cash or in such other property as is
   permitted under the Plan, of the Exercise Payment for said shares and has made a provision with
   the Company for the Withholding Amount.

           In connection with the exercise of the Option, the undersigned represents to the Company
   as follows:

          (a)     The undersigned is acquiring the Stock solely for investment purposes, with no
   present intention of distributing or reselling any of the shares of Stock or any interest therein.
   The undersigned acknowledges that the Stock has not been registered under the Securities Act of
   1933, as amended (the “Securities Act”).

          (b)    The undersigned is aware of the Company’s business affairs and financial
   condition and has acquired sufficient information about the Company to reach an informed and
   knowledgeable decision to acquire the Stock.

           (c)     The undersigned understands that the Stock is a “restricted security” under
   applicable U.S. federal and state securities laws and that, pursuant to these laws, the undersigned
   must hold the Stock indefinitely unless it is registered with the Securities and Exchange
   Commission and qualified by state authorities, or unless an exemption from such registration and
   qualification requirements is available. The undersigned acknowledges that the Company has no
   obligation to register or qualify the Stock for resale. The undersigned further acknowledges that


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   if an exemption from registration or qualification is available, it may be conditioned on various
   requirements including, but not limited to, the time and manner or sale, the holding period for the
   Stock, and requirements relating to the Company which are outside of the undersigned’s control,
   and which the Company is under no obligation to and may not be able to satisfy.

          (d)     The undersigned understands that there is no public market for the Stock, that no
   market may ever develop for the Stock, and that the Stock has not been approved or disapproved
   by the Securities and Exchange Commission or any other federal, state or other governmental
   agency.

           (e)      The undersigned understands that the Stock is subject to certain restrictions on
   transfer set forth in the Plan. Both the Plan and the Option Agreement are incorporated herein by
   reference.

           (f)     The undersigned understands that any Stock purchased hereunder shall be subject
   to the Stockholders’ Agreement of the Company as it may be amended from time to time
   (“Stockholders’ Agreement”), a copy of which has been provided to the undersigned, and that it
   is a condition to the exercise of my Option that the undersigned executes a signature page of the
   Stockholders’ Agreement, agreeing to be bound thereby and that the undersigned’s spouse, if
   applicable, must sign the Spousal Consent. The undersigned and his or her spouse has had a full
   and fair opportunity to review the Stockholders’ Agreement prior to exercising the Option.

           (g)      The undersigned understands that any Stock purchased hereunder shall be subject
   to certain repurchase rights that may cause the Stock to be considered unvested at the time of
   purchase for purposes of Section 83 of the Internal Revenue Code of 1986, as amended (the
   “Code”). If the Stock is considered to be unvested upon purchase under Section 83, the fair
   market value of the Stock generally would be reportable to the Participant on the applicable
   vesting date as ordinary income and subject to tax withholding at that time. Instead, the
   Participant may elect to be taxed on the fair market value of the Stock (less the exercise price) at
   the time of purchase by filing an election under Section 83(b) of the Code with the Internal
   Revenue Service within thirty (30) days after purchase. The undersigned acknowledges and
   agrees that it is his or her personal responsibility to determine whether or not to make a Section
   83(b) election and if such election is filed, the undersigned shall provide the Company with a
   copy of the election form filed with the Internal Revenue Service.

                                               Very truly yours,
   Date ______________________

                                               _______________________________________
                                               (Signed by               or other party duly
                                               exercising option)


   Note: If Options are being exercised on behalf of a deceased Optionee, then this Notice must be
   signed by such Optionee’s personal representative and must be accompanied by a certificate
   issued by an appropriate authority evidencing that the individual signing this Notice has been




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   duly appointed and is currently serving as the Optionee’s personal representative under
   applicable local law governing decedents’ estates.




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                                              EXHIBIT C

                             FORM OF THREE YEAR JUNIOR NOTE

   THIS NOTE HAS NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS
   AMENDED, OR ANY APPLICABLE STATE SECURITIES LAWS AND ACCORDINGLY
   MAY NOT BE SOLD, TRANSFERRED OR OTHERWISE DISPOSED OF IN THE
   ABSENCE OF AN EFFECTIVE REGISTRATION STATEMENT UNDER SAID ACT OR
   LAWS OR PURSUANT TO AN EXEMPTION THEREFROM. THE PRINCIPAL AMOUNT
   OF THIS NOTE, AND INTEREST IN RESPECT THEREOF, IS SUBORDINATED TO THE
   PAYMENT IN FULL OF ALL SENIOR INDEBTEDNESS AND IS SUBJECT TO SET-OFF,
   AS DESCRIBED IN THIS NOTE.


                                AMERICAN FREIGHT GROUP, INC.

               NON-NEGOTIABLE THREE YEAR JUNIOR SUBORDINATED NOTE
                                DUE _________, _____

                                                                                New York, New York
   [$ ___________]                                                                    ____ ___, ___


           FOR VALUE RECEIVED, the undersigned, American Freight Group, Inc., a Delaware
   corporation (together with its successors, the “Company”), hereby promises to pay to
   _______________________ (together with its successors and permitted assigns, the “Holder”),
   at the Holder’s residence at __________________________________, the principal amount of
   _______________________ ($_________) on the Maturity Date. Certain capitalized terms are
   used in this Note are as defined in Section 6.

           Section 1. Payment; Interest.

           1.1     The outstanding principal amount of this Note shall bear interest (computed on
   the basis of a 365 day year, as the case may be) accruing daily at a rate equal to five percent (5%)
   per annum from (but excluding) the date hereof to (and including) the date on which the
   principal amount of this Note is paid in full, regardless of the commencement of any bankruptcy
   or insolvency proceedings against the Company. Subject to Section 5 of this Note, such interest
   shall be payable on the Maturity Date.

           1.2    Whenever payment of principal of, or interest on, this Note shall be due on a date
   that is not a Business Day, the date for payment thereof shall be the next succeeding Business
   Day and interest due on the unpaid principal and any other Amounts Payable hereunder shall
   accrue during such extension and shall be payable on such succeeding Business Day.




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          Section 2. Optional Prepayment. The Company shall have the right to prepay the
   principal amount of this Note in whole or in part at any time, or from time to time, without
   payment of any premium or penalty whatsoever, together with interest thereon accrued to the
   date of prepayment; provided, however, that so long as (a) any Senior Indebtedness remains
   outstanding and unpaid, (b) any commitment to provide Senior Indebtedness is outstanding, or
   (c) any other amount is owing to the holders of Senior Indebtedness, this Note may not be
   prepaid, in whole or in part, without the consent of, or written waiver of, any relevant
   prohibitions by the holders of Senior Indebtedness.

           Section 3. Set-off. The Company shall be entitled to set-off and reduce any Amounts
   Payable hereunder for (a) any obligations or liabilities of the Holder to the Company or its
   Subsidiaries or (b) any claims by the Company or its Subsidiaries against the Holder under the
   Stockholders Agreement, or any other agreement, written or oral, between the Company or its
   Subsidiaries and the Holder. The Holder, by accepting this Note, hereby acknowledges and
   agrees to the foregoing provisions, and any subsequent transferee or successor shall be bound by
   the foregoing.

           Section 4. Defaults.

           4.1    Events of Default. If one or more of the following events (“Events of Default”)
   shall have occurred and be continuing:

           (a)    the Company shall fail to pay within ten (10) Business Days of the due date
   thereof any principal of this Note or shall fail to pay within ten Business Days of the due date
   thereof any interest or any other amount payable hereunder and the same shall not have been
   cured within forty-five (45) days after written notice thereof has been given by the Holder to the
   Company;

          (b)     the Company shall fail to observe or perform any covenant or agreement
   contained in this Note (other than those covered by clause (a) above) and the same shall not have
   been cured within sixty (60) days after written notice thereof has been given by the Holder to the
   Company;

           (c)     the Company shall commence a voluntary case or other proceeding seeking
   liquidation, reorganization or other relief with respect to itself or its debts under any bankruptcy,
   insolvency or other similar law now or hereafter in effect or seeking the appointment of a trustee,
   receiver, liquidator, custodian or other similar official, or shall consent to any such relief or to
   the appointment of or taking possession by any such official in an involuntary case or other
   proceeding commenced against it, or shall make a general assignment for the benefit of creditors;
   or

           (d)     an involuntary case or other proceeding shall be commenced against the Company
   seeking liquidation, reorganization or other relief with respect to it or its debts under any
   bankruptcy, insolvency or other similar law now or hereafter in effect or seeking the appointment
   of a trustee, receiver, liquidator, custodian or other similar official, and such involuntary case or
   other proceeding shall remain undismissed and unstayed for a period of sixty (60) days; or an



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   order for relief shall be entered against the Company under the Federal bankruptcy laws as now
   or hereafter in effect;

   then, and in every such event, subject to the provisions of Section 5, the Holder may, by notice to
   the Company and to the holders of Senior Indebtedness, declare the unpaid principal amount of
   this Note together with accrued interest thereon, to be, and such portions of this Note (and
   accrued interest thereon) shall thereupon become, due and payable immediately following
   delivery of such notice to the Company and to the holders of Senior Indebtedness without
   presentment, demand, protest or further notice of any kind, all of which are hereby waived by the
   Company; provided, however, that in the case of any of the Events of Default specified in clause
   (c) or (d) above, such portions of this Note (together with accrued interest thereon) shall, subject
   to the provisions of Section 5, immediately (and without notice) become due and payable
   without presentment, demand, protest or notice of any kind, all of which are hereby waived by
   the Company.

           Section 5. Subordination.

           5.1     Amounts Payable Subordinated to Senior Indebtedness. Notwithstanding any
   provision of this Note to the contrary, the Company covenants and agrees, and the Holder by
   acceptance of this Note likewise covenants and agrees, that all Amounts Payable shall be
   subordinated to the extent set forth in this Section 5 to the prior payment in full in cash of all
   Senior Indebtedness. This Section 5 shall constitute a continuing offer to and covenant with all
   persons who become holders of, or continue to hold, Senior Indebtedness (irrespective of
   whether such Senior Indebtedness was created or acquired before or after the issuance of this
   Note). The provisions of this Section 5 are made for the benefit of all present and future holders
   of Senior Indebtedness (and their successors and assigns), and shall be enforceable by them
   directly against the Holder.

           5.2    Priority Over and Payment of Proceeds in Certain Events.

           (a)     Upon any payment by or on behalf of the Company or distribution of assets of the
   Company, whether in cash, property, securities or otherwise, in the event of any dissolution,
   winding up or total or partial liquidation, reorganization, arrangement, adjustment, protection,
   relief or composition, or assignment for the benefit of creditors of the Company, whether
   voluntary or involuntary or in bankruptcy, insolvency, receivership, reorganization, relief or
   other proceedings or upon an assignment for the benefit of creditors or any other marshalling of
   all or part of the assets and liabilities of the Company (the foregoing events herein collectively
   referred to as an “Insolvency Event”), all Senior Indebtedness shall first be paid in full in cash
   before the Holder shall be entitled to receive any payment by or on behalf of the Company or
   distribution of assets of the Company relating to any Amounts Payable. Upon any Insolvency
   Event, any payment by or on behalf of the Company or distribution of assets of the Company,
   whether in cash, property, securities or otherwise, to which the Holder would be entitled relating
   to any Amounts Payable, except for the provisions of this Section 5, shall, until payment in full
   in cash of all Senior Indebtedness (including from any concurrent payment or distribution to the
   holders of such Senior Indebtedness), be made by the Company or by any receiver, trustee in
   bankruptcy, liquidating trustee, agent or other person making such payment or distribution,



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   directly to the holders of the Senior Indebtedness or their representatives for application to the
   payment or prepayment of all such Senior Indebtedness.

           If the Senior Indebtedness has not been paid in full in cash at a time in which the
   Company is subject to an Insolvency Event, (i) the holders of the Senior Indebtedness are hereby
   irrevocably authorized, but shall have no obligation, to demand, sue for, collect and receive
   every payment or distribution received on or after the Insolvency Event or to be received in
   respect of this Note (regardless of when originally due) in any insolvency proceeding and give
   acquittance therefor and to file claims and proofs of claim, as their interests may appear, and (ii)
   the Holder shall duly and promptly take, for the account of the holders of the Senior
   Indebtedness, as their interests may appear, such actions as the holders of the Senior
   Indebtedness may request to collect and receive all Amounts Payable by the Company in respect
   of this Note and to file appropriate claims or proofs of claim in respect of this Note.

            (b)    No payment shall be made by or on behalf of the Company with respect to any
   Amounts Payable or to acquire this Note (or any portion hereof) for cash, property, securities or
   otherwise, and, by virtue of accepting this Note and the benefits hereof, the Holder shall not be
   entitled, and will not take any action, including any judicial process, to accelerate, demand
   payment or enforce any Indebtedness in respect of this Note or any other claim with regard to
   any Amounts Payable if (i) such payment is prohibited by the terms of any Senior Indebtedness,
   (ii) there has occurred and is continuing a default in the payment of all or any portion of any
   Senior Indebtedness, it being understood that for purposes of this clause (ii), any payment of
   interest accrued on any Senior Indebtedness which is paid, in lieu of cash, with the issuance of a
   payment-in-kind obligation, shall be deemed to continue to be unpaid until such payment-in-kind
   obligation (and all interest accrued thereon) shall have been paid in full or (iii) any other default
   (not involving the non-payment of any Senior Indebtedness) shall have occurred which,
   including after giving any notice or the passage of time, or both, would allow holders of any
   Senior Indebtedness to accelerate or otherwise demand the payment thereof, and in the case of a
   default described in clause (iii), the holders of the Senior Indebtedness have, to the extent
   required under the documents evidencing the Senior Indebtedness given notice of such default to
   the Company (the date that such notice is received by the Company is the “Notice Date”);
   provided that such restrictions on actions, including judicial process, to accelerate, demand
   payment or enforce any such Indebtedness on claim will cease to be applicable twenty-four (24)
   months after the occurrence and continuation of an Event of Default of the types referred to in
   Section 4.1(a) or (b). The Company shall promptly give written notice to the Holder of any
   written notice of default under the Senior Indebtedness.

          (c)    In the event of all or any portion of the principal amount of this Note becoming
   due before the Maturity Date (whether by declaration or otherwise), no payment shall be made
   by or on behalf of the Company on or with respect to any Amounts Payable or to acquire this
   Note (or any portion thereof) for cash, property, securities or otherwise until all Senior
   Indebtedness shall first have been paid in full in cash.

          (d)    If, notwithstanding the foregoing provisions of clauses (a) through (c) prohibiting
   payments or distributions, the Holder shall, on or after the Notice Date or the occurrence of any
   Insolvency Event, have received, directly or indirectly, by setoff, redemption, purchase or in any
   other manner, any payment of, or on account of, any Amounts Payable that was prohibited by

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   this Section 5, before all Senior Indebtedness shall have been paid in full in cash, then and in
   such event such payments or distributions shall be received and held in trust for the holders of
   the Senior Indebtedness and promptly paid over or delivered to the holders of the Senior
   Indebtedness remaining unpaid to the extent necessary to pay in full in cash such Senior
   Indebtedness in accordance with its terms after giving effect to any concurrent payment or
   distribution to the holders of such Senior Indebtedness, provided that any such payment which is,
   for any reason, not so paid over or delivered shall be held in trust by the Holder for the holders of
   Senior Indebtedness.

          (e)    So long as any Senior Indebtedness remains outstanding, or the commitment to
   make credit extensions of any Senior Indebtedness shall not have been terminated, the Holder
   will not be entitled to take, demand or receive, directly or indirectly, by setoff, redemption,
   purchase or in any other manner, any voluntary prepayment or other payment of any Amounts
   Payable in amounts or in a manner which are in violation of the provisions of this Section 5.

           (f)    Upon any payment or distribution of assets referred to in clause (a) above, the
   Holder shall be entitled to rely upon any order or decree of a court of competent jurisdiction in
   which such dissolution, winding up, liquidation or reorganization proceedings are pending, and
   upon a certificate of the receiver, trustee in bankruptcy, liquidating trustee, agent or other person
   making any such payment or distribution of assets, delivered to the Holder for the purpose of
   ascertaining the persons entitled to participate in such distribution of assets, the holders of Senior
   Indebtedness and other Indebtedness of the Company, the amount thereof or payable thereon, the
   amount or amounts paid or distributed thereon and all other facts pertinent thereto or to this
   Section 5.

           5.3    Rights of Holders of Senior Indebtedness Not To Be Impaired, etc.

          (a)     No right of any present or future holder of any Senior Indebtedness to enforce the
   subordination and other terms and conditions provided herein shall at any time in any way be
   prejudiced or impaired by any act or failure to act by any such holder, or by any noncompliance
   by the Company with the terms and provisions and covenants herein regardless of any
   knowledge thereof any such holder may have or otherwise be charged with.

           (b)    This Section 5 may not be amended without the written consent of each holder of
   the Senior Indebtedness and of the Holder, and any purported amendment without such consent
   shall be void. No holder of Senior Indebtedness shall be prejudiced in such holder’s right to
   enforce the subordination and other terms and conditions of this Note by any act or failure to act
   by the Company or anyone in custody of its assets or property.

            5.4    Subrogation. Subject to and upon the payment in full in cash of all Senior
   Indebtedness, the Holder shall be subrogated, to the extent of payments or distributions made to
   the holders of Senior Indebtedness pursuant to or by reason of this Section 5, to the rights of the
   holders of such Senior Indebtedness to receive payments or distributions of assets of the
   Company made on such Senior Indebtedness until all amounts due under this Note shall be paid
   in full; and for the purposes of such subrogation, no payments or distributions to holders of such
   Senior Indebtedness of any cash, property or securities to which the Holder would be entitled
   except for the provisions of this Section 5, and no payment over pursuant to the provisions of this


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   Section 5 to holders of such Senior Indebtedness by the Holder, shall, as among the Company, its
   creditors (other than holders of such Senior Indebtedness) and the Holder be deemed to be a
   payment by the Company to or on account of such Senior Indebtedness, it being understood that
   the provisions of this Section 5 are solely for the purpose of defining the relative rights of the
   holders of such Senior Indebtedness, on the one hand, and the Holder, on the other hand.

           5.5     Obligations of the Company Unconditional. Nothing contained in this Note is
   intended to or shall impair, as between the Company and the Holder, the obligation of the
   Company, which is absolute and unconditional, to pay to the Holder all Amounts Payable, as and
   when the same shall become due and payable in accordance with their terms, or to affect the
   relative rights of the Holder and other creditors of the Company (other than the holders of Senior
   Indebtedness), except as provided in Section 5.2(b).

          5.6     Section 5 Not To Prevent Events of Default. The failure to make a payment of
   any Amounts Payable by reason of any provision of this Section 5 shall not be construed as
   preventing the occurrence or consequences of an Event of Default under Section 4.1 hereof,
   except as provided in Section 5.2(b).

          5.7      Additional Rights of Holders of Senior Indebtedness. Upon request by the
   Company, the Holder of this Note shall deliver to the holders of Senior Indebtedness or parties
   contemplating becoming holders of Senior Indebtedness a written statement confirming that (a)
   the provisions (including those of this Section 5) of this Note are in full force and effect; and (b)
   such party is or will be entitled to rely upon and enjoy the benefits of the provisions (including
   those of this Section 5) of this Note as a holder of Senior Indebtedness.

           5.8    Senior Indebtedness Changes. By virtue of accepting this Note and the benefits
   hereof, the Holder hereby waives any and all notice of renewal, extension or accrual of any of
   the Senior Indebtedness, present or future, and agrees and consents that without notice to or
   consent of the Holder:

          (a)     the obligations and liabilities of the Company or any other party or parties under
   the Senior Indebtedness may, from time to time, in whole or in part, be renewed, refinanced,
   replaced, extended, refunded, modified, amended, accelerated, compromised, supplemented,
   terminated, increased, decreased, sold, exchanged, waived or released;

           (b)     the holders of Senior Indebtedness and their representatives may exercise or
   refrain from exercising any right, remedy or power granted by any document creating,
   evidencing or otherwise related to the Senior Indebtedness or granted at law, in equity, or
   otherwise, with respect to the Senior Indebtedness or in connection with any collateral security
   or lien (legal or equitable) held, given or intended to be given therefor (including, without
   limitation, the right to perfect any lien or security interest created in connection therewith);

           (c)    any and all collateral security and/or liens (legal or equitable) at any time, present
   or future, held, given or intended to be given for the Senior Indebtedness, and any rights or
   remedies of the holders of Senior Indebtedness and their representatives in respect thereof, may,
   from time to time, in whole or in part, be exchanged, sold, surrendered, released, modified,
   perfected, unperfected, waived or extended by the Holders and their representatives;


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          (d)     any balance or balances of funds with any holder of Senior Indebtedness at any
   time standing to the credit of the Company or any guarantor of any of the Senior Indebtedness
   may, from time to time, in whole or in part, be surrendered or released; all as the holders of
   Senior Indebtedness, their representatives or any of them may deem advisable and all without
   impairing, abridging, diminishing, releasing or affecting the subordination to the Senior
   Indebtedness provided for herein; and

          (e)     the Company may incur any amount or type of Senior Indebtedness (including
   Senior Indebtedness owed to Affiliates), or modify, restate, refinance, replace or amend any
   Senior Indebtedness from time to time, on terms and conditions acceptable to the Company,
   without notice to or approval by the Holder. The Company shall deliver written notice to the
   Holder of all actions by the holders of Senior Indebtedness to accelerate payment of, or to
   exercise any other rights, remedies or powers under, the Senior Indebtedness.

           5.9     Waivers. In the event the holders of Senior Indebtedness elect to exercise their
   remedies to liquidate any collateral given to secure the Senior Indebtedness, the Holder hereby
   waives any right it may have to contest the validity of or the value obtained as a result of the
   holders of Senior Indebtedness exercise of their remedies, including, but not limited to, a
   foreclosure, a sale pursuant to the Uniform Commercial Code or the acceptance by the holders of
   Senior Indebtedness in lieu of foreclosure. The Holder further waives any right it may have
   either in or out of any bankruptcy or similar proceeding to challenge any action taken by the
   holders of Senior Indebtedness as either a preference or fraudulent conveyance and further
   agrees not to take any active role in such a proceeding other than the filing of a claim in any such
   proceeding, which claim shall be subordinate (to the extent set forth above) to the claims of the
   holders of Senior Indebtedness.

           Section 6. Definitions. For purposes of this Note, the following terms have the meanings
   set forth below.

           “Affiliates” means the Company, The Resolute Fund III, L.P., and any other person that
   directly, or indirectly through one or more intermediaries, controls or is controlled by or is under
   common control with any of them.

          “Amounts Payable” means all principal of, interest on, premium, if any, fees, costs,
   expenses, indemnities or any other amounts due from the Company under this Note, and all
   claims against or liabilities of the Company in respect of this Note.

        “Business Day” means any day except a Saturday, Sunday or other days on which
   commercial banks in New York City are required or authorized by law to close.

           “Default” means any condition or event that constitutes an Event of Default or that with
   notice or lapse of time or both would, unless cured or waived, become an Event of Default.

           “Indebtedness” means with respect to any Person, and without duplication: (i) any
   obligation of such Person for borrowed money; (ii) all capitalized lease obligations of such
   Person; (iii) indebtedness evidenced by any note, bond, debenture, mortgage or other debt
   instrument or debt security; (iv) any payment obligation under any existing interest rate, foreign
   exchange, commodity or other swap, hedge, or other financial derivative instruments or

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   agreement entered into by such Person, unless extended by mutual agreement; (v) to the extent
   drawn or called upon and not reimbursed, all letters of credit, performance bonds, bankers
   acceptances or similar obligations of such Person or incurred in connection with performance
   guaranties related to insurance obligations (including letters of credit supporting insurance
   policies for worker’s compensation); (vi) whether or not so included as liabilities in accordance
   with GAAP, all indebtedness or obligations of the types referred to in the preceding clauses (i)
   through (vi) of any other Person secured by any Lien on any assets owned or purchased by such
   Person (including Indebtedness arising under conditional sales or other title retention
   agreements), even though (x) such Person has not assumed or otherwise become liable for the
   payment thereof or (y) such Indebtedness is limited in recourse; (vii) all asset financing
   obligations of such Person, to the extent capitalized on the balance sheet of such Person; (viii) all
   amounts owing for the deferred purchase price of acquisitions, whether or not reflected on the
   face of the audited balance sheet of the Company, including all amounts owing for earnouts,
   purchase price adjustments, non-competition payments and similar obligations in respect of past
   acquisitions; (ix) the amount of any guarantees of Indebtedness of the type described in clauses
   (i) through (viii) above of any other Person; and (x) any unpaid interest, fees (whether accrued or
   otherwise), prepayment premiums or penalties, make-whole payments, breakage costs,
   indemnities, expenses and other obligations or amounts owing on or in respect of any such
   indebtedness described in clauses (a) through (ix) above. Indebtedness owed to Affiliates will be
   Indebtedness for purposes of this Note.

           “Maturity Date” means the third anniversary of the issuance of this Note.

           “Note” means this Non-Negotiable Three Year Junior Subordinated Note.

            “Senior Indebtedness” means the principal, interest (including interest accruing
   subsequent to the commencement of a proceeding specified in Sections 4.1(c) and 4.1(d),
   whether or not enforceable in such proceeding) on, premium, if any, fees (including, without
   limitation, any attorneys’, commitment, agency, facility, structuring, restructuring or other fee),
   costs, expenses, indemnities, and other amounts due on or in connection with any Indebtedness
   of the Company and its Subsidiaries, and any refinancings, extensions or replacements of the
   foregoing Indebtedness, now or hereafter incurred, any documents executed under or in
   connection therewith, and any amendments, modifications, deferrals, renewals or extensions of
   such Indebtedness, and any amounts owed in respect of any Indebtedness incurred in
   refinancing, replacing or refunding the foregoing (including any refinancing, replacing or
   refunding with new lenders), unless the terms of such Indebtedness expressly provide that such
   Indebtedness is not Senior Indebtedness with respect to this Note. Nothing in this Note shall
   restrict an Affiliate of the Company from being a holder of Senior Indebtedness.

           “Stockholders’ Agreement” means the Stockholders’ Agreement, dated as of October 31,
   2014, among the Company, the Holder and the other Stockholders listed on the signature pages
   thereto.

          “Subsidiary” of a person means any corporation or other entity of which securities or
   other ownership interests having ordinary voting power to elect a majority of the Board of
   Directors or other persons performing similar functions are at the time directly or indirectly
   owned by such person.

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           Section 7. Miscellaneous.

           7.1    Notices. All notices, requests and other communications to any party hereunder
   shall be in writing and shall be either personally delivered, sent by reputable overnight courier
   service, sent by PDF attachment to email (in such cases by PDF attachment, with hard copy to
   follow) or mailed by first class mail, return receipt requested, to the following address (or at any
   other address as any party shall have specified by notice in writing to the other party):

           If to the Company:

                  American Freight Group, Inc.
                  c/o The Jordan Company, L.P.
                  399 Park Avenue, 30th floor
                  New York, New York 10022
                  Attention:    M. Brad Wilford
                                Daniel S. Williams
                  Email:        bwilford@thejordancompany.com
                                dwilliams@thejordancompany.com

           with a copy to:

                  Mayer Brown LLP
                  1221 Avenue of the Americas
                  New York, New York 10020
                  Attention:   Philip O. Brandes
                  Email:       pbrandes@mayerbrown.com

                  If to the Holder, to:

                  ________________________
                  ________________________
                  ________________________

   Each party may, by notice given in accordance with this Section to the other party, designate
   another address or person for receipt of notices hereunder.

   The date of such notice shall be (w) the date such notice is personally delivered, (x) three
   business days after the date of mailing if sent by certified or registered mail, (y) one business day
   after the date of delivery to the overnight courier if sent by overnight courier or (z) the next
   succeeding business day after transmission by email.

           7.2     No Waivers. No failure or delay by the Holder in exercising any right, power or
   privilege hereunder or under this Note shall operate as a waiver thereof nor shall any single or
   partial exercise thereof preclude any other or further exercise thereof or the exercise of any other
   right, power or privilege. The rights and remedies herein provided shall be cumulative and not
   exclusive of any rights or remedies provided by law. No notice to or demand on the Company in
   any case shall entitle the Company to any other or further notice or demand in related or similar
   circumstances requiring such notice.

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          7.3    Amendments and Waivers. Except as expressly set forth in this Note (including
   Section 5.3(b)), any provision of this Note may be amended or waived if, but only if, such
   amendment or waiver is in writing, signed by the Company and the Holder.

          7.4    Rights of Parties. This Note is delivered pursuant to the terms and conditions of
   the Stockholders Agreement and is subject to the terms thereof.

           7.5    Restrictions on Transfer. This Note may not be sold, pledged, distributed, offered
   for sale, or otherwise transferred by the Holder to any transferee other than to a Permitted
   Transferee (as defined in the Stockholders Agreement).

           7.6     Binding Effect. The provisions of this Note shall be binding upon and inure to the
   benefit of the Holder and its respective successors and permitted assigns.

            7.7     Replacement Note. Upon receipt of evidence reasonably satisfactory to the
   Company of the loss, theft, destruction or mutilation of this Note and of a letter of indemnity
   reasonably satisfactory to the Company from the Holder and upon reimbursement to the
   Company of all reasonable expenses incident thereto, and upon surrender or cancellation of this
   Note, if mutilated, the Company will make and deliver a new Note of like tenor in lieu of such
   lost, stolen, destroyed or mutilated Note.

            7.8     Company Obligations. The Holder agrees and acknowledges that this Note and
   the Company’s obligations hereunder and for all Amounts Payable are solely obligations and
   liabilities of the Company. None of the Company’s directors, officers, employees, stockholders,
   advisors, consultants and affiliates or any other persons shall be obligated or liable in respect of
   this Note or any Amounts Payable, and the Holder hereby releases them from any such
   obligation or liability.

           7.9     Cross-References; Headings. Unless otherwise specified, references in this Note
   to any Section are references to such Section of this Note, and unless otherwise specified,
   references in any Section to any clause are references to such clause of such Section. The
   various headings of this Note are inserted for convenience only and shall not affect the meaning
   or interpretation of this Note or any provisions hereof.

        7.10 CHOICE OF LAW; LITIGATION. (a) THIS NOTE SHALL BE GOVERNED
   BY, CONSTRUED, APPLIED AND ENFORCED IN ACCORDANCE WITH THE
   INTERNAL LAWS OF THE STATE OF DELAWARE. THE CHOICE OF FORUM SET
   FORTH IN THIS SECTION 7.10 SHALL NOT BE DEEMED TO PRECLUDE THE
   ENFORCEMENT OF ANY JUDGMENT OF A DELAWARE FEDERAL OR STATE COURT,
   OR THE TAKING OF ANY ACTION UNDER THIS AGREEMENT TO ENFORCE SUCH A
   JUDGMENT, IN ANY OTHER APPROPRIATE JURISDICTION.

         (b) IN THE EVENT ANY PARTY TO THIS AGREEMENT COMMENCES ANY
   LITIGATION, PROCEEDING OR OTHER LEGAL ACTION IN CONNECTION WITH OR
   RELATING TO THIS NOTE, THE HOLDER AND THE COMPANY HEREBY (1) AGREE
   UNDER ALL CIRCUMSTANCES ABSOLUTELY AND IRREVOCABLY TO INSTITUTE
   ANY LITIGATION, PROCEEDING OR OTHER LEGAL ACTION IN A COURT OF
   COMPETENT JURISDICTION LOCATED WITHIN THE STATE OF DELAWARE,

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   WHETHER A STATE OR FEDERAL COURT; (2) AGREE THAT IN THE EVENT OF ANY
   SUCH LITIGATION, PROCEEDING OR ACTION, THE HOLDER AND THE COMPANY
   WILL CONSENT AND SUBMIT TO THE PERSONAL JURISDICTION OF ANY SUCH
   COURT DESCRIBED IN CLAUSE (1) OF THIS SECTION AND TO SERVICE OF
   PROCESS UPON THEM IN ACCORDANCE WITH THE RULES AND STATUTES
   GOVERNING SERVICE OF PROCESS (IT BEING UNDERSTOOD THAT NOTHING IN
   THIS SECTION SHALL BE DEEMED TO PREVENT THE HOLDER OR THE COMPANY
   FROM SEEKING TO REMOVE ANY ACTION TO A FEDERAL COURT IN THE STATE
   OF DELAWARE; (3) AGREE TO WAIVE TO THE FULL EXTENT PERMITTED BY LAW
   ANY OBJECTION THAT THEY MAY NOW OR HEREAFTER HAVE TO THE VENUE OF
   ANY SUCH LITIGATION, PROCEEDING OR ACTION IN ANY SUCH COURT OR THAT
   ANY SUCH LITIGATION, PROCEEDING OR ACTION WAS BROUGHT IN ANY
   INCONVENIENT FORUM; (4) AGREE, AFTER CONSULTATION WITH COUNSEL, TO
   WAIVE ANY RIGHTS TO A JURY TRIAL TO RESOLVE ANY DISPUTES OR CLAIMS
   RELATING TO THIS NOTE; (5) AGREE TO DESIGNATE, APPOINT AND DIRECT AN
   AUTHORIZED AGENT TO RECEIVE ON ITS BEHALF SERVICE OF ANY AND ALL
   PROCESS AND DOCUMENTS IN ANY LEGAL PROCEEDING IN THE STATE OF
   DELAWARE; (6) AGREE TO PROVIDE EACH OTHER WITH THE NAME, THE MAILING
   ADDRESS AND EMAIL ADDRESS OF SUCH AGENT; (7) AGREE AS AN ALTERNATIVE
   METHOD OF SERVICE TO SERVICE OF PROCESS IN ANY LEGAL PROCEEDING BY
   MAILING OF COPIES THEREOF TO IT AT ITS ADDRESS SET FORTH HEREIN FOR
   COMMUNICATIONS TO IT; (8) AGREE THAT ANY SERVICE MADE AS PROVIDED
   HEREIN SHALL BE EFFECTIVE AND BINDING SERVICE IN EVERY RESPECT; AND
   (9) AGREE THAT NOTHING HEREIN SHALL AFFECT THE RIGHTS OF THE HOLDER
   OR THE COMPANY TO EFFECT SERVICE OF PROCESS IN ANY OTHER MANNER
   PERMITTED BY LAW.




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                    IN WITNESS WHEREOF, the Company has executed and delivered this Note on
   the date first above written.


                                           AMERICAN FREIGHT GROUP, INC.


                                           By:
                                                 Name:
                                                 Title:




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                            EXHIBIT 6
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                                                                  EXECUTION VERSION


                               AGREEMENT AND GENERAL RELEASE

             THIS AGREEMENT AND GENERAL RELEASE (this “Agreement”) is made
      and entered into as of June 13, 2019, by and between American Freight Group, Inc., a
      Delaware corporation (“Holdings” and, together with its subsidiaries, the “Company”),
      and Asaph Rink (the “Executive”).

             FOR VALUABLE CONSIDERATION, the receipt and sufficiency of which is
      hereby acknowledged, the parties agree as follows:




             3.      Equity.

                   (a)    Pursuant to a management subscription agreement, dated January
      28, 2015 between the Executive and Holdings (the “Subscription Agreement”), the
      Executive purchased (i) 10 shares of common stock, par value $0.001 per share
      (“Common Stock”) of Holdings and (ii) 40 shares of Series A Preferred Stock, par value


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      $0.001 per share, of Holdings (the “Preferred Stock” and, together with the Common
      Stock, the “Stock”), which Stock is subject to repurchase rights of Holdings and The
      Resolute Fund III, L.P. (“Resolute”) pursuant to Section 8 of the Subscription
      Agreement. Executive, the Company and Resolute hereby agree that, except as set forth
      below, each of the Company and Resolute hereby waives its repurchase rights set forth
      therein on account of the Executive’s termination of employment with the Company;
      provided, however, that if Executive breaches any term of this Agreement, the
      Subscription Agreement, the Stockholders’ Agreement (as defined below) or the Option
      Agreements (as defined below), or violates any of the restrictive covenants set forth
      therein, including Section 17 of the Option Agreements (as defined below) and Article IV
      of the Stockholders’ Agreement (as defined below), the Executive agrees that the
      Company shall be permitted to repurchase the Stock for a purchase price equal to the
      lesser of Cost and Fair Market Value (each as defined in the Subscription Agreement) for
      such Stock. Section 8(e) through (j) of the Subscription Agreement shall apply to this
      Agreement mutatis mutandis.

                     (b)     On January 28, 2015, pursuant to a Non-Qualified Stock Option
      Agreement (the “2015 Option Agreement”) the Executive was granted an option (the
      “2015 Option”) to purchase 476.2500 shares of Common Stock of Holdings pursuant to
      the American Freight Group, Inc. 2015 Non-Qualified Stock Option Plan (the “Plan”) at
      an exercise price of $1,000 per share. On February 14, 2018, pursuant to a Non-
      Qualified Stock Option Agreement (the “2018 Option Agreement” and, together with the
      2015 Option Agreement, the “Option Agreements”) the Executive was granted an option
      (the “2018 Option” and, together with the 2015 Option, the “Options”) to purchase
      175.0000 shares of Common Stock of Holdings pursuant to the Plan at an exercise price
      of $3,935 per share. The Option Agreements in respect of the Options provide that 40%
      of the shares subject to such Option vest and become exercisable on the second
      anniversary of such grant date and, thereafter, an additional 20% of the shares subject to
      such Option vest and become exercisable on each subsequent anniversary of such grant
      date. As of the Termination Date, 80% of Executive’s 2015 Options (381.0000 shares of
      Common Stock of Holdings) have vested and may be purchased by him at an exercise
      price of $1,000 per share (the “Vested Options”), 20% of such 2015 Options are unvested
      and none of Executive’s 2018 Options have vested. Executive acknowledges that all of
      his unvested Options have expired and agrees that such unvested Options are hereby
      terminated, forfeited and cancelled and shall have no further force or effect from and
      after the Termination Date. Executive further acknowledges and agrees that, except as
      noted in Paragraph 10, the 2018 Option Agreement is hereby terminated.




                                                                                        The
      Executive further acknowledges and agrees that all of Executive’s Vested Options must
      be exercised, if at all, prior to September 4, 2019, or such Vested Options shall
      automatically terminate on September 4, 2019.


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               10.   Survival of Certain Agreements. Executive acknowledges and agrees that
      the Subscription Agreement, the 2015 Option Agreement and the Stockholders’
      Agreement remain in effect, and the Executive further reaffirms and agrees to the
      restrictive covenants therein, including the provisions of Section 17 of the Option
      Agreements and Article IV of the Stockholders’ Agreement, dated October 31, 2014,
      among Holdings, the Executive and the other stockholders party thereto (the
      “Stockholders’ Agreement”), which relate to, among other things, you not competing
      with the business of the Company or hiring or soliciting employees of the Company.


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      Executive further acknowledges and agrees that the provisions of Sections 17 through 21
      of the 2018 Option Agreement together with any applicable definitions used in such
      Sections and contained in the 2018 Option Agreement survive the termination of
      Executive’s employment. Notwithstanding the foregoing, the Company agrees that
      Executive shall benefit from the Specific Exception relating to the Canadian Retail
      Company in the Selling Equityholder Agreement, dated September 30, 2014 between
      David A. Belford and American Freight, Inc., which for the avoidance of doubt, would
      allow Executive to be employed in the business of Surplus Furniture and Mattress
      Warehouse (“Canadian Retail Company”), in its current locations, and any new location
      in Canada (it being agreed by the Executive that the advertising by the Canadian Retail
      Company shall be targeted at retail customers within Canada and the Canadian Retail
      Company may not sell (including via the Internet, or otherwise) its products to retail
      customers in the United States or Mexico). The Executive acknowledges and agrees that
      the benefit of the Specific Exception relating to the Canadian Retail Company shall not
      apply to, and shall not provide Executive with any exception from, any non-solicitation
      covenants applicable to the Executive in connection with any potential employment by
      the Canadian Retail Company, or otherwise.




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                            EXHIBIT 7
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                                                                    EXECUTION VERSION


                                  AMENDMENT TO
                           AGREEMENT AND GENERAL RELEASE

             THIS AMENDMENT TO AGREEMENT AND GENERAL RELEASE (this
      “Amendment”) is made and entered into as of August 9, 2019, by and between American
      Freight Group, Inc., a Delaware corporation (“Holdings” and, together with its
      subsidiaries, the “Company”), and Asaph Rink (the “Executive”).

                                             RECITALS

              WHEREAS, effective as of June 13, 2019, the Company and the Executive
      entered an Agreement and General Release (as amended, modified, supplemented or
      restated, the “Agreement and Release”); and

              WHEREAS, the Company and the Executive desire to effect certain amendments
      to the Agreement and Release as more fully set forth herein.

              NOW, THEREFORE, for good and valuable consideration, the receipt and
      sufficiency of which are acknowledged, the parties hereto agree that the Agreement and
      Release be, and hereby is, amended as set forth herein:

              Section 1.1. Amendment to Section 10 of the Agreement and Release. Section
      10 of the Agreement and Release is hereby amended and restated as follows:

              10.     Survival of Certain Agreements. Executive acknowledges and
              agrees that the Subscription Agreement, the 2015 Option Agreement and
              the Stockholders’ Agreement remain in effect, and the Executive further
              reaffirms and agrees to the restrictive covenants therein, including the
              provisions of Section 17 of the Option Agreements and Article IV of the
              Stockholders’ Agreement, dated October 31, 2014, among Holdings, the
              Executive and the other stockholders party thereto (the “Stockholders’
              Agreement”), which relate to, among other things, you not competing with
              the business of the Company or hiring or soliciting employees of the
              Company. Executive further acknowledges and agrees that the provisions
              of Sections 17 through 21 of the 2018 Option Agreement together with
              any applicable definitions used in such Sections and contained in the 2018
              Option Agreement survive the termination of Executive’s employment.
              Notwithstanding the foregoing, the Company agrees that Executive shall
              benefit from the Specific Exception relating to the New York Retail
              Company and Canadian Retail Company in the Selling Equityholder
              Agreement, dated September 30, 2014 between David A. Belford and
              American Freight, Inc., which for the avoidance of doubt, would allow
              Executive to be employed in the business of (a) Surplus Freight, Inc.
              d/b/a Express Furniture Warehouse (“New York Retail Company”),
              in its current location (700 Grand Concourse, Bronx, NY), and any
              new location within the City of New York (it being agreed by the
              Executive that any advertising by the New York Retail Company shall

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              be targeted at retail customers within the City of New York and the
              New York Retail Company may not sell (including via the Internet, or
              otherwise), its products outside of the City of New York) and (b)
              Surplus Furniture and Mattress Warehouse (“Canadian Retail Company”),
              in its current locations, and any new location in Canada (it being agreed by
              the Executive that the advertising by the Canadian Retail Company shall
              be targeted at retail customers within Canada and the Canadian Retail
              Company may not sell (including via the Internet, or otherwise) its
              products to retail customers in the United States or Mexico). The
              Executive acknowledges and agrees that the benefit of the Specific
              Exception relating to the New York Retail Company and Canadian
              Retail Company shall not apply to, and shall not provide Executive with
              any exception from, any other restrictive covenants, including, but not
              limited to, any non-solicitation covenants applicable to the Executive in
              connection with any potential employment by the New York Retail
              Company, the Canadian Retail Company, or otherwise.
            Section 1.2. Miscellaneous. Sections 6, 7, 8, 13, 14, 15, 16 and 19 of the
      Agreement and Release shall apply to this Amendment mutatis mutandis.

                             [Remainder of page intentionally left blank]




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                                                   M. Brad Wilford
                                                   Authorized Signatory
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                            EXHIBIT 8
                                                                                                          Join now      Sign in


                                       Ace R.




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                   Ace R.
                   President of retail at Stage Capital
                   Columbus, Ohio, United States · 100 connections


                               Sign in to Connect


                                       Stage Capital


                           When signing in, you can choose to view the profile in private mode.




                       About

                       ☑Career Summary ☑
                       Executive Leader with 15+ years of experience driving revenue growth and client
                       retention/engagement within a variety of organizations. Excel in reviewing current market trends and
                       opportunities and devising appropriate strategies with a focus on optimizing the organization’s
                       product offerings. Experienced in training and promoting internal team members, consistently
                       exceeding operational sales goals, and creating initiatives focused on market growth/expansion.

                       ☑Key Skills ☑
                       Operations Management • Manufacturing/Production • Identifying Client Requirements • Business
                       Development • Strategy Tracking & Correction • Market Research & Analysis • Change Management
                       P&L Management • Contract Negotiation • Client Retention & Engagement • Operational Process
                       Improvement • Market Expansion

                       ☑Highlights ☑
                       ➢Demonstrated success in strategic sales roles with an ability to identify market opportunities/risks,
                       define go-to-market strategy, and identify target markets

                       ➢Equipped with an ability to improve sales success by growing funnels, closing opportunities, and
                       facilitating growth into new, larger markets
                                                                                                          Join nowaimed
                       ➢Well-versed in identifying process inefficiencies/risks and creating appropriate solutions    Sign
                                                                                                                        at in
                       increasing operational revenue
                            Ace R.


                       Activity
                                                                                  Lane is investing heavy for future growth! #lane #home #brand #furniture
                                                                                  #value #investing
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                                                                                  Liked by Ace R.



                                                                                  Date: Sun, 7 Feb 2016 A Marine stands guard while a brave young child
                                                                                  dies. This is honor! “Every now and then, in the middle of the constant…
                                                                                  Liked by Ace R.



                                                                                  Lane continues to invest in growth and supporting our dealers!
                                                                                  Liked by Ace R.




                                   Sign in to see all activity




                       Experience
                                                       President of retail
                                                       Stage Capital
                                                       Jan 2020 - Present · 1 year 4 months
                                                       Columbus, Ohio Metropolitan Area


                                                       President Of Sales
                                                       Surplus Furniture and Mattress
                                                       Sep 2019 - Jan 2020 · 5 months


                                                       CEO
                                                       American Freight Furniture and Mattress
                                                       May 2007 - Jun 2019 · 12 years 2 months
                                                       Executive Leader within a nationally-known furniture & mattress company tasked with
                                                       consistently improving operations and increasing revenue. Designed and Join now
                                                                                                                              implemented  Sign in
                                           innovative processes and workflows in addition to identifying and correcting areas of
                                       Ace R.
                                           operational weakness. Maintained oversight of all operational areas to include inventory
                                                       management, customer service, sales/marketing, finance/accounting, and human resources.
                                                       Consistently built positive relationships with both internal stakeholders and vendors, resulting
                                                       in improved contract terms and a more encouraging working environment.
                                                       ➢Created, planned, and executed a complex data-driven model used for market expansion
                                                       which highlighted dollars per zip code near each store location and resulted in a 30% increase
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                                                       to topline sales and double-digit EBITDA increases
                                                       ➢Using the data-driven model, expanded the organization by opening 100 new locations
                                                       while simultaneously reducing the advertising budget by 1.3% and ensuring no negative
                                                       impact to existing locations
                                                       ➢Developed an innovative customer financing program which was rolled-out to over 150
                                                       locations (in a period of 30 days) which achieved double-digit growth in every location and
                                                       improved EBITDA
                                                       ➢Identified a gap in the current training system and devised an updated training program
                                                       which increased employee engagement and decreased turnover by 25%
                                                       ➢Implemented a comprehensive point of sale system within all stores which allowed for real-
                                                       time inventory tracking and resulted in a reduced excess inventory, a 16% increase in cash
                                                       flow, and increased yearly inventory turns to 6 (above the industry average)
                                                       ➢Utilized a new sourcing strategy during vendor negotiations that achieved a zero impact on
                                                       consumer price points and zero loss to organizational revenue while maintaining gross margin
                                                       ➢During tenure, increased the number of retail locations from 24 to 171 across 25 states

                                                       Show less


                                                       Production Manager, Shelling Department
                                                       Heartland RV
                                                       Jul 2006 - May 2007 · 11 months
                                                       Elkhart, Indiana Area
                                                       Hired into a leadership role within a manufacturing environment which centered on managing
                                                       day to day manufacturing logistics. Quickly identified areas of risk and created innovative
                                                       solutions along with monitoring product quality levels at all times.
                                                       ➢Worked closely with the internal engineering department in the design of jigs and
                                                       identification of production requirements for new product models
                                                       ➢Consistently increased employee morale and engagement by developing training programs,
                                                       recognizing top-performers, and encouraging open lines of communication
                                                       ➢Coordinated with the Slide Out department prior to product completion to ensure the
                                                       product was functioning properly and met established quality levels

                                                       Show less
                                                       Production Lead, Cabinet & Wall Set-UP                                  Join now     Sign in
                                                       Keystone RV
                                           Aug 2005 - Jul 2006 · 1 year
                                       Ace R.
                                                       Goshen, Indiana
                                                       Led production and manufacturing operations within a busy facility which required
                                                       supervising internal team members and monitoring daily production goals. Provided training
                                                       and mentoring to new staff members along with acting as a subject matter expert regarding
                                                       new model changes and designs.
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                                                       ➢Chosen as a member of an R&D Installer Team for a new Toy Hauler division which required
                                                       leading the whole process from concept through production


                                                       Assistant Plant Manager
                                                       FlexCo Products Inc.
                                                       Apr 2004 - Aug 2005 · 1 year 5 months
                                                       Elkhart, Indiana Area
                                                       Member of leadership within a manufacturing environment focused on supporting production
                                                       efforts and supervising internal team members. Coached others on both quality and safety
                                                       standards, managed the ordering of raw materials, and monitored production schedules.
                                                       ➢Played a lead role in setting up die-casts on rotary presses along with completed in-depth
                                                       maintenance and safety checks for all machinery
                                                       ➢Created the organization’s flagship Hazard Awareness Program along with spearheading
                                                       several performance management initiatives
                                                       ➢Reduced scrap and trash by 10% by implementing a daily inventory log and utilizing scrap
                                                       materials for other production runs in the facility

                                                       Show less


                                                       0311
                                                       United States Marine Corps
                                                       2000 - 2004 · 4 years




                                   View Ace’s full profile
                                                  See who you know in common

                                                  Get introduced

                                                  Contact Ace directly
                                                                                                                                          Join now      Sign in
                                               Sign in to view full profile

                                       Ace R.


                       People also viewed
                                                       Mike Watson
                                                       Stage Capital
                                                       Columbus, Ohio Metropolitan Area
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                                                       Cana Workman
                                                       Vice president of Sales at American Freight Furniture and Mattress
                                                       Columbus, Ohio Metropolitan Area

                                                       Kevin O'Keefe
                                                       Vice President at American Freight Furniture and Mattress
                                                       Scottsdale, AZ

                                                       Jonathan Waters
                                                       Division Vice President of Store Operations at American Freight Furniture, Mattress, Appliance
                                                       Schaumburg, IL

                                                       Haris Buljina
                                                       Vice President of Sales
                                                       Ormond Beach, FL

                                                       Mike Schweitzer
                                                       Director of Store Support at American Freight Furniture, Mattress, Appliance
                                                       Columbus, Ohio Metropolitan Area

                                                       Joe Kaminski
                                                       President of Stores at American Freight Furniture and Mattress
                                                       North Hero, VT

                                                       Heather Mundy
                                                       Human Resources Manager at American Freight Appliance, Furniture and Mattress
                                                       Mansfield, OH

                                                       Gordon Bond III
                                                       Regional Sales Manager at American Freight Furniture, Mattress, Appliance
                                                       Pensacola, FL

                                                       John Rausch
                                                       Corporate Real Estate Management / Martial Arts Instructor
                                                       Newark, OH
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                         Ace R.
                       Others   named Ace R.
                                                       ace r
                                                       cfo
                                                       New York, NY

                                                       Ace R
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                                                       --
                                                       Malaysia

                                                       Ace R.
                                                       Student at Basa Air Base National High School
                                                       Central Luzon, Philippines

                                                       Ace R
                                                       Walmart Associate at Walmart
                                                       Raynham, MA

                                                       ace r
                                                       Student at Pamantasan ng Lungsod ng Pasig
                                                       Metro Manila


                       6 others named Ace R. are on LinkedIn


                                   See others named Ace R.



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                                                                              Leveraging Your Relationship Capital




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                       Ace’s public profile badge                                                                        Join now   Sign in
                       Include this LinkedIn profile on other websites
                                       Ace R.
                                                           Ace R.
                                                           President of retail at Stage Capital


                                                   President of retail at Stage Capital

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                        Language
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                            EXHIBIT 9
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                     Confidentiality and Non-Competition Agreement

          THIS AGREEMENT (“Agreement”) is made this ______ day of ____________,
   in of _____, by and between AMERICAN FREIGHT MANAGEMENT COMPANY,
   LLC., an Ohio corporation (hereinafter referred to as the Company) and
   ______________________________ (hereinafter referred to as the Employee).

                                           Recitals

         WHEREAS, the Company currently employs Employee in the position of
   _______________________________; and

          WHEREAS, the Company wishes to assure itself that Employee will keep in
   confidence and not disclose any information disclosed to Employee by the Company
   during the term of Employee’s employment; and

        WHEREAS, the Company further wishes to assure itself that Employee will not
   compete with the Company after the termination of Employee’s employment; and

         WHEREAS, Employee is willing to agree not to so compete with Company.

         NOW THEREFORE, the premises set forth herein and intending to be legally
   bound, the parties here to agree as follows:

   Section 1. Acknowledgments. The Company is engaged in the business of the sale
   of furniture, carpet, mattresses and other related goods. The Employee acknowledges
   that the Company’s sales techniques, operating systems, client lists, and leads are unique
   and legitimate interests of the Company which contribute in large part to the success of
   the Company and its employees in the competitive field in which they are engaged. The
   Employee acknowledges that the Company’s business and services are highly
   specialized, the identity and particular needs of the Company’s customers and suppliers
   are not generally known, and the documents and information regarding the Company’s
   customers, suppliers, services, products, methods of operation, sales, pricing and costs
   are highly confidential and constitute trade secrets. The Employee further acknowledges
   that the services rendered to the Company by the Employee have been or will be of a
   special and unusual character which have a unique value to the Company such that: (a)
   the frequent contact with customers or customer information will result in close
   relationships and the association of the Company’s goodwill with the Employee and/or
   specialized knowledge about the customer; and (b) the Employee has had or will have
   access to trade secrets and confidential information belonging to the Company, the loss of
   which cannot adequately be compensated by damages in an action of law.

   Section 2.   Covenant Against Competition.           During the term of the Employee’s
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   employment with the Company and for a period of two (2) years from either the
   voluntary termination of the Employee’s employment with the Company or the
   termination of the Employee’s employment with the Company for Cause, the Employee
   will not, directly or indirectly, own, manage, operate, control, be employed by, perform
   services for, consult with, solicit business for, participate in, or be connected with in any
   manner the ownership, management, operation, or control of any business which
   competes directly or indirectly with the Company in any existing market area of the
   Company at the time of the termination (voluntary or involuntary) of employment of the
   Employee. For purposes of this Agreement, ACause@ shall include but shall not be
   limited to competing against the Company and/or criminal activity for which charges are
   brought against Employee.

   Section 3. Covenant Against Disclosure of Confidential and Proprietary
   Information. The Employee shall, in accordance with the restrictions set forth in
   Section 2 above, hold in strict confidence any and all confidential and proprietary
   information concerning the Company’s services, processes, sales, business systems,
   operations, and clients of the Company. Confidential and proprietary information shall
   include, but shall not be limited to, information related to the Company’s products,
   processing, manufacturing, selling, storage, application techniques, including customer
   lists, call lists, other confidential technical data, sketches, plans, drawings, chemical
   formulae, composition of the Company’s products, and other research and development
   data. Confidential and proprietary information shall also include, in addition to those
   materials described above, sources of supply and material, operating and other cost data,
   information contained in manuals or memoranda and other records of the Company
   identified as Confidential or Proprietary Information or Trade Secrets. Such other
   information will sometimes be identified as “confidential”, “proprietary”,or as a “trade
   secret,” either by written or verbal designation, but shall also include that which is a trade
   secret under the Ohio Uniform Trade Secrets Act. However, nothing herein shall be
   construed to limit the Company’s protections under the Ohio Uniform Trade Secrets Act.

   Section 4. Records to be Returned.                The Employee also shall not without
   permission, directly or indirectly, copy, take, or remove from the Company’s premises,
   any of the Company’s books, records, customer lists, leads, computer disks, software, or
   any other documents, materials or equipment paid for by the Company or to which the
   Employee has devoted efforts for its development while employed by the Company. Any
   such information, and any copies thereof, in the possession of the Employee at the end of
   employment shall be returned, along with any of the Company’s equipment. The
   Employee shall also disclose, if applicable, computer passwords for any and all of the
   Company’s computers the Employee used while employed by the Company.


   Section 5.    Nonsolicitation of Employees.       During the term of the Employee’s

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   employment with the Company and for a period of two (2) years from the voluntary or
   involuntary termination of the Employee’s employment with the Company for any reason
   whatsoever, the Employee shall not, either directly or indirectly, absent the written
   consent of the Company; (a) solicit, interfere with, or endeavor to cause any employee of
   the Company to leave his or her employment; or (b) induce or attempt to induce any such
   employee to work for any other entity.

   Section 6. Nonsolicitation or Service of Customers.          During the term of the
   Employee’s employment with the Company and for a period of two (2) years from the
   voluntary or involuntary termination of the Employee’s employment with the Company
   for any reason whatsoever, the Employee shall not solicit, suggest, induce, or attempt to
   induce any past or current customer of the Company; (a) to cease doing business in whole
   or in part with or through the Company; or (b) to do business with or purchase from any
   other person or business entity, goods or services, the nature of which are materially
   similar to those supplied by the Company.

   Section 7. Remedies. Employee acknowledges that Company would be greatly
   injured by, and have no adequate remedy at law for, Employee’s breach of Section 2-6 of
   this Agreement. Employee therefore consents that if such breach occurs or is threatened,
   whether before or after the termination of his/her relationship with Company, Company
   may, as appropriate and in addition to all other then available remedies, enjoin Employee,
   together with all persons acting in concert with Employee, from such breach or
   threatened breach. If it prevails, Company shall also be entitled to collect from Employee
   the court costs, actual attorneys and experts fees, and other expenses of enforcing
   Company’s rights under this Agreement. Employee submits to entry of a temporary
   restraining order to prevent such breach, and waives the right to require Company to post
   bond as a condition of injunctive relief. If such waiver is not then permitted, Employee
   agrees that a bond of $1,000.00 or less will be sufficient. The periods provided in
   Sections 2-6 shall, in the event that Company is granted an injunction, be extended so as
   to commence upon the date of entry of any such injunction. All of the Company’s
   remedies for breach of this Agreement shall be cumulative and the pursuit of one remedy
   shall not be deemed to exclude any other remedies. In the event total actual damages are
   not possible to determine, it is agreed that the Company may recover, in addition to those
   damages which are determined, liquidated damages in the amount of $50,000.00 for a
   material breach of this Agreement in addition to other remedies provided by this
   Agreement.

   Section 8. Choice of Law and Forum.             It is understood and agreed that the
   construction and interpretation of this Agreement shall be in accordance with and
   governed by the laws of the State of Ohio, and any action related to this Agreement shall
   be brought and maintained in the courts of the State of Ohio, in the County of Delaware,
   unless otherwise agree to by both parties.
   Section 9. Reasonableness of Restrictions.         The Employee has carefully read and

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   considered the provisions hereof and, having done so and in consultation with a lawyer of
   his/her own choosing, agrees that the restrictions set forth in this Agreement (including,
   but not limited to, the time periods of restriction in each of such paragraphs and the
   geographical area of restrictions set forth in this Agreement) are fair, reasonable, and
   needed to protect the Company’s interests. The Employee also agrees, having read and
   considered the provisions hereof, that the covenants set forth in this Agreement will not
   create an unreasonable restraint on the Employee’s ability to earn a living.

   Section 10. Burden and Benefit.           This Agreement shall be binding upon, and
   shall inure to the benefit of, the Company and Employee, and their respective successors
   and assigns. The Company shall have the right to assign its rights hereunder to any
   successor in interest, whether by merger, consolidation, sale of assets, or otherwise.

   Section 11. Whole Agreement. Notwithstanding the existence of any other
   Company pronouncement, writing, or policy to the contrary or conflicting herewith, the
   conditions of this Agreement shall predominate and prevail. No change or modification
   hereof shall be valid or binding unless the same is in writing and signed by the party
   against whom such waiver is sought to be enforced.

   Section 12. Interpretation.         The parties acknowledge their mutual participation in
   the drafting of this Agreement and its terms shall not be construed more strictly against
   one party or the other as the author of the document.

          IN WITNESS WHEREOF, the Company and the Employee have duly executed
   this Agreement as of the day and year first written above.

   The Employee                                   The Company

                                                  AMERICAN FREIGHT MANAGEMENT CO,
                                                  LLC.


                                                  By:
                                                          James Brownell, COO




   dianne\jason\corp\American Freight\Conf.NonCompAgree




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                          EXHIBIT 10
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                                                                                                                    787 Seventh Avenue
                                                                                                                    New York, NY 10019-6099
                                                                                                                    Tel: 212 728 8000
                                                                                                                    Fax: 212 728 8111




    April 8, 2021

    VIA EMAIL AND FEDEX

    David Belford
    626 Gulf Shore Blvd.
    S. Naples, FL 34102
    Dab361@gmail.com

    Dear Mr. Belford:

    This firm represents American Freight, LLC (“American”). As you know, during the course of your
    involvement with American, you entered into a Non-Qualified Stock Option Agreement dated January
    28, 2015 (the “Option Agreement”) pursuant to which you agreed not to directly or indirectly own,
    operate, manage, control, participate in, provide support to, consult with, advise, permit your name to
    be used by, provide services for, lease or in any manner engage in or knowingly facilitate any business
    that sells: (1) any products or provides any services which may be used as substitutes for or are
    otherwise in competition with any products or services sold by or offered by American; or (2) any
    other furniture, carpet, upholstery, bedding, fabric protection products, case goods, mattresses and
    other furniture accessories and related goods directly to retail customers in the United States
    (collectively, the “Protected Activities”). As part of your termination from American, you also entered
    into an Agreement and General Release on November 30, 2017 (the “Termination Agreement”)
    pursuant to which you acknowledged and agreed that the restrictive covenants in the Option
    Agreement survived your resignation from American.

    Following your resignation, we understand that you are currently an owner of Stage Capital LLC
    (“Stage Capital”), and may be the president, owner and CEO of Surplus Freight LLC (“Surplus”).
    Starting on or around July 2020, Surplus started expanding into American’s geographic market by
    opening stores in North Carolina, Maryland, and Virginia. These stores are in direct competition with
    American’s stores in those states. As such, your participation in and management of Surplus and
    possibly Stage Capital breach the non-competition covenant of the Option Agreement (§ 17(g)).

    In addition to your non-compete obligations of which you are in breach, the Option Agreement, among
    other things, requires you not to directly or indirectly (a) hire or engage, or recruit, solicit, or otherwise
    attempt to employ or retain or enter into any business relationship with, any current or former
    employee of or consultant to American, (b) induce or attempt to induce any current or former


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April 8, 2021
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employee of, or consultant to, American to leave the employ of American, or in any way interfere with
the relationship between American and any of its employees or consultants, (c) employ or retain or
enter into any business relationship with any person who was an employee of or consultant to
American, or (d) in any way interfere with the relationship between American and any supplier,
licensee, lessor, or other business relation (or any prospective supplier, licensee, lessor, or other
business relationship) of American. Despite your clear obligations not to solicit American employees,
we understand that several current Surplus employees acting under your direction or control, including
but not limited to Joel Cady and Haris Buljina, have solicited several American employees to leave
their employment with American in order to join Surplus. This solicitation is a direct breach of the
non-competition covenants of your 2015 and 2018 Option Agreements (§ 17(f)).

American takes your non-competition and non-solicitation obligations very seriously and expects that
you will abide by the agreements you entered into with American. We urge you to review the Option
Agreement’s and the Termination Agreement’s non-competition and non-solicitation provisions in
their entirety and to discuss with a lawyer how you can ensure that you do not violate those provisions,
inadvertently or otherwise. Please confirm no later than April 14, 2021 that you have ceased all
involvement with any competing business and any other Protected Activities and that you will adhere
to the obligations set forth in the Option Agreement until the Restricted Period ends February 14, 2022.
Should you continue to violate your Agreements, American will take legal action to hold you
accountable for all breaches of the Option Agreement, the Termination Agreement and any other legal
obligations you owe to American.

Finally, this letter is intended to place you on notice that litigation is likely to be commenced, and you
must preserve and not destroy any documents, including electronically stored documents, concerning
any communications with former or current employees of American and anything related to American
or competition with American.

Nothing herein should be construed as a waiver by American of any of its rights, all of which are
expressly reserved.


Sincerely,

/s/ Thomas J. Meloro




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                          EXHIBIT 11
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                                                                                                                    787 Seventh Avenue
                                                                                                                    New York, NY 10019-6099
                                                                                                                    Tel: 212 728 8000
                                                                                                                    Fax: 212 728 8111




    April 8, 2021

    VIA EMAIL AND FEDEX

    Asaph Rink
    3485 W. 100 Rd. N.,
    Bargersville, IN 46106
    acerink2092@gmail.com

    Dear Mr. Rink:

    This firm represents American Freight, LLC (“American”), your former employer. As you know,
    during the course of your employment, you entered into Non-Qualified Stock Option Agreements,
    dated January 28, 2015 and February 14, 2018, respectively (the “2015 Option Agreement” and the
    “2018 Option Agreement,” respectively) pursuant to which you agreed not to directly or indirectly
    own, operate, manage, control, participate in, provide support to, consult with, advise, permit your
    name to be used by, provide services for, lease or in any manner engage in or knowingly facilitate any
    business that sells: (1) any products or provides any services which may be used as substitutes for or
    are otherwise in competition with any products or services sold by or offered by American; or (2) any
    other furniture, carpet, upholstery, bedding, fabric protection products, case goods, mattresses and
    other furniture accessories and related goods directly to retail customers in the United States
    (collectively, the “Protected Activities”). As part of your termination from American, you also entered
    into an Agreement and General Release on June 13, 2019, as amended on August 9, 2019 (together,
    the “Termination Agreement”) pursuant to which you acknowledged and agreed that the restrictive
    covenants in the 2015 and 2018 Option Agreements survived your termination from American.

    Following your termination, we understand that you served as the President of Sales at Surplus
    Furniture and Mattress from September 2019 to January 2020, and are currently the President of Retail
    at Stage Capital LLC (“Stage Capital”), a related entity of Surplus Freight LLC (“Surplus”). Starting
    on or around July 2020, Surplus started expanding into American’s geographic market by opening
    stores in North Carolina, Maryland, and Virginia. These stores are in direct competition with
    American’s stores in those states. As such, your participation in and management of Surplus and
    possibly Stage Capital breach the non-competition covenants of your 2015 and 2018 Option
    Agreements (§ 17(g)). Further, this violation does not fall within any of the Specific Exceptions (as
    that term is defined in the Termination Agreement).




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In addition to your non-compete obligations of which you are in breach, the 2015 and 2018 Option
Agreements, among other things, require you not to directly or indirectly (a) hire or engage, or recruit,
solicit, or otherwise attempt to employ or retain or enter into any business relationship with, any
current or former employee of or consultant to American, (b) induce or attempt to induce any current
or former employee of, or consultant to, American to leave the employ of American, or in any way
interfere with the relationship between American and any of its employees or consultants, (c) employ
or retain or enter into any business relationship with any person who was an employee of or consultant
to American, or (d) in any way interfere with the relationship between American and any supplier,
licensee, lessor, or other business relation (or any prospective supplier, licensee, lessor, or other
business relationship) of American. Despite your clear obligations not to solicit American employees,
we understand that several current Surplus employees possibly acting under your direction or control,
including but not limited to Joel Cady and Haris Buljina, have solicited several American employees to
leave their employment with American in order to join Surplus. This solicitation is a direct breach of
the non-competition covenants of your 2015 and 2018 Option Agreements (§ 17(f)).

American takes your post-employment obligations very seriously and expects that you will abide by
the agreements you entered into as an employee of American. We urge you to review the 2015 and
2018 Option Agreements’ and the Termination Agreement’s non-competition and non-solicitation
provisions in their entirety and to discuss with a lawyer how you can ensure that you do not violate
those provisions, inadvertently or otherwise. Please confirm no later than April 14, 2021 that you have
ceased all involvement with any competing businesses and any other Protected Activities and that you
will adhere to the obligations set forth in the 2015 and 2018 Option Agreements until the Restricted
Period ends. Should you continue to violate your Agreements, American will take legal action to hold
you accountable for all breaches of the 2015 and 2018 Option Agreements, the Termination
Agreement and any other legal obligations you owe to American as your former employer.

Finally, this letter is intended to place you on notice that litigation is likely to be commenced, and you
must preserve and not destroy any documents, including electronically stored documents, concerning
any communications with former or current employees of American and your involvement with
Surplus.

Nothing herein should be construed as a waiver by American of any of its rights, all of which are
expressly reserved.


Sincerely,

/s/ Thomas J. Meloro
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                          EXHIBIT 12
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                                                                                                                    787 Seventh Avenue
                                                                                                                    New York, NY 10019-6099
                                                                                                                    Tel: 212 728 8000
                                                                                                                    Fax: 212 728 8111




    April 8, 2021

    VIA EMAIL AND FEDEX

    Haris Buljina
    145 Nautical Dr.
    South Daytona FL, 32119
    hblawns@yahoo.com

    Dear Mr. Buljina:

    This firm represents American Freight, LLC (“American” or the “Company”), your former employer.
    As you know, your employment with American was terminated on June 25, 2020. Following your
    termination, we understand that you accepted employment as the Vice President of Sales at Surplus
    Freight LLC (“Surplus”), a direct competitor of American.

    As one of the terms for your employment with American, you entered into a Confidentiality and Non-
    Competition Agreement with American on August 29, 2016 (the “Agreement”). The Agreement
    requires that, “for a period of two (2) years from the voluntary or involuntary termination of [your]
    employment with the Company for any reason whatsoever, [you] shall not, either directly or indirectly,
    absent the written consent of the Company; (a) solicit, interfere with, or endeavor to cause any
    employee of the Company to leave his or her employment; or (b) induce or attempt to induce any such
    employee to work for any other entity.” Nevertheless, American has uncovered evidence that you are
    actively soliciting American employees, including American store managers, assistant managers and
    warehouse personnel in Virginia, to leave their employment with American in order to work for
    Surplus. Egregiously, at least one American employee has reported that you instructed that individual
    to get fired from their position at American in order to work at Surplus. This is a willful violation of
    your non-solicitation obligations.

    The Agreement also requires that, “for a period of two (2) years from either the voluntary termination
    of [your] employment with the Company or the termination of [your] employment with the Company
    for Cause, [you] will not, directly or indirectly, own, manage, operate, control, be employed by,
    perform services for, consult with, solicit business for, participate in, or be connected with in any
    manner the ownership, management, operation, or control of any business which competes directly or
    indirectly with the Company in any existing market area of the Company at the time of termination




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(voluntary or involuntary) of [your] employment.” Your employment with Surplus is a direct violation
of this non-competition obligation.

As such, we demand that you cease your employment with Surplus immediately, refrain from any
further solicitation of American employees and confirm such compliance in writing no later than April
14, 2021. If you do not, American intends to seek all available legal and equitable remedies against,
including but not limited to a restraining order, an injunction, court costs, attorneys’ fees, monetary
damages and punitive damages.

Finally, this letter is intended to place you on notice that litigation is likely to be commenced, and you
must preserve and not destroy any documents, including electronically stored documents, phone call
logs, text messages and the like, concerning the subject matter set forth in this letter, including any
communications with former or current employees of American and your involvement with Surplus.

Nothing herein should be construed as a waiver by American of any of its rights, all of which are
expressly reserved.



Sincerely,

/s/ Thomas J. Meloro




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                          EXHIBIT 13
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                                                                                                                    787 Seventh Avenue
                                                                                                                    New York, NY 10019-6099
                                                                                                                    Tel: 212 728 8000
                                                                                                                    Fax: 212 728 8111




    April 8, 2021

    VIA EMAIL AND FEDEX

    Joel Cady
    254 Miller Rd.
    Getzville, NY 14068
    joelcady18@gmail.com

    Dear Mr. Cady:

    This firm represents American Freight, LLC (“American” or the “Company”), your former employer.
    As you know, your employment with American was terminated on November 30, 2020. Following
    your termination, we are informed that you may have accepted employment at Surplus Freight LLC
    (“Surplus”), a direct competitor of American.

    As one of the terms for your employment with American, you entered into a Confidentiality and Non-
    Competition Agreement with American on August 22, 2017 (the “Agreement”). The Agreement
    requires that, “for a period of two (2) years from the voluntary or involuntary termination of [your]
    employment with the Company for any reason whatsoever, [you] shall not, either directly or indirectly,
    absent the written consent of the Company; (a) solicit, interfere with, or endeavor to cause any
    employee of the Company to leave his or her employment; or (b) induce or attempt to induce any such
    employee to work for any other entity.” Nevertheless, American has uncovered evidence that you are
    actively soliciting American employees, including American store managers, assistant managers and
    warehouse personnel in Virginia, to leave their employment with American in order to work for
    Surplus. This is a willful violation of your non-solicitation obligations.

    The Agreement also requires that, “for a period of two (2) years from either the voluntary termination
    of [your] employment with the Company or the termination of [your] employment with the Company
    for Cause, [you] will not, directly or indirectly, own, manage, operate, control, be employed by,
    perform services for, consult with, solicit business for, participate in, or be connected with in any
    manner the ownership, management, operation, or control of any business which competes directly or
    indirectly with the Company in any existing market area of the Company at the time of termination
    (voluntary or involuntary) of [your] employment.” Your employment with Surplus is a direct violation
    of this non-competition obligation.




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As such, we demand that you cease your employment with Surplus immediately, refrain from any
further solicitation of American employees and confirm such compliance in writing no later than April
14, 2021. If you do not, American intends to seek all available legal and equitable remedies against,
including but not limited to a restraining order, an injunction, court costs, attorneys’ fees, monetary
damages and punitive damages.

Finally, this letter is intended to place you on notice that litigation is likely to be commenced, and you
must preserve and not destroy any documents, including electronically stored documents, phone call
logs, text messages and the like, concerning the subject matter set forth in this letter, including any
communications with former or current employees of American and your involvement with Surplus.

Nothing herein should be construed as a waiver by American of any of its rights, all of which are
expressly reserved.



Sincerely,

/s/ Thomas J. Meloro
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                          EXHIBIT 14
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                                                                                                                                              Mayer Brown LLP
                                                                                                                                   1221 Avenue of the Americas
                                                                                                                                     New York, NY 10020-1001
                                                                                                                                       United States of America

                                                                                                                                            T: +1 212 506 2500
                                                                                                                                            F: +1 212 262 1910

                                                                                                                                                mayerbrown.com
   April 16, 2021
                                                                                                                                           Philip O. Brandes
                                                                                                                                            T: +1 212 506 2558
   BY E-MAIL                                                                                                                           PBrandes@mayerbrown.com


   Thomas J. Meloro
   Willkie Farr & Gallagher LLP
   787 Seventh Avenue
   New York, NY 10019-6099

   Re:     David Belford

   Dear Mr. Meloro:

           I write on behalf of David Belford in response to your letters dated April 15, 2021.
   Contrary to the assertions in your letters, the Option Cancellation Agreement between American
   Freight Group, Inc. (“American Freight”) and Mr. Belford, dated January 13, 2020 (the “Option
   Cancellation Agreement”) expressly terminated the Non-Qualified Stock Option Agreement
   between American Freight and Mr. Belford, dated January 28, 2015 (the “Option Agreement”).
   Specifically, the relevant provision of the Option Cancellation Agreement is crystal clear: “At the
   Effective Time, your In-the-Money Options, whether vested or unvested, will automatically be
   cancelled and converted into the right to receive the Per Option Merger Consideration and your
   Option agreement shall be terminated, in full satisfaction of your rights as an Option holder.”
   Option Cancellation Agreement § 1 (emphasis added). Accordingly, Mr. Belford’s obligations
   under the Option Agreement, including the restrictive covenants, were terminated at the Effective
   Time1 and have no legal force.

           As you are well aware, at the time that the Option Cancellation Agreement was negotiated,
   Franchise Group, Inc. (“Franchise Group”) was represented by sophisticated counsel. If Franchise
   Group had wanted the restrictive covenants set out in the Option Agreement to remain in force
   after the Effective Time, it could have proposed language to that effect. But it did not. It cannot
   now rewrite the Option Cancellation Agreement to obtain that for which it did not bargain. See
   Ashwood Capital, Inc. v. OTG Management, Inc., 99 A.D.3d 1, 7 (1st Dep’t 2012) (in cases
   concerning “commercial contracts negotiated at arm’s length by sophisticated, counseled
   businesspeople . . . . courts should be extremely reluctant to interpret an agreement as impliedly
   stating something which the parties have neglected to specifically include”) (citations and internal
   quotation marks omitted). Moreover, in the unlikely event that a court concludes that there is any
   ambiguity in the Option Cancellation Agreement, it will be resolved against American Freight,
   since your firm drafted and proposed the provision at issue. See Ex. 1 at § 1; see also 151 W.
   Assoc. v. Printsiples Fabric Corp., 61 N.Y.2d 732, 734 (1984) (“It has long been the rule that


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    Capitalized terms used herein but not defined shall have the meaning ascribed to such terms in the Option
   Cancellation Agreement.


             Mayer Brown is a global services provider comprising an association of legal practices that are separate entities including
              Mayer Brown LLP (Illinois, USA), Mayer Brown International LLP (England), Mayer Brown (a Hong Kong partnership)
                                            and Tauil & Chequer Advogados (a Brazilian partnership).
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Mayer Brown LLP


    Thomas J. Meloro
    April 16, 2021
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    ambiguities in a contractual instrument will be resolved contra proferentem, against the party who
    prepared or presented it.”).

           Accordingly, Mr. Belford will not hesitate to defend his rights in court, should it come to
    that. Mr. Belford reserves all of his rights and remedies under the Option Cancellation Agreement,
    applicable law, or otherwise.



                                                     Sincerely,

                                                     /s/ Philip O. Brandes

                                                     Philip O. Brandes
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                      EXHIBIT 1
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                                                                      MB DRAFT – 10/11/19
                                                                       Willkie Draft 12/7/19

                             AMERICAN FREIGHT GROUP, INC.
                                c/o The Jordan Company, L.P.
                                 399 Park Avenue, 30th Floor
                                 New York, New York 10022

      [●], 2019


      «FirstName» «LastName»
      American Freight Group, Inc.
      c/o The Jordan Company, L.P.
      399 Park Avenue, 30th Floor
      New York, New York 10022

                                 Option Cancellation Agreement

      Dear «Salutation»:

             As you know, on [●], 2019, American Freight Group, Inc., a Delaware
      corporation (the “Company”) entered into an Agreement and Plan of Merger, dated as of
      [●], 2019 (as amended, restated or otherwise modified from time to time, the “Merger
      Agreement”), by and among the Company, The Jordan Company, L.P., a Delaware
      limited partnership, solely in its capacity as the Representative, [BUYER], a [●]
      (“Parent”) and [BUYER MERGER SUB], a [●] and wholly-owned subsidiary of Parent
      (“Merger Sub”), pursuant to which the Company will be acquired in a merger (the
      “Merger”) by Parent, with the Company surviving the Merger.

             You are receiving this letter because you currently hold one or more options to
      purchase shares of common stock of the Company (the “Options”) granted to you under
      the 2015 Non-Qualified Stock Option Plan of the Company (the “Plan”). Your current
      Option holdings (including your In-the-Money Options) are set forth on Exhibit A to
      this Option Cancellation Agreement (this “Agreement”). The purpose of this Agreement
      is to explain how the Merger will affect your Options and to memorialize certain
      agreements and commitments on your part in connection with the Merger and in
      consideration of the payments you will receive in respect of the Options pursuant to the
      Merger. A copy of the Merger Agreement is enclosed with this Agreement. Capitalized
      terms that are used and not otherwise defined in this Agreement have the meanings given
      to them in the Merger Agreement.

      1. Treatment of the Options in the Merger.

              TheSubject to the provisions of the Merger Agreement, the Merger will have
      the following effect on the Options you hold at:

              •     Immediately prior to the time the Merger becomes effective pursuant to
                    the Merger Agreement (the “Effective Time”):, your Options that are



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                      not In-the-Money Options will be automatically cancelled and
                      terminated with no right to receive any consideration or payment
                      therefor and be of no further force or effect.

              •       All of your Options will be canceled in exchange forAt the Effective
                      Time, your In-the-Money Options, whether vested or unvested, will
                      automatically be cancelled and converted into the right to receive cash.
                      The amount of cash you will receive for yourthe Per Option Merger
                      Consideration and your Option agreement shall be terminated, in full
                      satisfaction of your rights as an Option holder. The amount of the Per
                      Option Merger Consideration that you would be entitled to receive in
                      respect of your In-the-Money Options is based on a formula
                      containedthe provisions set forth in the Merger Agreement. Pursuant to
                      the terms of the Merger Agreement, the amounts paid by or on behalf of
                      Parent in connection with the Merger will be applied by the Company or
                      the Representative, as applicable, to retire outstanding debt and the
                      Company’s preferred stock and to pay certain expenses in connection with
                      the Merger, and the remainder will be available for payments to the current
                      common stock holders and holders of In-the-Money Options. The actual
                      amount you would be entitled to receive will be determined based on the
                      formula set forth in the Merger Agreement. All payments made in
                      respect of your In-the-Money Options in connection with the Merger
                      shall be made without interest and net of applicable withholding
                      taxes.

      2. When the Cash Payments Will Be Made.

              Generally, the cash payment for your In-the-Money Options described above
      will be paid to you through the Company’s regular payroll processes (without interest
      and less applicable withholding taxes, if any) on the next regular payroll date of the
      Company that occurs after the Effective Time, that is at least three (3) Business Days
      after the date you deliver the documents required by Section 3 below. However, the
      Merger Agreement also provides that a portion of your cash will be held in an escrow
      account. The escrow account is expected to remain in place from the Effective
      Timethe Per Option Merger Consideration (i.e., your Escrow Contribution Amount
      and Representative Holdback Contribution Amount) will be withheld. Such
      withheld amount is expected to be held until the Merger Consideration is adjusted
      pursuant to Section 2.12 of the Merger Agreement, and potentially longer in the event of a
      dispute regarding the determination of the Merger Consideration. The escrow account
      may be utilized to offset aThis amount will be used to pay Parent for any positive
      Actual Adjustment (i.e., any reduction in the Merger Consideration) pursuant to the
      Merger Agreement and to pay certain costs and expenses of the Representative in
      performing its responsibilities under the Merger Agreement. To the extent that the
      amounts held in such escrow account areamount is not utilized to offset a reduction
      in the Merger Considerationaccordingly, you will receive your portion of the cash


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      held in the escrow accountany such remaining amount through the Company’s regular
      payroll processes (less applicable withholding taxes, if any) when such escrowed amounts
      areamount is released from escrow in accordance with the Merger Agreement and the
      relevant escrow agreement, as applicable. In addition, if the Actual Adjustment is
      negative (i.e., there is an increase in the Merger Consideration to be paid by Parent based
      on the calculation of the final amount of the Merger Consideration pursuant to the
      Merger Agreement), you will be entitled to a portion of that amount. The provisions of
      the Merger Agreement relating to the escrowsuch withheld amount and disputes
      between Parent, on the one hand, and the representative of the Company’s
      stockholdersRepresentative, on the other hand, may affect both the amount of cash you
      receive, as well as the timing of your payment. By signing this Agreement, you (i)
      acknowledge the provisions of the Merger Agreement relating to your Options,
      including the calculation of the Per Option Merger Consideration set forth in the
      Merger Agreement and any Escrow Contribution Amount and Representative
      Holdback Contribution Amount that will be withheld from the Per Option Merger
      Consideration in accordance with the Merger Agreement and (ii) agree to be bound
      by such provisions with respect to your Options.

      3. What You Should Do Next.

              To receive your cash paymentthe Per Option Merger Consideration for your
      In-the-Money Options pursuant to the Merger Agreement, please sign this
      Agreement and return the original signed copy to American Freight Group, Inc., c/o
      Mayer Brown LLP, 1221 Avenue of the Americas, New York, New York 10020,
      Attention: Miller Lulow on or prior to 5:00 PM on [●], 2019. While you may sign
      and return this Agreement at any time, the expected closing date of the Merger is on or
      about [●], 2019. Your payments will be paid to you through the Company’s regular
      payroll processes on the next regular payroll date of the Company that occurs after the
      Effective Time, that is at least three (3) Business Days after the date you deliver the
      documents required by this Section 3. If you exercise any of your Options between now
      and the closing of the Merger, a revised Exhibit A will be provided to you, which will
      supersede the attached Exhibit A.

      4. Release of Claims.

              By signing below, you consent to the cancellation of your Options and you
      irrevocably and unconditionally release and discharge the Company, its
      affiliatesAffiliates and financing sources and their respective equity holders,
      predecessors, successors and Agents (as defined below), together with each of their
      current and former financing sources, employees, consultants, officers, directors,
      shareholders, affiliatesequity holders, general partners, limited partners, Affiliates
      and agents, and the predecessors, successors and assigns of each of the foregoing (the
      “Released Parties”) from any and all claimsActions and Liabilities, known or unknown,
      which you or your successors or assigns have or may have, against the Released Parties
      relating to the ownership or cancellation of your Options in the Merger. This release is
      for any relief, no matter how denominated, including but not limited to injunctive relief,

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      compensatory damages and punitive damages. You further agree that you will not
      directly or indirectly file or bring, or permit or encourage to be filed or brought on
      your behalf or otherwise, any such claimAction. However, this release shall not apply to
      any claims you may have against the Company as the surviving corporation in the Merger
      (and only against the Company) in such capacity) or the Representative relating to your
      right to receive the cash payment for your Options calculatedPer Option Merger
      Consideration in accordance with the formulaterms and conditions contained in the
      Merger Agreement, nor does this release apply to any claims that may arise in connection
      with your employment by the Company generally. Notwithstanding anything to the
      contrary, nothing herein or in any Company policy or agreement shall prevent you
      from filing a charge or complaint with, participating in an investigation or
      proceeding conducted by, or reporting possible violations of law or regulation to any
      government agency; provided, however, that you agree to forgo any monetary
      benefit from the filing of a charge or complaint with a government agency except
      pursuant to a whistleblower program or where your right to receive such a
      monetary benefit is otherwise not waivable by law. For the avoidance of doubt and
      without limiting the foregoing, this release is for any relief, no matter how
      denominated, including but not limited to injunctive relief, compensatory damages
      and punitive damages, whether on behalf of yourself individually or as a class
      member. You hereby expressly waive any and all rights conferred upon you by any
      statute or rule of law which provides that a release does not extend to claims which the
      claimant does not know or suspect to exist in his, her or its favor at the time of executing
      the release, which if known by him, her or it must have materially affected his, her or its
      settlement with the released party, including, without limitation, the following provisions
      of California Civil Code Section 1542: “A GENERAL RELEASE DOES NOT EXTEND
      TO CLAIMS WHICHTHAT THE CREDITOR OR RELEASING PARTY DOES
      NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
      EXECUTING THE RELEASE AND THAT, WHICH IF KNOWN BY HIM OR HER
      MUST, WOULD HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT
      WITH THE DEBTOR.” This OR RELEASED PARTY.” Notwithstanding anything
      to the contrary herein, (i) this Section 4 is for the benefit of the Released Parties and,
      each of whom is an express third party beneficiary of this Agreement (ii) this
      Section 4 shall be enforceable by any of themthe Released Parties directly against you
      and your Releasing Parties, (iii) you agree that the releases and waivers set forth in
      this Section 4 are given on behalf of yourself and your Releasing Parties and shall be
      effective against and binding upon you and such Releasing Parties and (iv) you
      agree to (x) cause your Releasing Parties to comply with the provisions of this
      Section 4 and (y) take such actions and execute and deliver such documents,
      instruments and agreements (and cause your Releasing Parties to take such actions
      and execute such documents, instruments and agreements) as may be necessary or
      appropriate to give effect to the provisions of this Section 4. For the avoidance of
      doubt, this release is in addition to the releases contained in the Letter of Transmittal and
      the Stockholder Support Agreement. “Releasing Parties” means your spouse or
      domestic partner and next of kin, your and their Affiliates and your and their
      respective successors and assigns.


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              You acknowledge and agree that your receipt of the cash payment with respect to
      your In-the-Money Options (calculated in accordance with the formula contained in the
      Merger Agreement, and as described above) will constitute full satisfaction of your rights
      with respect to the canceled Options and that you will have no right to any other payments
      or any other rights with respect to your Options or your Option agreement after the
      Effective Time (other than any payments of your the portion of your Escrow
      Contribution Amount and Representative Holdback Contribution Amount (if any)
      to which you may be entitled from the Escrow Agent in accordance with the
      Adjustment Escrowpursuant to the Merger Agreement).

      5. Representations and Warranties.

             You represent, warrant and agree that (a) the information set forth on
      Exhibit A with respect to your Options is true, correct and complete and that you
      have no other Options and are not a party to any other agreement other than your
      applicable Option agreement with the Company in respect of your Options; (b) you
      have received a copy of and have reviewed the Merger Agreement and this
      Agreement and have had an opportunity to consult with and have relied solely upon
      the advice, if any, of your legal, financial, accounting and/or tax advisors with
      respect to such matters, in each case to the extent you have deemed necessary, and
      you have not been advised or directed by any Released Party (as defined below)
      with respect to such matters; (c) you are the record and beneficial owner of, and
      have good and marketable title to the Options reflected on Exhibit A, which Options
      are held by you free and clear of any Liens, and you have no ownership or equity
      interest, or any other phantom equity, profits interest or similar interest, in or with
      respect to the Company or any of its Subsidiaries, or any of their respective
      businesses (other than the Options); (d) upon receipt of the Per Option Merger
      Consideration (net of any applicable withholding taxes) in accordance with Section
      1 and the Merger Agreement, you will have received all consideration due or
      payable to you pursuant to your Options and your Option agreement with the
      Company; (e) you have duly executed and delivered this Agreement and this
      Agreement constitutes your legal, valid and binding obligation, enforceable against
      you in accordance with its terms, except as limited by the Remedies Exception; and
      (f) you have the full legal capacity and authority to execute and deliver this
      Agreement and perform your obligations under this Agreement.




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      6. 5. If the Merger Does Not Close.

              In the event the Merger Agreement terminates in accordance with its terms for
      any reason and the closing of the Merger does not occur, this Agreement will
      automatically terminate and be of no further force or effect, and your Options will remain
      in effect in accordance with their existing terms and conditions.

      7.      The Representative.
             Pursuant to Section 10.17 of the Merger Agreement, you hereby acknowledge
      and agree that you have appointed (and you hereby agree and consent to such
      appointment of) the Representative as your attorney-in-fact, agent and
      representative for and on your behalf, and consent to the taking by the
      Representative of any and all actions, executing all documents and the making of
      any decisions required or permitted to be taken by the Representative under or as
      contemplated by the Merger Agreement and the other documents contemplated
      thereby, including with respect to the Charges or other expenses of the
      Representative pursuant to Section 10.17(b) of the Merger Agreement, and
      acknowledge and agree to be bound by the provisions of Section 10.17 of the Merger
      Agreement, which provisions are incorporated by reference in this Agreement,
      mutatis mutandis.
      8. 6. APPLICABLE LAW.

           THIS AGREEMENT SHALL BE GOVERNED BY AND CONSTRUED AND
      ENFORCED IN ACCORDANCE WITH THE INTERNAL LAWS OF THE STATE OF
      DELAWARENEW YORK WITHOUT GIVING EFFECT TO THE PRINCIPLES OF
      CONFLICTS OF LAW THEREOF TO THE EXTENT SUCH PRINCIPLES WOULD
      REQUIRE OR PERMIT THE APPLICATION OF LAWS OF ANOTHER
      JURISDICTION.

      9. 7. JURISDICTION OF DISPUTES; WAIVER OF JURY TRIAL.
            IN THE EVENT ANY PARTY TO THIS AGREEMENT COMMENCES ANY
      LITIGATION, PROCEEDING OR OTHER LEGAL ACTION IN CONNECTION
      WITH OR RELATING TO THIS AGREEMENT OR ANY MATTERS DESCRIBED
      OR CONTEMPLATED HEREIN, WITH RESPECT TO ANY OF THE MATTERS
      DESCRIBED OR CONTEMPLATED HEREIN, THE PARTIES TO THIS
      AGREEMENT HEREBY AGREE UNDER ALL CIRCUMSTANCES ABSOLUTELY
      AND IRREVOCABLY TO COMPLY WITH THE PROVISIONS SET FORTH IN
      SECTIONS 10.10 AND 10.11 OF THE MERGER AGREEMENT, WHICH
      PROVISIONS SHALL APPLY AS IF FULLY SET FORTH HEREIN, MUTATIS
      MUTANDIS.




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      10. 8. Severability.

              Any term or provision of this Agreement that is invalid or unenforceable in any
      situation in any jurisdiction shall not affect the validity or enforceability of the remaining
      terms and provisions hereof or the validity or enforceability of the offending term or
      provision in any other situation or in any other jurisdiction. If the final judgment of a
      court of competent jurisdiction declares that any term or provision hereof is invalid or
      unenforceable, the parties agree that the court making the determination of invalidity or
      unenforceability shall have the power to reduce the scope, duration, or area of the term or
      provision, to delete specific words or phrases, or to replace any invalid or unenforceable
      term or provision with a term or provision that is valid and enforceable and that comes
      closest to expressing the intention of the invalid or unenforceable term or provision, and
      this Agreement shall be enforceable as so modified after the expiration of the time within
      which the judgment may be appealed.

      11. 9. Waivers.

              The failure of a party hereto at any time or times to require performance of any
      provision hereof shall in no manner affect its right at a later time to enforce the same. No
      waiver by a party of any condition or of any breach of any term, covenant, representation
      or warranty contained in this Agreement shall be effective unless in writing, and no waiver
      in any one or more instances shall be deemed to be a further or continuing waiver of any
      such condition or breach in other instances or a waiver of any other condition or breach of
      any other term, covenant, representation or warranty.

      12. 10. Third Party Beneficiaries.

              Parent and its subsidiariesAffiliates (including, after the Effective Time, the
      Surviving Corporation) are hereby made express third party beneficiaries of this
      Agreement. In addition, the Released Parties are hereby made express third party
      beneficiaries of this Agreement for purposes of Section 4.

      13. 11. Counterparts.
              This Agreement may be executed in counterparts, each of which shall be deemed
      an original, but all of which together shall constitute one and the same instrument. A
      facsimile or electronic transmission of an executed counterpart signature page shall be
      deemed an original.
      14. Copy of Merger Agreement.

              A copy of the Merger Agreement is attached hereto as Exhibit B.



                                        [Signature page follows]


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      32335139.132335139.2




              Please sign this Agreement below and return it to Miller Lulow at the address set
      forth above. You should keep a copy of this Agreement with your other important
      papers. This is an exciting time for the Company, and we are pleased that you will be able
      to share in the benefits of the Merger through the payments described above.

                                                   Sincerely,


                                                   AMERICAN FREIGHT GROUP, INC.


                                                   By:
                                                   Name:
                                                   Title:


      ACCEPTED AND AGREED




      «FirstName» «LastName»

      Dated:




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   32335139.2




                                         Exhibit A

   Your Options are exercisable for [●] shares of Common Stock of the Company.
                          Options Held by «FirstName» «LastName»

       Grant Date       Exercise Price       Shares Subject to       In-the-Money (Y/N)
                                                Option (#)




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                                      Exhibit B

                                  Merger Agreement

                                     See attached.




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                                      Summary report:
             Litéra® Change-Pro TDC 10.1.0.300 Document comparison done on
                                    12/7/2019 5:27:49 PM
         Style name: Standard
         Intelligent Table Comparison: Active
         Original DMS: iw://NYCDMS/NewYork/32335139/1
         Modified DMS: iw://NYCDMS/NewYork/32335139/2
         Changes:
         Add                                                   103
         Delete                                                56
         Move From                                             0
         Move To                                               0
         Table Insert                                          1
         Table Delete                                          0
         Table moves to                                        0
         Table moves from                                      0
         Embedded Graphics (Visio, ChemDraw, Images etc.)      0
         Embedded Excel                                        0
         Format changes                                        0
         Total Changes:                                        160
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                          EXHIBIT 15
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                                        Jason H. Beehler, Esq.
                                      Direct Dial: (614) 462-5452
                                      jbeehler@keglerbrown.com

                                             April 16, 2021

   Via Email

   Thomas Meloro, Esq.
   Wilkie Farr & Gallagher
   787 Seventh Ave.
   New York, NY 10019-6099

           Re: Surplus Freight

   Dear Mr. Meloro:

           We have been retained to represent Asaph Rink with respect to a demand letter from you
   relating to his employment with Surplus Freight.

          We have a copy of a Non-qualified Stock Option Agreement relating to a Stock Option
   grant on February 14, 2018 relating to Mr. Rink. I will address your April 8, 2021 letter regarding
   Mr. Rink based upon the terms of that Agreement.

         First, my understanding is that Mr. Rink’s last day of employment with American Freight
   was in late May of 2019. The two year post employment restricted period set forth in the
   Agreement is therefore about to expire.

           Second, American Freight previously consented to Mr. Rink’s work arrangement, both
   with respect to the Canadian Retail Company Exception referenced at Section 10 of the June 13,
   2019 Agreement & Release, and with respect to Mr. Rink’s work at the Surplus Freight facility in
   New York. In fact, the April 8, 2021 letter asserts that Surplus Freight has been in competition
   with American Freight for at least the last ten months. If in fact American Freight has been aware
   of this alleged competition since July of 2020, it will be very difficult to demonstrate that the
   company will suffer immediate and irreparable harm for purposes of a TRO or injunction.

          Third, you claim in the April 8, 2021 letter that Mr. Rink was involved with the solicitation
   of American Freight employees. I’ve spoken with our client, who assures me this is incorrect.
   While Surplus Freight has hired several former employees of American Freight, these individuals
   were hired after contacting Surplus Freight following the loss of their jobs with American Freight.
   Further, Mr. Rink instructed Messrs. Haris and Buljina not to hire or communicate with American
   Freight employees long before he ever received your letter.

          Certain aspects of the non-compete agreements are also unenforceable. “A non-compete
   provision must first meet the standard contract formalities, and is subject to the additional
   requirements that it (1) be reasonable in geographic scope and temporal duration, (2) advance a



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                                                                               Thomas Meloro, Esq.
                                                                                    April 16, 2021
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   legitimate economic interest of the party seeking its enforcement, and (3) survive a balancing of
   the equities in order to be enforceable. Determining whether these elements are met is a fact-
   specific inquiry.” Walsh v. Riddle, 2008 BL 289685, 3 (Del. Super. Ct. Nov. 25, 2008) (emphasis
   added).

   Delaware Courts are skeptical of non-competes with a nationwide geographic scope.
   FP UC Holdings, LLC v. Hamilton, No. C.A. No. 2019-1029-JRS, 2020 BL 114324, 2020 WL
   1492783 *7 (Del. Ch. Mar. 27, 2020) (refusing to enforce nationwide geographic scope of non-
   compete). The court went on: "To be sure, this court has enforced non-competes with a nationwide
   scope, but only in instances where the competing party agrees, in connection with the sale of a
   business, to stand down from competing in the relevant industry . . . anywhere . . . for a stated
   period of time after the sale.” Id.

   Under the Stock Option Agreement, the protected territory is defined as North America. And the
   provisions arose in the context of run-of-the-mill employment agreements and a stock option
   agreement for Mr. Rink that pre-dated the sale of the business by two years. They did not arise
   from the sale of a business with a resulting walk-away by competitors. We therefore do not believe
   that a court construing Delaware law will enforce a nationwide prohibition.

   We further believe that the restriction on soliciting and hiring former employees of American
   Freight is overbroad. Although American Freight may have a legitimate business interest in
   preventing the solicitation of current employees, to maintain a stable workforce, it has no such
   interest in preventing the solicitation of terminated or former employees.

   If American Freight chooses to take legal actions on largely unenforceable non-compete and non-
   solicitation provisions, just as they are about to expire, Mr. Rink will defend such claims
   vigorously.

                                                Sincerely,



                                                Robert G. Cohen



                                                Jason H. Beeler

   RGC/JHB/krb




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